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                          Exhibit A
        Modified Proposed Solicitation Procedures Order
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
    Debtors.
                                                            Ref. D.I. 2295, 2726, 4112, 5488, 6215 & ___

              ORDER (I) APPROVING THE DISCLOSURE STATEMENT
            AND THE FORM AND MANNER OF NOTICE, (II) APPROVING
         PLAN SOLICITATION AND VOTING PROCEDURES, (III) APPROVING
       FORMS OF BALLOTS, (IV) APPROVING FORM, MANNER, AND SCOPE OF
       CONFIRMATION NOTICES, (V) ESTABLISHING CERTAIN DEADLINES IN
       CONNECTION WITH APPROVAL OF THE DISCLOSURE STATEMENT AND
        CONFIRMATION OF THE PLAN, AND (VI) GRANTING RELATED RELIEF

             Upon the motion (the “Motion”)2 of the Debtors for entry of an order (this “Solicitation

Procedures Order”), pursuant to sections 105(a), 502, 1125, 1126, and 1128 of the Bankruptcy

Code, Bankruptcy Rules 2002, 3003, 3016, 3017, 3018, 3020, 9006, and 9008, and Local Rules

2002, 3017-1, and 9006-1, (a) approving the Disclosure Statement for the Plan, (b) approving the

form and manner of the Disclosure Statement Hearing Notice in respect of the Disclosure

Statement Hearing, (c) establishing the Solicitation Procedures, (d) approving the form and manner

of the Abuse Claim Solicitation Notice and Abuse Survivor Plan Solicitation Directive,

(e) approving the forms of Ballots, (f) approving the date, time, manner, and scope of the

Confirmation Notices in respect of the Confirmation Hearing, (g) establishing certain deadlines in

connection with the foregoing, and (h) granting related relief, all as more fully set forth in the


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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Motion,
      the Disclosure Statement, or the Plan, as applicable.
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Motion; and this Court having jurisdiction to consider the Motion in accordance with 28 U.S.C.

§ 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and the Court having found that this is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2); and the Debtors having consented to entry of a final

order by this Court under Article III of the United States Constitution; and the Court having found

that venue of this proceeding and the Motion in this District is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and appropriate notice of and opportunity for a hearing on the Motion having

been given and no other or further notice being necessary; and upon the record herein; and after

due deliberation thereon; and the Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and after due deliberation and

sufficient cause appearing therefor,

       IT IS HEREBY FOUND AND DETERMINED THAT:

        A.     Notice of the Disclosure Statement Hearing, provided in the manner described in

the Motion and the form of which was attached to the Motion as Exhibit B, was sufficient and

appropriate under the circumstances and complied with the applicable requirements of the

Bankruptcy Code, Bankruptcy Rules, and the Local Rules, and no further notice is needed.

       B.      The Disclosure Statement, as may be modified and amended in accordance with

the record at the Disclosure Statement Hearing, contains “adequate information” regarding the

Plan within the meaning of section 1125 of the Bankruptcy Code. No further information is

deemed necessary or required.

       C.      The Disclosure Statement complies with Bankruptcy Rule 3016(c) and describes,

in specific and conspicuous language, the acts to be enjoined and the entities subject to the

injunction, exculpation, and release provisions contained in the Plan.


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       D.      The Solicitation Procedures attached hereto as Exhibit 1 provide a fair and

equitable voting process and are consistent with section 1126 of the Bankruptcy Code and the

applicable Bankruptcy Rules.

       E.      The contents of the Solicitation Packages and other notices, as set forth in the

Motion and the Solicitation Procedures, comply with Bankruptcy Rules 2002 and 3017 and

constitute sufficient notice to all interested parties of the Record Date, the Voting Deadline, the

Plan Objection Deadline, the Confirmation Hearing, the Plan, the procedures described to solicit

votes to accept or reject the Plan and related matters to all interested parties.

       F.      With respect to holders of Direct Abuse Claims, the proposed procedures for the

distribution of the Solicitation Packages, including the Abuse Claim Solicitation Notice and

Abuse Survivor Plan Solicitation Directive, substantially in the form attached hereto as

Exhibit 11, the Master Ballot, the procedures for the submission of votes to accept or reject the

Plan by Firms representing multiple holders of Direct Abuse Claims, and the related procedures

for the solicitation of votes to accept or reject the Plan from the holders of Direct Abuse Claims,

comply with Bankruptcy Rule 3017 and are adequate under the circumstances.

       G.      The forms of Ballots, substantially in the forms attached hereto as Exhibits 2-1,

2-2, 2-3, 2-4, 2-5, 2-6, and 2-7, including all instructions provided therein, (i) are sufficiently

consistent with Official Form No. 314 to be approved, (ii) adequately address the particular needs

of these Chapter 11 Cases, and (iii) are appropriate for the Voting Classes of Claims entitled to

vote to accept or reject the Plan. No further information or instructions are necessary.

       H.      Pursuant to the Plan, the holders of Claims in Class 3A (2010 Credit Facility

Claims), Class 3B (2019 RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond

Claims), Class 5 (Convenience Claims), Class 6 (General Unsecured Claims), Class 7 (Non-


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Abuse Litigation Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse Claims)

are impaired and entitled to receive distributions under the Plan. Accordingly, holders of Claims

in such classes are entitled to vote on account of such Claims.

       I.      Ballots need not be provided to holders of Claims or Interests in the Non-Voting

Classes (Classes 1, 2 and 10). Classes 1 and 2 are Unimpaired and are conclusively presumed to

have accepted the Plan in accordance with section 1126(f) of the Bankruptcy Code. Class 10 is

Impaired and is not receiving any distribution under the Plan, and is therefore deemed to reject

the Plan in accordance with section 1126(g) of the Bankruptcy Code.

       J.      The form of Non-Voting Status Notice, substantially in the form attached hereto

as Exhibit 5, complies with Bankruptcy Rule 3017(d) and, together with the Confirmation

Hearing Notice, provide adequate notice to the holders of Claims and Interests in the Non-Voting

Classes (or other holders of Claims or Interests that are otherwise deemed not entitled to vote to

accept or reject the Plan) of their non-voting status. No further notice is deemed necessary or

required.

       K.      The form of Summary and Frequently Asked Questions (FAQ) Regarding

Chartered Organizations Under the Debtors’ Chapter 11 Plan (the “Chartered Organization

Notice”), substantially in the form attached hereto as Exhibit 12, complies with Bankruptcy Rule

3017(d) and, together with the Confirmation Hearing Notice, provides adequate notice to the

Chartered Organizations of the Plan. No further notice is deemed necessary or required.

       L.      The period during which the Debtors may solicit votes on the Plan is a reasonable

and adequate period of time for holders of Claims entitled to vote on the Plan to make an informed

decision to accept or reject the Plan and timely return Ballots evidencing such decision.

       M.      The combination of direct and published notice of the Plan and Confirmation


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Hearing, including, without limitation, the Confirmation Hearing Notice and Publication Notice,

substantially in the forms attached hereto as Exhibits 3 and 4, provides good and sufficient notice

of the Plan, the Confirmation Hearing, and the opportunity to vote on and object to the Plan,

complies with Bankruptcy Rules 2002 and 3017, and satisfies the requirements of due process

with respect to all known and unknown creditors.

       NOW, THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      The relief requested in the Motion is GRANTED as set forth herein.

Disclosure Statement

       2.      The Disclosure Statement is APPROVED as containing “adequate information”

within the meaning of section 1125(a) of the Bankruptcy Code.

       3.      All objections to the Disclosure Statement that have not been withdrawn or resolved

previously or at the hearing to consider approval of the Disclosure Statement are overruled.

       4.      The Disclosure Statement Hearing Notice and the manner of service thereof are

each APPROVED.

Plan Confirmation Schedule

       5.       The following dates and deadlines in connection with the Solicitation Procedures

and Confirmation Hearing are APPROVED:

                     Event                                      Proposed Date
 Voting Record Date                           [●], 2021
 Solicitation Date                            [●], 2021
 Rule 3018(a) Motion Deadline                 [●], 2021
 Publication Deadline                         [●], 2021
 Plan Supplement Deadline                     [●], 2021
 Voting Resolution Event Deadline             [●], 2021 or as otherwise ordered by the Court


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 Voting Deadline                              [●], 2021 at 4:00 p.m. (Eastern Time)
 Preliminary Voting Report Deadline           [●], 2021
 Plan Objection Deadline                      [●], 2021 at 4:00 p.m. (Eastern Time)
 Final Voting Report Deadline                 [●], 2021
 Confirmation Brief/Plan Reply Deadline       [●], 2021
 Confirmation Hearing                         [●], 2021 at 10:00 a.m. (Eastern Time)

       6.      The Confirmation Hearing shall be held on [●] at (Eastern Time) and shall

continue to the extent necessary on [●] at [●] (Eastern Time). The Confirmation Hearing may

be adjourned from time to time by this Court or the Debtors without further notice other than as

indicated in any notice or agenda of matters scheduled for a particular hearing that is filed with

the Court.

Distribution of Solicitation Packages

       7.      The distribution and contents of the Solicitation Packages shall include the

following, which are APPROVED:

               (a)    the Cover Letter describing the contents of the Solicitation Package and
                      instructions to obtain access, free of charge, to the Plan, the Disclosure
                      Statement, and this Solicitation Procedures Order, and urging holders of
                      Claims in the Voting Classes to vote to accept the Plan;

               (b)    the Confirmation Hearing Notice;

               (c)    the Disclosure Statement with all exhibits, including the Plan and all
                      exhibits (to the extent such exhibits are filed with the Court before the
                      Solicitation Date), which shall be provided in the formats set forth below
                      and are also available at https://omniagentsolutions.com/bsa-SAballots
                      (Direct Abuse Claims) or https://omniagentsolutions.com/bsa-ballots (all
                      other Claims);

               (d)    this Solicitation Procedures Order, including the Solicitation Procedures but
                      excluding all other exhibits, which shall be provided in the formats set forth
                      below and is also available via https://omniagentsolutions.com/bsa-
                      SAballots or https://omniagentsolutions.com/bsa-ballots;



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                  (e)      an appropriate form of Ballot with return instructions and a return envelope,
                           as applicable;

                  (f)      a letter from any official committee and the Coalition, substantially in the
                           form filed in these Chapter 11 Cases before entry of the Solicitation
                           Procedures Order (and as may be modified, amended, or supplemented from
                           time to time); and

                  (g)      any other materials ordered by the Court to be included as part of the
                           Solicitation Package.

        8.        The Debtors shall transmit the Solicitation Packages by mail to holders of Claims

in the Voting Classes. The Debtors shall transmit the Disclosure Statement and Solicitation

Procedures Order (excluding exhibits except the Solicitation Procedures) as part of the

Solicitation Package as follows: (a) in hard copy format to holders of Direct Abuse Claims or to

their counsel, if such holders are voting via Master Ballot; provided that any holder of a Direct

Abuse Claim who (i) elected on their Sexual Abuse Survivor Proof of Claim not to receive

communications regarding their claim via mail or (ii) provided that communications with their

counsel regarding their Direct Abuse Claim were permissible shall not receive a Solicitation

Package to their home address, and instead, a Solicitation Package shall be directed to counsel

for such holders; provided further that all incarcerated holders of Direct Abuse Claims, even if

such holders are voting by Master Ballot, shall receive a Solicitation Package in hard copy format

(excluding a Ballot);3 and (b) via USB flash drive to all other holders of Claims in the Voting

Classes.

        9.        The Debtors are not required to distribute paper copies of the Disclosure

Statement, the Plan, and the Solicitation Procedures Order to a holder of a Claim or Interest who


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    For the avoidance of doubt, any holder of a Direct Abuse Claim who is not represented by counsel or whose
    counsel did not elect to receive a Master Ballot shall not receive a Master Ballot—all such holders or their counsel,
    (if such holders have elected on their Sexual Abuse Survivor Proof of Claim not to receive communications
    regarding their claim via mail or provided that communications with their counsel regarding their Direct Abuse
    Claim were permissible) shall receive an individual Direct Abuse Claim Ballot and hard copies of the Solicitation
    Package materials.

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is not in a Voting Class unless a holder of a Claim or Interest makes a specific request for copies

of such documents (which shall be free of charge) to the Solicitation Agent by: (a) calling the

Debtors’       toll-free    restructuring     hotline       at    866-907-2721,        (b) emailing

BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing, c/o Omni

Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting

an inquiry on the Debtors’ restructuring website at https://omniagentsolutions.com/BSA. The

Cover Letter included in the Solicitation Package and attached to this Solicitation Procedures Order

as Exhibit 7 is hereby approved, and includes instructions for obtaining access, free of charge, to

all Solicitation Package materials and includes the website of the Solicitation Agent from which

these materials may also be downloaded.

       10.      The Debtors shall distribute Solicitation Packages via first class mail to (a) the

U.S. Trustee, (b) holders of Direct Abuse Claims or to their counsel, as applicable and subject to

the procedures described in this Solicitation Procedures Order and in the Solicitation Procedures

for such holders that are represented by counsel, and (c) all other holders of Claims in the Voting

Classes.

       11.      The Solicitation Agent is authorized to assist the Debtors in (a) distributing the

Solicitation Package, (b) receiving, tabulating, and reporting on Ballots cast to accept or reject

the Plan by Holders of Claims, (c) responding to inquiries from holders of Claims and Interests

and other parties in interest relating to the Disclosure Statement and Plan, the Ballots, the

Solicitation Packages, and all other related documents and matters related thereto, including the

procedures and requirements for voting to accept or reject the Plan and for objecting to the Plan,

(d) soliciting votes on the Plan, and (e) if necessary, contacting creditors regarding the Plan.




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       12.     The Solicitation Agent is authorized to accept Ballots via the electronic Ballot

submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”).              The

encrypted ballot data and audit trail created by each electronic submission on the E-Ballot

Platform shall become part of the record of any electronic Ballot submitted in this manner, and

the associated electronic signature shall be deemed to be an original signature that is legally valid

and effective. Ballots submitted by facsimile, email or other means of electronic transmission

shall not be counted (unless an exception has been granted by the Debtors).

       13.     For solicitation and tabulation purposes, one Ballot will be provided to each holder

of a General Unsecured Claim and, for applicable holders of Class 6 Claims, such Ballot shall

include the option to make an irrevocable election to join Class 5 (Convenience Claims) and be

treated as a holder of a Class 5 Claim. If a holder of a Class 6 Claim with a Claim of $50,000 or

less is deemed to join Class 5 (Convenience Claims) or an eligible holder of a Class 6 Claim that

is greater than $50,000 makes the voluntary election to join Class 5 (Convenience Claims), then

its Claim shall, upon its allowance for voting purposes only, be counted only in such Class and

shall not be tabulated as a Claim in Class 6 (General Unsecured Claims).

       14.     The Debtors were authorized to send to each Firm a Client List on a secure,

encrypted and password-protected USB drive that set forth information regarding each Firm’s

Abuse Survivor Clients as compiled by the Debtors and their advisors based on a review of Sexual

Abuse Survivor Proofs of Claim filed by or on behalf of holders of Direct Abuse Claims in the

Chapter 11 Cases. Any Direct Abuse Claims that cannot be matched to a Firm or that are not

otherwise included in any Client List shall be solicited via the Direct Solicitation Method defined

below and set forth in the Solicitation Procedures. The Solicitation Agent shall not provide

Ballots to any Firm on account of, and votes included on any Master Ballot shall not be counted


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for, any individuals for which a Direct Abuse Claim was not timely filed prior to the Abuse

Claims Bar Date.

       15.      The Debtors and the Solicitation Agent shall not be required to mail a Solicitation

Package or any other materials related to voting or confirmation of the Plan to any person or entity

from which the notice of the Motion or other mailed notice in these Chapter 11 Cases was returned

as undeliverable by the postal service, unless the Solicitation Agent is provided with

accurate addresses for such persons or entities before the Solicitation Date, and failure to mail

Solicitation Packages or any other materials related to voting or confirmation of the Plan to such

persons or entities shall not constitute inadequate notice of the Confirmation Hearing or the

Voting Deadline and shall not constitute a violation of Bankruptcy Rule 3017(d).

       16.     The Debtors shall distribute a copy of the Confirmation Hearing Notice and Non-

Voting Status Notice to the Non-Voting Classes and to the holders of Unclassified Claims. The

Debtors and Solicitation Agent shall not be required to mail a Solicitation Package or any other

materials related to voting or confirmation of the Plan to the holders of Claims in the Non-Voting

Classes or holders of Unclassified Claims, unless otherwise requested through the process set

forth in the Non-Voting Status Notice.

       17.     The Debtors shall distribute a copy of the Confirmation Hearing Notice and

Chartered Organization Notice to all Chartered Organizations.

       18.     The Debtors shall not provide the holders of Class 10 Delaware BSA Interests

with a Solicitation Package or any other type of notice in connection with solicitation of the Plan.

       19.     The Debtors shall distribute the Solicitation Package and Disputed Claim Notice

to holders of Claims that are subject to a pending objection by the Debtors as of the Solicitation

Date. The Debtors and Solicitation Agent shall not be required to count the vote of any such


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returned Ballot of such holders unless a Resolution Event occurs, as provided in the Solicitation

Procedures.

       20.     The Debtors shall not be required to deliver Ballots or Solicitation Packages to

counterparties to the Debtors’ Executory Contracts and Unexpired Leases that do not have

scheduled Claims or Claims based upon filed Proofs of Claim. Rather, the Debtors are authorized

to mail the Cure and Assumption Notice and the Rejection Notice to the applicable counterparties

to Executory Contracts and Unexpired Leases that will be assumed or rejected pursuant to the

Plan (as the case may be), within the time periods specified in the Plan and the Disclosure

Statement.

       21.     The Debtors shall file and serve the Plan Supplement Notice on the 2002 List and

on the Voting Classes on the date the Plan Supplement is filed or as soon as reasonably practicable

thereafter. The Debtors shall further serve copies of the Cure and Assumption Notice and

Rejection Notice on the applicable counterparties.

Solicitation Procedures

       22.      The Debtors are authorized to solicit, receive, and tabulate votes to accept or

reject the Plan in accordance with the Solicitation Procedures attached hereto as Exhibit 1,

which are hereby APPROVED in their entirety.

       23.     The forms of Abuse Claim Solicitation Notice and Abuse Survivor Plan Solicitation

Directive attached to this Solicitation Procedures Order as Exhibit 11 are APPROVED in all

respects.

       24.     The forms of Ballots attached hereto as Exhibits 2-1, 2-2, 2-3, 2-4, 2-5, 2-6, and

2-7, respectively, are APPROVED in all respects.




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       25.     All Direct and Indirect Abuse Claims in Classes 8 and 9 of the Plan shall be

temporarily allowed in the amount of $1.00 in the aggregate per claimant solely for purposes of

voting to accept or reject the Plan and not for any other purpose, or as otherwise ordered by the

Bankruptcy Court.

       26.     All Non-Abuse Litigation Claims filed on account of litigation against the Debtors,

which have not been fixed pursuant to a judgment or settlement entered prior to the Voting Record

Date, shall be classified as contingent and unliquidated Claims in accordance with the Solicitation

Procedures and shall have a single vote in the amount, for voting purposes only, of $1.00 in the

aggregate per claimant, or as otherwise ordered by the Bankruptcy Court.

       27.     The Debtors are authorized to cause Solicitation Packages to be distributed to

Firms representing holders of Direct Abuse Claims that have voluntarily directed the Solicitation

Agent to solicit the votes of their clients using the Master Ballot Solicitation Method set forth in

the Solicitation Procedures pursuant to an Abuse Survivor Plan Solicitation Directive, in lieu of

serving a Solicitation Package on each individual holder, in accordance with the Master Ballot

Solicitation Method set forth in the Solicitation Procedures. With respect to Firms representing

holders of Direct Abuse Claims that did not return a voluntary Abuse Survivor Plan Solicitation

Directive requesting that their clients’ votes be solicited by the Master Ballot Solicitation Method,

the Debtors are authorized to cause Solicitation Packages to be distributed directly to such holders

according to the communication preferences indicated in such holders’ Sexual Abuse Survivor

Proofs of Claim.

       28.     After entry of the Solicitation Procedures Order, the Solicitation Agent shall email

each Firm that is listed on Direct Abuse Claims in Class 8 to confirm whether any updates are

needed to the Abuse Survivor Plan Solicitation Directive previously submitted by each Firm. A


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Firm must respond in writing to the Solicitation Agent within five (5) days of receipt of the email

in order to change its preference pursuant to (a) or (b) below. If the Solicitation Agent does not

receive a response from a Firm within this time period, the Solicitation Agent shall honor the

solicitation method that Firm previously indicated on the Abuse Survivor Plan Solicitation

Directive.

                (a)    If a Firm that previously elected the Master Ballot Solicitation Method on
                       its Abuse Survivor Plan Solicitation Directive would like to have each of
                       its clients who hold Direct Abuse Claims cast their own vote to accept or
                       reject the Plan, such Firm may elect to have the Solicitation Agent deliver
                       the Solicitation Package (including Ballots) to the Firm, which will, in
                       turn, deliver the Solicitation Packages (including Ballots) to each of its
                       clients who hold Direct Abuse Claims in hard copy, flash drive, or
                       electronic format. In this case, Solicitation Packages shall be delivered to
                       clients who hold Direct Abuse Claims in accordance with their preferences
                       (i.e., clients who do not want to receive written communications via
                       regular mail shall receive the Solicitation Package materials
                       electronically). The Solicitation Agent shall deliver the Solicitation
                       Package (including Ballots) to each Firm in hard copy, flash drive, or
                       electronic format, depending on the preference specified by each Firm in
                       its response to the email from the Solicitation Agent. Clients who hold
                       Direct Abuse Claims will complete a Ballot and such Ballot will be
                       returned to the Solicitation Agent.

                (b)    If a Firm previously elected the Direct Solicitation Method on its Abuse
                       Survivor Plan Solicitation Directive, that Firm can indicate that it will have
                       its clients vote via the Master Ballot Solicitation Method instead and will
                       receive the Solicitation Package directly from the Solicitation Agent.

       29.      Each Firm that submits a Master Ballot via the Master Ballot Solicitation Method

must file a verified statement with the Court pursuant to Bankruptcy Rule 2019 prior to or

concurrently with the submission of its Master Ballot containing the following (the “Rule 2019

Statement”): (i) the facts and circumstances concerning the Firm’s representation of Abuse

Survivor Clients in these chapter 11 cases; (ii) a list of the names, addresses, and claim numbers

of all Abuse Survivor Clients that the such Firm represents; and (iii) an exemplar of the

engagement letter used to engage the Abuse Survivor Clients. The Firm may redact pricing,

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compensation amounts or percentages, and personal identifying information of holders of Direct

Abuse Claims. For the avoidance of doubt, personal identifying information related to holders

of Direct Abuse Claims on such Rule 2019 Statement shall be filed under seal in accordance with

the Final Order (I) Authorizing Debtors to File (A) a Consolidated List of Counsel Representing

the Largest Numbers of Abuse Victims and (B) a Consolidated List of Other Unsecured Creditors

of the Debtors, (II) Authorizing and Approving Special Noticing and Confidentiality Procedures,

and (III) Granting Related Relief [D.I. 274] and the Bar Date Order; provided that copies of such

information shall be made available to “Permitted Parties” as defined in the Bar Date Order. Each

Firm must submit a copy of the Rule 2019 Statement with unredacted personal identifying

information with its Master Ballot and Exhibit submission to the Solicitation Agent.

       30.     For the avoidance of doubt, the Debtors are authorized to solicit votes to accept or

reject the Plan from each holder of a Direct Abuse Claim who cannot be matched to a Firm or who

is not included in any Client List to be solicited via the Direct Solicitation Method set forth in the

Solicitation Procedures.

       31.     The procedures set forth in the Solicitation Procedures with respect to Disputed

Claims are hereby approved in all respects.

       32.     As Solicitation Agent in these Chapter 11 Cases, Omni Agent Solutions shall

process and tabulate Ballots in accordance with the Solicitation Procedures. Omni Agent

Solutions shall file a preliminary voting report (the “Preliminary Voting Report”) no later than

the Preliminary Voting Report Deadline of [●], 2021, and shall file a final voting report (the

“Final Voting Report”) no later than the Final Voting Report Deadline of [●], 2021.




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Confirmation Notices and Objection Procedures

        33.     The form, manner, and scope of the Confirmation Hearing Notice, the Publication

Notice, the Non-Voting Status Notice, the Chartered Organization Notice, the Disputed Claim

Notice, the Plan Supplement Notice, the Cure and Assumption Notice, and the Rejection Notice,

substantially in the forms attached hereto as Exhibits 3, 4, 5, 6, 8, 9, and 10, respectively, constitute

good, sufficient, and adequate notice to all parties, including known and unknown creditors,

comply with the requirements of due process, and are APPROVED. Such notices are being

provided by means reasonably calculated to reach all interested persons, reasonably convey all the

required information to inform all persons affected thereby, and provide a reasonable time for a

response and an opportunity to object to the relief requested. No other or further notice is

necessary.

        34.     Notwithstanding anything else herein, the Debtors shall serve the Confirmation

Hearing Notice on: (a) all holders of Claims, including Unclassified Claims, regardless of whether

they are entitled to vote; (b) the 2002 List; (c) the Internal Revenue Service; (d) the SEC; (e) the

U.S. Trustee; (f) counsel to the Creditors’ Committee; (g) counsel to the Tort Claimants’

Committee; (h) counsel to the Future Claimants’ Representative; (i) all federal, state, and local

taxing authorities in the jurisdictions in which the Debtors have tax liabilities; (j) all federal, state,

and local authorities that regulate any portion of the Debtors’ organizational operations; (k) all

other persons or entities listed on the Debtors’ creditor mailing matrix, including, for the avoidance

of doubt, the Chartered Organizations; and (l) all counterparties to Executory Contracts and

Unexpired Leases.

        35.     Objections and responses, if any, to confirmation of the Plan must (a) be in writing,

(b) set forth in detail the name and address of any party filing the objection, the legal and factual



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basis for the objection, the amount of the objector’s Claims or such other grounds that give the

objector standing to assert the objection, and any evidentiary support thereof, (c) conform to the

Bankruptcy Rules and Local Rules, (d) be filed with this Court, and (e) be served upon the parties

listed in the Confirmation Hearing Notice at the addresses set forth therein, on or before the Plan

Objection Deadline, which service may be through the CM/ECF system, with courtesy copies by

email delivered to counsel of the Debtors.

       36.     Objections to confirmation of the Plan not timely filed and served in accordance

with the provisions of this Solicitation Procedures Order may not be considered by this Court and

may be denied and overruled unless otherwise ordered by this Court.

       37.     The Debtors or other parties in interest may file and serve a reply or replies to any

objections or responses to confirmation of the Plan on or before the Confirmation Brief/Plan

Reply Deadline of [●], 2021.

Additional Relief

       38.      The Debtors are authorized to take any action necessary or appropriate to

implement the terms of and the relief granted in this Solicitation Procedures Order in accordance

with the Motion.

       39.      The Debtors are authorized to make any non-substantive changes to the Plan and

Disclosure Statement, the Solicitation Procedures, the Ballots, the Solicitation Packages, the

Confirmation Notices, the Publication Notice, and related documents without further order of this

Court, including, without limitation, changes to (a) correct any typographical, grammatical, and

formatting errors or omissions, and (b) make conforming changes to the Plan, the Disclosure

Statement, and any other materials in the Solicitation Packages before distribution.




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         40.     Nothing in this Solicitation Procedures Order shall be construed as a waiver of

the right of the Debtors or other party in interest, as applicable, to object to a Proof of Claim after

the Voting Record Date.

         41.     All time periods set forth in this Solicitation Procedures Order shall be calculated

in accordance with Bankruptcy Rule 9006(a).

         42.     Notwithstanding any applicable Bankruptcy Rule, the terms and conditions of

this Solicitation Procedures Order shall be immediately effective and enforceable upon its

entirety.

         43.     Notice of the Motion as provided therein shall be deemed good and sufficient

notice of such Motion and the requirements of the Bankruptcy Rules and the Local Rules are

satisfied by such notice.

         44.     This Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation, interpretation, and enforcement of this Solicitation Procedures

Order.

 Dated: ____________, 2021
        Wilmington, Delaware                       THE HON. LAURIE SELBER SILVERSTEIN
                                                   UNITED STATES BANKRUPTCY JUDGE




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                          Exhibit 1

                    Solicitation Procedures
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                          Chapter 11

    BOY SCOUTS OF AMERICA AND                                       Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC1
                                                                    (Jointly Administered)
                     Debtors.


                                       SOLICITATION PROCEDURES

        PLEASE TAKE NOTICE THAT on [●], 2021, the United States Bankruptcy Court for
the District of Delaware (the “Bankruptcy Court”) entered an order in the above-captioned chapter
11 cases [D.I. [●]] (the “Solicitation Procedures Order”): (a) approving the Amended Disclosure
Statement for the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC (the “Disclosure Statement”); (b) establishing the Voting Record
Date, Voting Deadline, and other related dates in connection with confirmation of the Modified
Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA,
LLC (as may be modified, amended, or supplemented from time to time, the “Plan”);2 (c)
approving procedures for soliciting, receiving, and tabulating votes on the Plan and for filing
objections to the Plan; (d) approving the form and manner of notice and other related documents
as they relate to the Debtors; and (e) granting related relief.

        The Solicitation Procedures set forth in this document are supplemented by the instructions
accompanying the Ballots included in the Solicitation Packages that will be sent to those holders
of Claims entitled to vote to accept or reject the Plan. Reference should be made to those
instructions in addition to this document; however, in the case of a conflict, the terms of the Ballots
control.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
      Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
      Debtors’ Motion for Entry of an Order (I) Approving the Disclosure Statement and the Form and Manner of
      Notice, (II) Approving Plan Solicitation and Voting Procedures, (III) Approving Forms of Ballots, (IV) Approving
      Form, Manner, and Scope of Confirmation Notices, (V) Establishing Certain Deadlines in Connection with
      Approval of the Disclosure Statement and Confirmation of the Plan, and (VI) Granting Related Relief [D.I.
      [2295]] (the “Solicitation Procedures Motion”), the Plan, the Disclosure Statement, or the Order, Pursuant to 11
      U.S.C. § 502(b)(9), Bankruptcy Rules 2002 and 3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1, (I)
      Establishing Deadlines for Filing Proofs of Claim, (II) Establishing the Form and Manner of Notice Thereof,
      (III) Approving Procedures for Providing Notice of Bar Date and Other Important Information to Abuse
      Survivors, and (IV) Approving Confidentiality Procedures for Abuse Survivors [D.I. 695], as applicable.
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I.        VOTING RECORD DATE

        The Bankruptcy Court has established [●], 2021, as the record date for purposes of
determining which holders of Claims in Class 3A (2010 Credit Facility Claims), Class 3B (2019
RCF Claims), Class 4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience
Claims), Class 6 (General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8
(Direct Abuse Claims), and Class 9 (Indirect Abuse Claims) are entitled to vote on the Plan (the
“Voting Record Date”).

II.       VOTING DEADLINE

        The Bankruptcy Court has approved [●], 2021 at 4:00 p.m. (Eastern Time) as the deadline
to vote to accept or reject the Plan (the “Voting Deadline”). The Debtors may extend the Voting
Deadline upon notice to parties in interest, in their discretion, without further order of the
Bankruptcy Court. To be counted as a vote to accept or reject the Plan, each Ballot or Master
Ballot (each, generally referred to herein as a “Ballot”) must be properly executed, completed, and
delivered by (1) the electronic Ballot submission platform on the Solicitation Agent’s website (the
“E-Ballot Platform”), (2) mail, (3) overnight delivery, or (4) personal delivery, so that it is actually
received, in each case, by the Solicitation Agent no later than the Voting Deadline. Specifically,
each      Ballot     must      be      returned    through      the     E-Ballot       Platform       at
(a) https://omniagentsolutions.com/bsa-SAballots for Direct Abuse Claim Ballots and Master
Ballots or (b) https://omniagentsolutions.com/bsa-ballots for all other Ballots,3 by mail using the
envelope included in the Solicitation Package, as applicable, or by overnight or personal delivery
to the following address:

                                  Boy Scouts of America Ballot Processing
                                        c/o Omni Agent Solutions
                                     5955 De Soto Avenue, Suite 100
                                        Woodland Hills, CA 91367

       Only one Ballot may be submitted on account of each Claim. Holders of Claims that
submit a Ballot via the E-Ballot Platform should not also submit a paper Ballot. If a holder of a
Claim submits a Ballot using the E-Ballot Platform and a paper Ballot, the last Ballot actually
received by the Solicitation Agent before the Voting Deadline shall be deemed to be the effective
vote. Delivery of a Ballot to the Solicitation Agent by facsimile or electronic means other than
through the E-Ballot Platform shall not be valid.

         Exhibits to Master Ballots may only be submitted in Excel format via the E-Ballot Platform
or, if the Master Ballot is being mailed, by USB drive—they may not be printed out and submitted
in hard copy format. Votes provided on any Exhibit submitted in a format other than the Excel
Exhibit provided by the Solicitation Agent shall not be counted. The Exhibit must be submitted
together with the Master Ballot.



3
      Parties shall endeavor to submit Ballots through the proper E-Ballot Platform. In the event that a party, for
      example, submits a Direct Abuse Claim Ballot through the general E-Ballot Platform, such Ballot shall be counted
      in accordance with the procedures set forth herein.


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III.   FORM, CONTENT, AND MANNER OF NOTICES

       A.      Content of the Solicitation Package.

      The following materials shall constitute the solicitation package (the “Solicitation
Package”):

                      a cover letter describing the contents of the Solicitation Package and
                      instructions to obtain access, free of charge, to the Plan, the Disclosure
                      Statement, and the Solicitation Procedures Order and urging holders of
                      Claims in the Voting Classes to vote to accept the Plan (the “Cover Letter”);

                      the Notice of Hearing to Consider Confirmation of Second Amended
                      Chapter 11 Plan of Reorganization for Boy Scouts of America and
                      Delaware BSA, LLC, substantially in the form annexed to the Solicitation
                      Procedures Order as Exhibit 3 (the “Confirmation Hearing Notice”);

                      the Disclosure Statement with all exhibits, including the Plan and all
                      exhibits (to the extent such exhibits are filed with the Bankruptcy Court
                      before the Solicitation Date), which shall be provided in the formats set
                      forth in the Solicitation Procedures Order and are also available via
                      https://omniagentsolutions.com/bsa-SAballots (Direct Abuse Claims) or
                      https://omniagentsolutions.com/bsa-ballots (all other Claims);

                      the Solicitation Procedures Order, including the Solicitation Procedures but
                      excluding all other exhibits, which shall be provided in the formats set forth
                      in the Solicitation Procedures Order and is also available via
                      https://omniagentsolutions.com/bsa-SAballots                                or
                      https://omniagentsolutions.com/bsa-ballots;

                      an appropriate form of Ballot with return instructions and a return envelope,
                      as applicable;

                      a letter from any official committee and the Coalition, substantially in the
                      form filed in these Chapter 11 Cases before entry of the Solicitation
                      Procedures Order (and as may be modified, amended, or supplemented from
                      time to time); and

                      any other materials ordered by the Bankruptcy Court to be included as part
                      of the Solicitation Package.

       B.      Distribution of the Solicitation Package.

       This Section explains the manner in which Solicitation Packages shall be distributed to
holders of Claims entitled to vote on the Plan and other interested parties.

       The Solicitation Packages shall be transmitted by mail to holders of Claims in the Voting
Classes. The Debtors shall transmit the Disclosure Statement and the Solicitation Procedures

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Order (excluding exhibits other than these Solicitation Procedures) as part of the Solicitation
Package as follows: (i) in hard copy format to holders of Direct Abuse Claims or to their counsel,
if such holders are voting via Master Ballot; provided that any holder of a Direct Abuse Claim
who (a) elected on their Sexual Abuse Survivor Proof of Claim not to receive communications
regarding their claim via mail, or (b) provided that communications with their counsel regarding
their Direct Abuse Claim were permissible, shall not receive a Solicitation Package to their home
address, and instead, a Solicitation Package shall be directed to counsel for such holders; provided
further, that all incarcerated holders of Direct Abuse Claims, even if such holders are voting via
Master Ballot, shall receive a Solicitation Package in hard copy format (excluding a Ballot);4 and
(ii) via USB flash drive to all other holders of Claims in the Voting Classes.

         The Cover Letter shall also include instructions for holders of Claims in the Voting Classes
to obtain, free of charge, the Solicitation Package materials in electronic format (with or without a
Ballot,      as      applicable)      via      https://omniagentsolutions.com/bsa-SAballots        or
https://omniagentsolutions.com/bsa-ballots. Any holder of a Claim that receives incomplete
materials or would like to request additional materials may contact the Solicitation Agent by:
(a) calling the Debtors’ toll-free restructuring hotline at (866) 907-2721; (b) visiting the Debtors’
restructuring website at https://omniagentsolutions.com/BSA; (c) writing to Boy Scouts of
America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100,
Woodland Hills, CA 91367; or (d) emailing BSAballots@omniagnt.com.

                      Direct Abuse Claims. The Solicitation Agent shall cause a Solicitation
Package to be served on holders of Direct Abuse Claims by the Solicitation Date in the manner
described in Section IV below.

                       Claims in the Other Voting Classes. The Solicitation Agent shall cause a
Solicitation Package to be served on each holder of a Claim in the Voting Classes other than Direct
Abuse Claims who is entitled to vote by the Solicitation Date.

                       Other Parties. The Solicitation Agent shall cause a Solicitation Package
(without a Ballot) to be served for informational purposes on the Office of the United States
Trustee for the District of Delaware.

                        Exception for Undeliverables. Notwithstanding any provision to the
contrary herein, neither the Debtors nor the Solicitation Agent shall be required to distribute a
Solicitation Package to any Person or Entity as to whom the notice of the Solicitation Procedures
Motion or other mailed notice in the Chapter 11 Cases was returned as undeliverable by the postal
service, unless the Solicitation Agent is provided with an accurate address for such Person or Entity
before the Solicitation Date.



4
    For the avoidance of doubt, any holder of a Direct Abuse Claim who is not represented by counsel or whose
    counsel did not elect to receive a Master Ballot shall not receive a Master Ballot—all such holders or their counsel
    (if such holders have elected on their Sexual Abuse Survivor Proof of Claim not to receive communications
    regarding their claim via mail or provided that communications with their counsel regarding their Direct Abuse
    Claim were permissible) shall receive an individual Direct Abuse Claim Ballot and hard copies of the Solicitation
    Package materials.


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                       Avoidance of Duplication. The Debtors shall make reasonable efforts to
ensure that any holder of a Claim that has filed duplicative Claims and/or Claims that are amended
and superseded by a later filed Claim against a Debtor that are classified under the Plan in the same
Voting Class receives no more than one Solicitation Package (and, therefore, one Ballot) on
account of such Claim and with respect to that Class. If the Debtors timely receive more than one
Ballot from or on behalf of the holder of a single Direct Abuse Claim, the effective vote shall be
determined in accordance with Sections IV.D and V below.

       C.      Resolution of Disputed Claims for Voting Purposes; Resolution Event.

                       Absent further order of the Bankruptcy Court, the holder of a Claim in a
Voting Class that is the subject of a pending “reclassify” or “reduce and allow” objection filed on
or before the Solicitation Date only to reclassify or reduce the amount of such Claim shall be
entitled to vote such Claim in accordance with the proposed reclassification or in the reduced
amount (as applicable) contained in such objection.

                       If a Claim in a Voting Class is subject to an objection other than a
“reclassify” or “reduce and allow” objection that is filed with the Bankruptcy Court on or before
the Solicitation Date (a “Disputed Claim”), (a) the Debtors shall cause the applicable holder to be
served with a notice of such Disputed Claim (the “Disputed Claim Notice”), substantially in the
form attached to the Solicitation Procedures Order as Exhibit 6, and (b) the applicable holder shall
receive a Solicitation Package but shall not be entitled to have their vote to accept or reject the
Plan counted on account of such Claim unless a Resolution Event (as defined below) occurs as
provided herein.

                        If a Claim in a Voting Class is subject to an objection that is filed with the
Court after the Solicitation Date, the applicable Claim shall be deemed temporarily allowed solely
for voting purposes to the extent otherwise allowed for voting purposes in accordance with these
Solicitation Procedures, without further action by the Debtors or the holder of such Claim and
without further order of the Bankruptcy Court, unless the Debtors and claimant agree to other
treatment for voting purposes or the Bankruptcy Court orders otherwise.

                       If the holder of any Disputed Claim seeks to challenge the disallowance or
estimation of its Claim for voting purposes, such holder must file with the Bankruptcy Court a
motion for an order, pursuant to Bankruptcy Rule 3018(a), temporarily allowing such claim for
purposes of voting to accept or reject the Plan (a “Rule 3018(a) Motion”). Any Rule 3018(a)
Motion shall be filed with the Bankruptcy Court and served on the Debtors on or before [●], 2021.
If a holder of a Disputed Claim files a timely Rule 3018(a) Motion, such holder’s Ballot shall not
be counted unless a Resolution Event occurs with respect to such Disputed Claim prior to [●],
2021 (the “Voting Resolution Event Deadline”), or as otherwise ordered by the Bankruptcy Court.

                       A “Resolution Event” means, with respect to a Disputed Claim that is the
subject of an objection other than a “reclassify” or “reduce and allow” objection, the occurrence
of one or more of the following events on or before the Voting Resolution Event Deadline:




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                       a.     An order of the Bankruptcy Court is entered allowing such Claim
                              pursuant to section 502(b) of the Bankruptcy Code, after notice and
                              a hearing;

                       b.     entry of an order of the Bankruptcy Court, after notice and a hearing,
                              granting a Rule 3018(a) Motion and temporarily allowing such
                              Claim for voting purposes in accordance with Section III.C.4
                              above;

                       c.     execution of a stipulation or other agreement between the holder of
                              a Disputed Claim and the Debtors (a) resolving the objection and
                              allowing such Claim for voting purposes in an agreed-upon amount
                              or (b) otherwise fixing an amount of the Claim for voting purposes;
                              or

                       d.     the pending objection is voluntarily withdrawn by the objecting
                              party.

       D.      Non-Voting Status Notice for Unclassified and Unimpaired Classes of Claims.

       Certain holders of Claims that are not classified under Article III of the Plan in accordance
with section 1123(a)(1) of the Bankruptcy Code or who are not entitled to vote because they are
presumed to accept the Plan under section 1126(f) of the Bankruptcy Code shall receive only the
Notice of Non-Voting Status to Holders of Unclassified Claims and Holders of Unimpaired Claims
Conclusively Presumed to Accept the Amended Chapter 11 Plan of Reorganization for Boy Scouts
of America and Delaware BSA, LLC, substantially in the form annexed to the Solicitation
Procedures Order as Exhibit 5. The notice shall instruct these holders as to how they may obtain
copies of the documents contained in the Solicitation Package (excluding Ballots).

IV.    SPECIAL PROCEDURES RELATING TO DIRECT ABUSE CLAIMS

       The procedures set forth in this Section IV only apply to holders of Direct Abuse Claims,
unless otherwise expressly indicated.

       A.      To Attorneys Representing Holders of Direct Abuse Claims:

                      On or about April 5, 2021, the Solicitation Agent mailed an Abuse Claim
Solicitation Notice, an Abuse Survivor Plan Solicitation Directive, and a Client List (each as
defined below) on each known attorney representing holders of Abuse Claims (each, a “Firm”).

                       On or about April 5, 2021, the Debtors mailed to each Firm an Excel
spreadsheet on a secure, encrypted USB drive (each, a “Client List”) that listed the first and last
name, claim number, month and year of birth, last four digits of Social Security Number, mailing
address, and email address (if available) of each Firm’s clients who hold Direct Abuse Claims
(collectively, the “Abuse Survivor Clients”), as compiled by the Debtors, with the assistance of
their professionals, based on their review of the Sexual Abuse Survivor Proofs of Claim filed on
or before the Abuse Claims Bar Date by or on behalf of the holders of Direct Abuse Claims in the
Chapter 11 Cases.

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                        The Debtors requested that each Firm confirm the names, addresses, claim
numbers, and (if known) email addresses of its Abuse Survivor Clients as set forth on the Client
List. To the extent a Firm includes Abuse Survivor Clients who were not originally listed by the
Solicitation Agent, such Firm must provide the Solicitation Agent with the Proof of Claim number
that corresponds to each such additional Abuse Survivor Client’s Direct Abuse Claim. If the Abuse
Survivor Client’s Sexual Abuse Survivor Proof of Claim does not indicate that communications
regarding such claim may be directed to such client’s Firm, a Firm was also required to provide
written verification from the Abuse Survivor Client(s) that he or she authorized the Firm to receive
the Solicitation Package on his or her behalf. If such written verification is not supplied by the
Firm, the Solicitation Agent will not count the vote for the Abuse Survivor Client(s) in a Master
Ballot submitted by such Firm and those Abuse Survivor Client(s) will be solicited by the Direct
Solicitation Method. The Solicitation Agent endeavored to identify on the Client Lists any
conflicting records indicating that an individual Abuse Survivor Client may be represented by
more than one Firm or has filed duplicative Direct Abuse Claims on account of a single claim.

                      To incorporate each Firm’s preferred method of distribution of the
Solicitation Packages (i.e., Master Ballot Solicitation Method or Direct Solicitation Method, as
defined below), the Debtors requested that each Firm voluntarily return a completed Abuse
Survivor Plan Solicitation Directive so that it was actually received by the Solicitation Agent no
later than May 12, 2021 (the “Abuse Survivor Plan Solicitation Directive Deadline”).

                        Pursuant to the Abuse Survivor Plan Solicitation Directive or through a
directive amendment as set forth in subsection c below, each Firm may direct the Solicitation
Agent to solicit votes on the Plan from its Abuse Survivor Clients according to one of the following
methods:

                       a.       Master Ballot Solicitation Method. A Firm may direct the
Solicitation Agent to serve the Firm with one Solicitation Package and one Master Ballot on which
to record the votes of all of its Abuse Survivor Clients to accept or reject the Plan and any other
applicable voting elections (the “Master Ballot Solicitation Method”) if the Firm certifies that:

                               (a)     “Option (a) Certification”: The Firm shall distribute (as
                       required by the Solicitation Procedures) the Solicitation Package (without a
                       Ballot) to each of its Abuse Survivor Clients and ask each client to provide
                       his or her affirmative vote to accept or reject the Plan (along with any other
                       responsive election to be reflected on the Exhibit to the Master Ballot) and
                       the Firm shall record the affirmative responses on the Master Ballot and
                       reflect that the vote and other responses were collected by means of an
                       Option (a) Certification. For the avoidance of doubt, a Firm may not rely
                       on providing any of its Abuse Survivor Clients negative notice when
                       completing the Master Ballot on behalf of any Abuse Survivor Client if such
                       client did not affirmatively respond with an express answer for each
                       applicable election. Each Firm shall collect the responses through
                       customary and accepted practices (including telephone, email, and other
                       standard communication methods) from each Abuse Survivor Client;
                       provided, however, if an Abuse Survivor Client provides his or her



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                       responses orally or via telephone, the Firm shall contemporaneously
                       maintain a record of the responses of the Firm’s Abuse Survivor Clients; or

                               (b)     “Option (b) Certification”: If the Firm has the authority
                       under a power of attorney to vote to accept or reject the Plan (in addition to
                       the other elections under the Master Ballot) on behalf of its Abuse Survivor
                       Clients, the Firm shall complete the Master Ballot in accordance with the
                       power granted to the Firm and reflect that the vote and other elections were
                       collected by means of an Option (b) Certification. For any Abuse Survivor
                       Clients whose elections on the Master Ballot were completed by utilizing
                       the Option (b) Certification, the Firm shall supply the power(s) of attorney
                       concurrently with the Master Ballot and Exhibit that provided the Firm with
                       the authorization to act on behalf of such Abuse Survivor Client(s).

In addition to the foregoing certification, each Firm that selects the Master Ballot Solicitation
Method shall provide the Solicitation Package materials (excluding a ballot), in hard copy, flash
drive, or electronic format, to its Abuse Survivor Clients. Any Firm that elects the Master Ballot
Solicitation Method must return the Master Ballot to the Solicitation Agent so that it is received
by the Voting Deadline. Each Firm must also file a verified statement with the Court pursuant to
Bankruptcy Rule 2019 prior to or concurrently with the submission of its Master Ballot containing
the following (each, a “Rule 2019 Statement”): (i) the facts and circumstances concerning the
Firm’s representation of Abuse Survivor Clients in these chapter 11 cases; (ii) a list of the names,
addresses, and claim numbers of all Abuse Survivor Clients that the such Firm represents; and
(iii) an exemplar of the engagement letter used to engage the Abuse Survivor Clients. The Firm
may redact pricing, compensation amounts or percentages, and personal identifying information
of holders of Direct Abuse Claims. For the avoidance of doubt, personal identifying information
related to holders of Direct Abuse Claims on such Rule 2019 Statement shall be filed under seal
in accordance with the Final Order (I) Authorizing Debtors to File (A) a Consolidated List of
Counsel Representing the Largest Numbers of Abuse Victims and (B) a Consolidated List of Other
Unsecured Creditors of the Debtors, (II) Authorizing and Approving Special Noticing and
Confidentiality Procedures, and (III) Granting Related Relief [D.I. 274] and the Bar Date Order;
provided that copies of such information shall be made available to “Permitted Parties” as defined
in the Bar Date Order. Each Firm must submit a copy of the Rule 2019 Statement with unredacted
personal identifying information with its Master Ballot and Exhibit submission to the Solicitation
Agent.

                       b.     Direct Solicitation Method. A Firm may direct the Solicitation
Agent to solicit votes on the Plan directly from each of the Firm’s Abuse Survivor Clients by
distributing a Solicitation Package (including a Ballot) directly to each of the Firm’s Abuse
Survivor Clients via U.S. mail at the street address specified on the Firm’s Client List (the “Direct
Solicitation Method”). Under the Direct Solicitation Method, each Abuse Survivor Client must
return his or her completed Ballot to the Solicitation Agent so that it is received by the Voting
Deadline. For the avoidance of doubt, the Debtors shall solicit votes to accept or reject the
Plan from each holder of a Direct Abuse Claim who cannot be matched to a Firm or who is
not included in any Client List to be solicited via the Direct Solicitation Method.




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                       c.      Directive Amendment. After entry of the Solicitation Procedures
Order, the Solicitation Agent shall email each Firm that is listed on Direct Abuse Claims in Class
8 to confirm whether any updates are needed to the Abuse Survivor Plan Solicitation Directive
previously submitted by each Firm. A Firm must respond in writing to the Solicitation Agent
within five (5) days of receipt of the email in order to change its preference pursuant to (i) or (ii)
below. If the Solicitation Agent does not receive a response from a Firm within this time period,
the Solicitation Agent will honor the solicitation method that Firm previously indicated on the
Abuse Survivor Plan Solicitation Directive.

                               (a)      If a Firm that previously elected the Master Ballot
                       Solicitation Method on its Abuse Survivor Plan Solicitation Directive
                       would like to have each of its clients who hold Direct Abuse Claims cast
                       their own vote to accept or reject the Plan, such Firm may elect to have the
                       Solicitation Agent deliver the Solicitation Package (including Ballots) to the
                       Firm, which will, in turn, deliver the Solicitation Packages (including
                       Ballots) to each of its clients who hold Direct Abuse Claims in hard copy,
                       flash drive, or electronic format. In this case, Solicitation Packages shall be
                       delivered to clients who hold Direct Abuse Claims in accordance with their
                       preferences (i.e., clients who do not want to receive written communications
                       via regular mail shall receive the Solicitation Package materials
                       electronically). The Solicitation Agent shall deliver the Solicitation
                       Package (including Ballots) to each Firm in hard copy, flash drive, or
                       electronic format, depending on the preference specified by each Firm in its
                       response to the email from the Solicitation Agent. Clients who hold Direct
                       Abuse Claims will complete a Ballot and such Ballot will be returned to the
                       Solicitation Agent.

                                (b)     If a Firm previously elected the Direct Solicitation Method
                       on its Abuse Survivor Plan Solicitation Directive, that Firm can indicate that
                       it will have its clients vote via the Master Ballot Solicitation Method instead
                       and will receive the Solicitation Package directly from the Solicitation
                       Agent.

                       If a Firm certifies that it does not represent any Abuse Survivor Clients, the
Solicitation Agent is authorized to omit such Firm from the Debtors’ solicitation of votes on the
Plan and request that such Firm be removed from the service list in the Chapter 11 Cases. For the
avoidance of doubt, any such affected survivors shall be solicited via the Direct Solicitation
Method.




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       B.      Completion and Return of Ballots by Attorneys for Holders of Direct Abuse
               Claims.

       The following procedures govern the completion and return of a Master Ballot:

                       Summarizing Votes on the Master Ballot: The Master Ballot shall contain
the following options to provide a summary of voting, one of which must be marked by the Firm:

                      a.      “All claimants listed on the Exhibit accompanying this Master
                              Ballot ACCEPT (vote in favor of) the Plan.”

                      b.      “All claimants listed on the Exhibit accompanying this Master
                              Ballot REJECT (vote against) the Plan.”

                      c.      “Some of the claimants listed on the Exhibit accompanying this
                              Master Ballot ACCEPT (vote in favor of) the Plan, while other
                              claimants listed on the exhibit accompanying this Master Ballot
                              REJECT (vote against) the Plan.”

                      Certification by Firm of Authority to Vote and Related Issues Under Penalty
                      of Perjury:

                      a.      The Master Ballot contains certifications, to be completed by the
                              attorney preparing and signing the Master Ballot, pursuant to which
                              such attorney shall certify under penalty of perjury that, among other
                              things, he or she has the authority under applicable law to vote to
                              accept or reject the Plan on behalf of the Abuse Survivor Clients
                              who are listed on the exhibit to the Master Ballot.

                      b.      If the attorney is unable to make such certification under penalty of
                              perjury on behalf of any Abuse Survivor Client, the attorney may
                              not cast a vote on behalf of such Abuse Survivor Client and must
                              timely send the information relating to the name, address, claim
                              number, and email (if known) of such Abuse Survivor Client to the
                              Solicitation Agent, and the Solicitation Agent shall immediately
                              distribute a Solicitation Package to such Abuse Survivor Client.

                      Exhibit to the Master Ballot:

                       a.      Each attorney will receive with the Master Ballot an exhibit on a
USB drive containing an electronic client list in Excel format of each holder of a Direct Abuse
Claim whom the attorney represents (the “Exhibit”). The Exhibit shall list, for each Abuse
Survivor Client represented by the attorney’s Firm and on whose behalf the attorney is voting on
the Plan, (1) the Abuse Survivor Client’s first and last name, the Abuse Survivor Client’s claim
number, the last four digits of the Abuse Survivor Client’s Social Security Number (if the Abuse
Survivor Client does not have a Social Security Number, it will not be listed), and the Abuse
Survivor Client’s date of birth, (2) whether the Abuse Survivor Client votes to ACCEPT / vote in
favor of or to REJECT / vote against the Plan, (3) if the Abuse Survivor Client is voting to accept

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 or reject the Plan, whether the Abuse Survivor Client opts out of the Releases by Holders of Claims
 set forth in Article X.J.4 of the Plan, (4) whether the Firm is recording the vote of each Abuse
 Survivor Client via the Option (a) Certification or the Option (b) Certification described and
 defined above, and (5) the service method that the Firm has used to transmit the Solicitation
 Package materials (excluding a ballot) to each holder of a Direct Abuse Claim in hard copy, flash
 drive, or electronic format.

                       b.     The Exhibit and the completed Master Ballot shall be returned to the
 Solicitation Agent via the E-Ballot Platform in accordance with Sections II and IV of these
 Solicitation Procedures. The Exhibit shall contain drop-down options and shall not deviate from
 the following format:
                                                                                    Opts Out of
                                                                Vote to ACCEPT
                                                                                     Release in                       Method of
                                    Claimant’s     Claimant’s   / in Favor of OR                        Type of
Claimant’s    Claimant’s    Claim                                                  Article X.J.4 of                    Service of
                                    SSN (last 4     Date of     Vote to REJECT                        Authority for
Last Name     First Name   Number                                                   Plan – Leave                      Solicitation
                                      digits)        Birth         / Against the                         Vote
                                                                                    Blank if Not                      Documents
                                                                       Plan
                                                                                    Opting Out




                              Rule 2019 Statement:

         As set forth above, each Firm submitting a Master Ballot on behalf of more than one client
 must file with the Court a Rule 2019 Statement on or before the date of submission of its Master
 Ballot in accordance with the procedures described in Section IV.A.5.a above. Each Firm must
 also submit a copy of the Rule 2019 Statement with unredacted personal identifying information
 with its Master Ballot and Exhibit submission to the Solicitation Agent.

                              Documentation Required for Option (b) Certification:

        As described above, each Firm submitting a Master Ballot under the Option
 (b) Certification must submit a valid power of attorney concurrently with its submission of the
 Master Ballot and Exhibit.

             C. To Holders of Indirect Abuse Claims: The Solicitation Agent shall cause a
 Solicitation Package, including a Ballot substantially in the form annexed to the Solicitation
 Procedures Order as Exhibit 2-7, to be served upon each known holder of an Indirect Abuse Claim
 who is entitled to vote to accept or reject the Plan and whose Claim has not been withdrawn or
 disallowed or expunged by an order of the Bankruptcy Court on or before the Solicitation Date.

             D.       Calculation of Voting Amount With Respect to Direct and Indirect Abuse
                      Claims.5

                       Each holder of a Direct Abuse Claim who is entitled to vote shall have a
 single vote in the amount, for voting purposes only, of $1.00 in the aggregate per claimant, or as

 5
      For the avoidance of doubt, in the event of a conflict between this Section IV.D describing the calculation of votes
      for Direct and Indirect Abuse Claims and any other section of these Solicitation Procedures, including
      Section V.B, the terms of this Section IV.D shall control.


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otherwise ordered by the Bankruptcy Court. The temporary allowance of Direct Abuse Claims in
the amount of $1.00 is solely for voting purposes, and shall not be binding upon the holder, the
Debtors, the Settlement Trust, the Firms, or any other party for any purpose other than voting on
the Plan.

                       Each holder of an Indirect Abuse Claim, which includes, without limitation,
any Abuse Claim for contribution, indemnity, reimbursement, or subrogation, who is entitled to
vote shall have a single vote in the amount, for voting purposes only, of $1.00 in the aggregate per
claimant, or as otherwise ordered by the Bankruptcy Court. The temporary allowance of Indirect
Abuse Claims in the amount of $1.00 is solely for voting purposes, and shall not be binding upon
the holder, the Debtors, the Settlement Trust or any other party for any purpose other than voting
on the Plan.

       E.      Receipt of Multiple Ballots for a Single Direct Abuse Claim.

                      If notwithstanding their reasonable efforts to ensure that only one
Solicitation Package (including one Ballot) is distributed on account of each holder of a Direct
Abuse Claim who has filed duplicative Abuse Claims and/or on account of Abuse Claims that have
been amended and superseded by later filed Abuse Claims, the Solicitation Agent receives more
than one Ballot from or on behalf of the holder of a single Direct Abuse Claim on or before the
Voting Deadline, the effective vote shall be the last Ballot actually received by the Solicitation
Agent before the Voting Deadline that satisfies the voting and tabulation procedures specified in
Section V.

                       To the extent the Debtors receive a Ballot from a holder of a Direct Abuse
Claim entitled to vote and a Ballot from an attorney purporting to represent such holder (including
in accordance with the procedures related to Master Ballots), the Ballot received from the holder
of the Direct Abuse Claim entitled to vote shall be counted.

                       To the extent the Debtors receive a Master Ballot from two different Firms
on account of the same Direct Abuse Claim with conflicting votes on the Plan, the Debtors shall
reach out to both Firms, with notice of such communication to counsel to the Tort Claimants’
Committee and the Coalition, and request written documentation of each Firm’s representation of
such claimant. If representation of the holder of the Direct Abuse Claim is not resolved within ten
(10) days from the notice of the conflict as provided by the Debtors, such votes shall not be
counted.

                        Other than with respect to the submission of conflicting Master Ballots by
different Firms, if inconsistent votes are otherwise received by the Solicitation Agent on the same
day for a single Direct Abuse Claim, such votes shall not be counted.

V.     VOTING AND TABULATION PROCEDURES

       A.      Holders of Claims Entitled to Vote.

       Only the following holders of Claims in the Voting Classes shall be entitled to vote with
respect to such Claims (in addition to the special procedures set forth in Section IV above for
holders of Direct and Indirect Abuse Claims):

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                        Holders of Claims who, on or before the Voting Record Date, have timely
filed a Proof of Claim that (a) has not been expunged, disallowed, disqualified, withdrawn, or
superseded prior to the Voting Record Date, and (b) is not the subject of a pending objection, other
than a “reclassify” or “reduce and allow” objection, filed with the Bankruptcy Court on or before
the Solicitation Date, pending the occurrence of a Resolution Event as provided herein; provided
that a holder of a Claim that is the subject of a pending objection on a “reclassify” or “reduce and
allow” basis shall receive a Solicitation Package and be entitled to vote such Claim in the
reclassified priority or reduced amount contained in such objection absent a further order of the
Court;

                      Holders of Claims that are listed on the Debtors’ Schedules; provided that
Claims that are scheduled as contingent, unliquidated, or disputed (excluding such scheduled
disputed, contingent or unliquidated Claims that have been paid or superseded by a timely filed
Proof of Claim) shall be allowed to vote only in the amounts set forth in Section V.B of these
Solicitation Procedures;

                      Holders of Claims whose Claims arise (a) pursuant to an agreement or
settlement with the Debtors, as reflected in a document filed with the Bankruptcy Court, (b) in an
order entered by the Bankruptcy Court, or (c) in a document executed by the Debtors pursuant to
authority granted by the Bankruptcy Court, in each case regardless of whether a Proof of Claim
has been filed;

                       Holders of any Disputed Claim that has been temporarily allowed to vote
on the Plan pursuant to Bankruptcy Rule 3018 in accordance with Section III.C.4 above; and

                       The assignee of any Claim (other than an Abuse Claim) that was transferred
on or before the Voting Record Date by any Entity described in subparagraphs (1) through (4)
above; provided that such transfer or assignment has been fully effectuated pursuant to the
procedures set forth in Bankruptcy Rule 3001(e) and such transfer is reflected on the Claims
Register as of the Voting Record Date.

       B.      Establishing Claim Amounts for Voting Purposes.

                      If a Proof of Claim has been amended, the last-filed Proof of Claim as of
the Voting Record Date shall be subject to these Solicitation Procedures and shall supersede any
earlier filed Proof of Claim for voting purposes. Any earlier-filed Proof of Claim shall be
disallowed for voting purposes, regardless of whether the Debtors have objected to such earlier
filed Claim.

                       Duplicate Claims within the same Voting Class shall be deemed temporarily
allowed for voting purposes only in an amount equal to one such Claim and not in an amount equal
to the aggregate of such Claims.

                      Claims filed for $0.00 are not entitled to vote on the Plan, excluding the
holders of Direct Abuse Claims and Indirect Abuse Claims. Each holder of a Direct Abuse Claim
and Indirect Abuse Claim who is entitled to vote shall have a single vote in the amount, for voting



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purposes only, of $1.00 in the aggregate per claimant Court pursuant to Section IV.D or as
otherwise ordered by the Bankruptcy Court.

                       Proofs of Claim that assert Claims in more than one Voting Class may be
split into multiple Voting Classes for voting purposes.

                      Class 3A 2010 Credit Facility and Class 3B 2019 RCF Claims. The Claim
amount of Class 3A and 3B Claims shall be established based on the amount of the applicable
positions held by holders of Class 3A and Class 3B Claims as of the Voting Record Date, as
evidenced by (a) the Debtors’ applicable books and records and (b) the claims register maintained
in these Chapter 11 Cases.

                      Class 4A 2010 Bond Claims and Class 4B 2012 Bond Claims. The Claim
amount of Class 4A and 4B Claims shall be established based on the amount of the applicable
positions held by holders of Class 4A and Class 4B Claims as of the Voting Record Date, as
evidenced by (a) the Debtors’ applicable books and records and (b) the claims register maintained
in these Chapter 11 Cases.

                       Class 5 Convenience Claims. The Claim amount of Class 5 Claims shall be
established based on the amount of the applicable positions held by holders of Class 5 Claims as
of the Voting Record Date, as evidenced by the claims register maintained in these Chapter 11
Cases. With respect to holders of General Unsecured Claims in excess of $50,000 as of the Voting
Record Date as evidenced by the claims register, if such Claim is Allowed and such holder elects
on its Ballot to join Class 5 and reduce such Claim to $50,000, the Claim amount shall be set at
$50,000.

                       Class 6 General Unsecured Claims. The Claim amount of Class 6 Claims
shall be established based on the amount of the applicable positions held by holders of Class 6
Claims as of the Voting Record Date, as evidenced by (a) the Debtors’ Schedules and (b) the claims
register maintained in these Chapter 11 Cases.

                       Class 7 Non-Abuse Litigation Claims. The Claim amount of Class 7 Claims
shall be established based on the amount of the applicable positions held by holders of Class 7
Claims as of the Voting Record Date, as evidenced by the claims register maintained in these
Chapter 11 Cases. For the avoidance of doubt, all Non-Abuse Litigation Claims in Class 7,
including any Insured Non-Abuse Claim, which have not been fixed pursuant to a judgment or
settlement entered prior to the Voting Record Date, shall be classified as a contingent and
unliquidated Claim in accordance with this Section V.B and shall have a single vote in the amount,
for voting purposes only, of $1.00 in aggregate per claimant, unless otherwise ordered by the
Bankruptcy Court. Such temporary allowance is solely for voting purposes, and will not be
binding on the holder, the Debtors, or any other party for any purpose other than voting on the
Plan.

                       Claim Amounts for Voting Purposes. The Claim amount established herein
shall control for voting purposes only and shall not constitute the Allowed amount of any Claim
under the terms of the Plan. Moreover, any amounts filled in on Ballots by the Debtors through
the Solicitation Agent, as applicable, are not binding for purposes of allowance and distribution.


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In tabulating votes, the following hierarchy shall be used to determine the amount of the Claim
associated with each claimant’s vote:

                     a.      the Claim amount (i) settled or agreed upon by the Debtors, as
                             memorialized in a document filed with the Bankruptcy Court, (ii) set
                             forth in an order of the Bankruptcy Court or (iii) set forth in a
                             document executed by the Debtors pursuant to authority granted by
                             the Bankruptcy Court;

                     b.      if subsection (a) does not apply, the Claim amount allowed
                             (temporarily or otherwise) pursuant to a Resolution Event under
                             Section III.C of these Solicitation Procedures;

                     c.      if none of subsections (a)–(b) apply, the Claim amount asserted in a
                             Proof of Claim that has been timely filed (or deemed timely filed by
                             the Bankruptcy Court under applicable law), except for any amounts
                             that have been paid or asserted on account of any interest accrued
                             after the Petition Date; provided, that, any Ballot submitted by a
                             holder of a Claim who timely filed a Proof of Claim in respect of
                             (i) a contingent Claim, whether liquidated or unliquidated, or a
                             Claim in a wholly-unliquidated, unknown or undetermined amount
                             (based on a reasonable review by the Debtors) that is not the subject
                             of an objection shall count toward satisfying the numerosity
                             requirement of section 1126(c) of the Bankruptcy Code and shall
                             count as a Ballot for a Claim in the amount of $1.00 solely for the
                             purposes of voting and satisfying the dollar amount requirement of
                             section 1126(c) of the Bankruptcy Code, and (ii) with respect to a
                             non-contingent, partially liquidated and partially unliquidated
                             Claim, such Claim shall be allowed for voting purposes only in the
                             liquidated amount;

                     d.      if none of subsections (a)–(c) apply, the Claim amount listed in the
                             Schedules (to the extent such Claim has not been superseded by a
                             timely filed Proof of Claim); provided that such Claim is not
                             scheduled as contingent, disputed, or unliquidated and has not been
                             paid; provided, further, that a Claim that is listed in the Schedules
                             as contingent, unliquidated, or disputed and for which a Proof of
                             Claim was not (i) filed by the applicable Bar Date or (ii) deemed
                             timely filed by an order of the Bankruptcy Court prior to the Voting
                             Deadline is not entitled to vote; and

                     e.      if none of subsections (a)–(d) apply, such Claim shall count as a
                             Ballot for a Claim in the amount of $0.00 solely for the purposes of
                             voting.




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                      Stipulation. The Debtors are authorized to enter into stipulations or other
agreements with the holder of any Claim agreeing to the amount of a Claim for voting purposes,
and will provide notice and an opportunity for a hearing on any such stipulation.

        C.       Convenience Claim Election.

       For solicitation and tabulation purposes, one Ballot will be provided to each holder of a
General Unsecured Claim. Holders of Claims that would otherwise be treated as a General
Unsecured Claim in an amount of $50,000 or less, if Allowed under the Plan, shall have their
Claims treated as a Class 5 Convenience Claim; holders of General Unsecured Claims greater than
$50,000, shall have the right, but not the obligation, to irrevocably elect to have such Claim
irrevocably reduced to $50,000 and treated as a Class 5 Convenience Claim (upon Allowance), in
full and final satisfaction of such Claim, if elected on a properly and timely completed and
delivered Ballot.

         Any General Unsecured Claim in excess of $50,000 may not be subdivided into multiple
Convenience Claims for purposes of receiving treatment as a Convenience Claim. If a holder of a
General Unsecured Claim in the amount of $50,000 or less is deemed to join Class 5 (Convenience
Claims) or an eligible holder of a General Unsecured Claim that is greater than $50,000 makes the
voluntary election to join Class 5 (Convenience Claims), then its Claim shall, upon its allowance
for voting purposes only, be counted only in such Class and shall not be tabulated as a Claim in
Class 6 (General Unsecured Claims). For the avoidance of doubt, the vote of a holder of a General
Unsecured Claim that is greater than $50,000 who elects to have such Claim treated as a Class 5
Convenience Claim (upon Allowance) will be counted as a vote on the Plan in Class 5.

        D.       Voting and Ballot Tabulation Procedures.

        The following voting procedures and standard assumptions shall be used in tabulating
Ballots, along with the procedures described in the Ballots, subject to the Debtors’ right to waive
any of the below specified requirements upon notice to parties in interest through the Voting
Report for completion and submission of Ballots so long as such requirement is not otherwise
required by the Bankruptcy Code, Bankruptcy Rules or Local Rules.6

                       The Solicitation Agent shall date-stamp all Ballots when received. Ballots
received on the day of the Voting Deadline shall be date and time-stamped. In addition, the
Solicitation Agent shall retain originals of all Ballots for a period of two years after the Effective
Date of the Plan, unless otherwise ordered by the Bankruptcy Court.

                       Except as otherwise provided in these Solicitation Procedures, unless a
Ballot is received by the Solicitation Agent on or prior to the Voting Deadline (as the same may
be extended by the Debtors upon notice to parties in interest as set forth below), the Debtors shall



6
    The summary provided herein is for illustrative purposes only and is subject to the procedures described in the
    Ballots in all respects. In the event of any inconsistency between the summary of voting and tabulation procedures
    as set forth herein and the Ballots, the Ballots will control.


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reject such Ballot as invalid and, therefore, shall not count it in connection with confirmation of
the Plan.

                      If a Claim has been estimated for voting purposes in accordance with
Section III.C.4 above or otherwise allowed for voting purposes by order of the Bankruptcy Court,
such Claim is temporarily allowed for voting purposes in the amount so estimated or allowed in
such order.

                        For purposes of the numerosity requirement of section 1126(c) of the
Bankruptcy Code, separate Claims held by a single creditor in a Voting Class shall be aggregated
as if such creditor held one Claim in the Voting Class, and the votes related to such Claims shall
be treated as a single vote to accept or reject the Plan.

                       The Debtors shall make reasonable efforts to provide any holder of a Claim
who has filed or purchased duplicate Claims within the same Class with only one Solicitation
Package and one Ballot for voting a single Claim in such Class, regardless of whether the Debtors
have objected to such duplicate Claims; provided that if the Debtors timely receive more than one
Ballot from or on behalf of the holder of a single Direct Abuse Claim, the effective vote shall also
be determined in accordance with Section IV.E above. If the Debtors timely receive more than
one Ballot from or on behalf of the holder of a single Claim, the effective vote shall be the Ballot
last received by the Solicitation Agent that satisfies the voting and tabulation procedures specified
in this Section V.D. If more than one Ballot voting the same Claim is received prior to the Voting
Deadline, the latest received, properly executed Ballot received by the Solicitation Agent before
the Voting Deadline will supersede and revoke any prior Ballot.

                      If the holder of a Claim submits inconsistent Ballots received by the
Solicitation Agent on the same day other than as set forth in Section IV.E with respect to Direct
Abuse Claims, such Ballots shall not be counted.

                       Delivery of a defective or irregular Ballot shall not be deemed to have been
made until such defect or irregularity has been cured or waived by the Debtors upon notice to
parties in interest. Any waiver by the Debtors of defects or irregularities in any Ballot shall be
detailed in the Voting Report filed by the Solicitation Agent.

                        After the Voting Deadline, no Ballot may be withdrawn or modified without
the prior written consent of the Debtors, upon notice to parties in interest and pursuant to an order
of the Court authorizing such withdrawal or modification. Any such withdrawal or modification
shall be detailed in the Voting Report filed by the Solicitation Agent.

                      The holder of a Claim must complete each section of the Ballot, including,
without limitation, certifying the amount of its Claim, voting to accept or reject the Plan,
completing the requested identification information, and signing and dating the Ballot.

                        The holder of a Claim must vote all of its Claims either to accept or reject
the Plan. Accordingly, a Ballot (other than a Master Ballot) that partially rejects and partially
accepts the Plan may not be counted. Except with respect to delivery of a Master Ballot pursuant
to the procedures set forth in Section IV, to the extent possible, the Debtors shall distribute to each


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holder of a Claim in the Voting Classes a single Ballot on account of the Claim held by such holder
in the Voting Classes.

                       The Debtors expressly reserve the right to amend the terms of the Plan
(subject to compliance with section 1127 of the Bankruptcy Code). If the Debtors make material
changes to the terms of the Plan, the Debtors shall disseminate additional solicitation materials and
extend the solicitation period, in each case to the extent required by law or further order of the
Bankruptcy Court.

                        If the party executing the Ballot is signing as a trustee, executor, guardian,
attorney-in-fact, officer of a corporation, or acting in a fiduciary or representative capacity, such
party must indicate such capacity when signing and, if required or requested by the Solicitation
Agent, the Debtors, or the Bankruptcy Court, must provide evidence satisfactory to the requesting
party to act on behalf of the holder of the Claim.

                        Subject to any contrary order of the Bankruptcy Court, the Debtors further
reserve the right to waive any defects or irregularities or conditions of delivery as to any particular
Ballot, upon notice to parties in interest. Any such waiver shall be detailed in the Voting Report
filed by the Solicitation Agent.

                       Neither the Debtors, nor any other person or entity, shall be under any duty
to provide notification of defects or irregularities with respect to deliveries of Ballots except as
provided herein nor shall any of them incur any liabilities for failure to provide such notification.

                        The Solicitation Agent, in its discretion, may contact entities entitled to vote
to cure any defects in the Ballot; provided, however, that the Solicitation Agent is not obligated to
do so.

                       Subject to entry of the Confirmation Order providing for such relief, if no
Ballot is submitted in a Class, then such Class shall be deemed to have voted to accept the Plan.

                       Subject to Bankruptcy Rule 3018(a), a voter may withdraw a valid Ballot
by delivering a written notice of withdrawal to the Solicitation Agent before the Voting Deadline
– the withdrawal must be signed by the party who signed the Ballot. Any such withdrawal shall
be detailed in the Voting Report filed by the Solicitation Agent. All rights are reserved to contest
any withdrawals.

                       If multiple Ballots are timely received from or on behalf of a holder of a
single Claim other than a Direct Abuse Claim (including an Indirect Abuse Claim), the effective
vote shall be the last properly executed Ballot timely received by the Solicitation Agent that
satisfies the voting and tabulation procedures specified in this Section V.D and shall supersede
and revoke any prior Ballot received, provided that if such holder submits inconsistent Ballots
received by the Solicitation Agent on the same day, such Ballots shall not be counted; provided
that if the Debtors timely receive more than one Ballot from or on behalf of the holder of a single
Direct Abuse Claim, the effective vote shall be determined in accordance with Section IV.E above.

                      If multiple Ballots are received directly from the holder of a Claim and from
a purported attorney or agent for such holder prior to the Voting Deadline, the Ballot received

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directly from the holder shall be the Ballot that is counted. For the avoidance of doubt, any Ballot
received directly from the holder of a Direct Abuse Claim shall supersede any Master Ballot
returned on account of a Direct Abuse Claim and shall be the vote that is counted, in accordance
with the procedures set forth in Section IV.

                       In addition, the following Ballots may not be counted in determining the
acceptance or rejection of the Plan:

                       a.     any Ballot submitted by a person who does not hold, or represent a
                              person that holds, a Claim in the applicable Voting Class as of the
                              Voting Record Date;

                       b.     any Ballot received after the Voting Deadline unless the Debtors
                              have granted an extension in writing (including e-mail) with respect
                              to such Ballot. Any such extension shall be detailed in the Voting
                              Report filed by the Solicitation Agent. The holder of a Claim may
                              choose the method of delivery of its Ballot to the Solicitation Agent
                              at its own risk. Delivery of the Ballot shall be deemed made only
                              when the original properly executed Ballot is actually received by
                              the Solicitation Agent;

                       c.     any Ballot delivered by facsimile transmission, electronic mail, or
                              any other means not specifically approved herein (unless an
                              exception has been granted by the Debtors, which shall be detailed
                              in the Voting Report filed by the Solicitation Agent), provided that
                              Ballots submitted through the E-Ballot Platform shall be counted;

                       d.     any Ballot that is illegible or contains insufficient information to
                              permit the identification of the claimant;

                       e.     any Ballot that is submitted in an inappropriate form that is not the
                              appropriate Ballot for such Claim;

                       f.     any Ballot sent to a person other than the Solicitation Agent;

                       g.     any Ballot that is unsigned; provided, however, for the avoidance of
                              doubt, a Ballot submitted via the Solicitation Agent’s E-Ballot
                              Platform shall be deemed to contain an original signature;

                       h.     a Ballot without a vote on the Plan or on which the claimant has
                              voted to both accept and reject the Plan; or

                       In addition, the following Master Ballots may not be counted in determining
the acceptance or rejection of the Plan:

                       a.     a Master Ballot on which the attorney fails to make the required
                              certifications; or



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                      b.     a Master Ballot that fails to include the required Exhibit.

VI.    AMENDMENTS TO THE PLAN AND SOLICITATION PROCEDURES

        The Debtors reserve the right to make non-substantive or immaterial changes to the
Disclosure Statement, the Solicitation Procedures Order, the Plan, the Ballots, the Confirmation
Hearing Notice, and related documents without further order of the Bankruptcy Court, including,
without limitation, changes to correct typographical and grammatical errors, and to make
conforming changes among the Disclosure Statement, the Plan, and any other materials in the
Solicitation Package before their distribution.

                                *       *      *       *       *




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                         Exhibit 2-1

             Form of Ballot for Classes 3A and 3B
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                             Debtors.


                  BALLOT FOR CLASS 3A (2010 CREDIT FACILITY CLAIMS)
                           AND CLASS 3B (2019 RCF CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-BALLOTS.

    IF YOU WOULD PREFER A PAPER OR OTHER FORMAT OF THESE MATERIALS,
    OR IF YOU NEED TO OBTAIN ADDITIONAL SOLICITATION PACKAGES,
    PLEASE CONTACT OMNI AGENT SOLUTIONS (THE “SOLICITATION AGENT”)
    BY (A) CALLING THE DEBTORS’ RESTRUCTURING HOTLINE AT 866-907-2721,
    (B) EMAILING BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS
    OF AMERICA BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE
    SOTO AVENUE, SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING
    AN INQUIRY ON THE DEBTORS’ RESTRUCTURING WEBSITE AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).

    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 “OPT-OUT” OF SUCH RELEASES. YOU MAY “OPT-OUT” OF SUCH RELEASES
 AND YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

       Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the ‘‘Debtors”) are soliciting votes from holders of Class 3A Claims (2010
Credit Facility Claims) and Class 3B Claims (2019 RCF Claims) on the Modified Fifth Amended
Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Plan”), which is described in greater detail in that certain
disclosure statement regarding the Plan, filed on [●], 2021 [D.I. [●]] (together with all schedules
and exhibits thereto, and as may be modified, amended, or supplemented from time to time, the
“Disclosure Statement”). Capitalized terms used but not otherwise defined herein have the
meanings ascribed to such terms in the Plan or the Disclosure Statement, as applicable. On [●],
2021, the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”)
entered an order [D.I. [●]] (the “Solicitation Procedures Order”) approving the Disclosure
Statement as containing adequate information under section 1125 of the Bankruptcy Code and the
procedures for soliciting votes to accept or reject the Plan (the “Solicitation Procedures”).
Bankruptcy Court approval of the Disclosure Statement does not indicate approval of the Plan by
the Bankruptcy Court.

       You are receiving this Ballot because you are a holder of a Claim in Class 3A and/or Class
3B against the Debtors as of the Voting Record Date. Accordingly, you have a right to vote to
accept or reject the Plan.

        Your rights are described in the Disclosure Statement for the Plan and the Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

         If you vote to accept or reject the Plan, you will be deemed to provide the releases
contained in Article X.J.4 of the Plan and as set forth below unless you opt out of such releases.
You may check the box below to opt out of the releases in Article X.J.4 of the Plan. Please be
advised that the Plan also contains injunction and exculpation provisions, certain of which are set
forth below. If the Plan is confirmed by the Bankruptcy Court, these sections will be binding on
you whether or not you elect to opt out of the releases in Article X.J.4 of the Plan by this Ballot.
For a full description of these provisions, see Article VI.Q of the Disclosure Statement and Article
X of the Plan, which sets forth the terms of each of these provisions.

      You should carefully review the Plan and Disclosure Statement before you vote. You
may wish to seek legal advice concerning the Plan and the Plan’s classification and treatment


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of your Claim. If you hold Claims in more than one Class, you will receive a Ballot for each
Class in which you are entitled to vote.

                        [Remainder of Page Intentionally Left Blank]




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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                BEFORE COMPLETING THIS BALLOT.

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Amount of Your Claim.

      For purposes of voting to accept or reject the Plan, the undersigned hereby certifies that as
of the Voting Record Date, the undersigned was the holder (or authorized signatory of such holder)
of a Class 3A or Class 3B Claim against the Debtors in the aggregate following unpaid principal
amount, without regard to any accrued but unpaid interest:


         Class:   ________________________________________________

         Debtor: _______________________________________________

         Claim(s) Amount: $_____________________________________


Item 2. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claim in Class 3A or
Class 3B below (please check one). Any Ballot not marked either to accept or reject the Plan, or
marked both to accept and to reject the Plan, shall not be counted in determining acceptance or
rejection of the Plan.

       Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 3
below.

        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.


         Check only one box:




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                             ACCEPT (I.E., VOTE IN FAVOR OF) the Plan

                             REJECT (I.E., VOTE AGAINST) the Plan


Item 3. Optional Release Election.

        Unless a holder of a Class 3A or 3B Claim who votes to accept or reject the Plan opts
out of the Releases by holders of Claims set forth below, such holder shall be deemed to have
consented to the releases contained in Article X.J.4 of the Plan, which provides as follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties2 to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders3 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,

2
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
3
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

        If you voted to accept or reject the Plan in Item 2 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

         The undersigned, as a holder of (or representative of a holder of) a Class 3A or 3B Claim,
 elects to:

              Opt out of the third party release in Article X.J.4 of the Plan.


   Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce


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the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.



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Exculpation.

        From and after the Effective Date, none of the Exculpated Parties4 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.


4
    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals..


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        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 4. Certifications, Acknowledgment, Signature and Date.

        By signing this Ballot, the holder of the Class 3A or 3B Claim (or authorized signatory of
such holder) acknowledges receipt of the Disclosure Statement, the Plan, and the other applicable
solicitation materials, and certifies that:

       (i)      it has the power and authority to vote to accept or reject the Plan,

       (ii)     it was the holder (or is entitled to vote on behalf of such holder) of the Class 3A or
                3B Claim described in Item 1 as of the Voting Record Date,

       (iii)    it has not submitted any other Ballots for its Class 3A or 3B Claims, or if it has
                submitted any other Ballots with respect to such Claim(s), then any such Ballots
                dated earlier are hereby revoked,

       (iv)     it acknowledges that a vote to accept the Plan constitutes an acceptance of the
                treatment of such Entity either as a holder of a Class 3A Claim or as a holder of a
                Class 3A Claim,

       (v)      it understands and, if accepting the Plan, agrees with the treatment provided for its
                Claim(s) under the Plan,

       (vi)     it understands and acknowledges that if multiple Ballots are submitted voting the
                Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
                and received by the Solicitation Agent before the Voting Deadline shall be deemed
                to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
                received by the Solicitation Agent, and


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       (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and every
               obligation of the undersigned hereunder, shall be binding on the transferees,
               successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
               legal representatives of the undersigned, and shall not be affected by, and shall
               survive, the death or incapacity of the undersigned. The undersigned understands
               that an otherwise properly completed, executed, and timely returned Ballot failing
               to indicate either acceptance or rejection of the Plan, or indicating both acceptance
               and rejection of the Plan, will not be counted.


 Print or Type Name of Claimant:          __________________________________________

 Last Four Digits of Social Security
 Number of Claimant:                      __________________________________________

 Signature:                               __________________________________________

 Name of Signatory (if different than
 Claimant):                               __________________________________________

 If by Authorized Agent, Title of
 Agent:                                   __________________________________________

 Street Address:                          __________________________________________

 City, State, Zip Code:                   __________________________________________

 Telephone Number:                        __________________________________________

 Email Address:                           __________________________________________

 Date Completed:                          __________________________________________


       IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
             ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                    YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-ballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as

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applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If
you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                        If by standard or overnight mail or personal delivery:

    https://omniagentsolutions.com/bsa-ballots          Boy Scouts of America Ballot Processing
                                                               c/o Omni Agent Solutions
                                                            5955 De Soto Avenue, Suite 100
                                                              Woodland Hills, CA 91367


        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

             Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform should
NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com,
(c) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’
restructuring website at https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-ballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

       Any admission of Class 3A or 3B Claims for purposes of voting on the Plan is not an
admission of liability on the part of the Debtors or any other party for payment purposes.


                            [Remainder of Page Intentionally Left Blank]




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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-ballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your      Ballot   via     the    E-Ballot    Platform,      visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

 IMPORTANT NOTE: You will need the following information to retrieve and submit your
 customized electronic Ballot:
                       Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.
       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT also
submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                           Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                 Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Ballots received on or
before the Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

       a.     Item 1 (Amount of the Claim). Make sure that the information contained in Item 1
regarding the principal amount of your Claim you held on the Voting Record Date is correct.
Please note that, except as otherwise set forth in the Disclosure Statement and Solicitation


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Procedures Order, each contingent Claim, whether liquidated or unliquidated, or a Claim
in a wholly-unliquidated, unknown or undetermined amount that is not the subject of an
objection, will be allowed in the amount of $1.00 for voting purposes only, and not for
distribution, allowance, or any other purpose.

         b.     Item 2 (Vote on the Plan). Cast one vote to accept or reject the Plan by checking
the appropriate box in Item 2. You must vote the entire amount of your Claim either to accept
(i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not split your vote.
Accordingly, any vote within a single Class that attempts partially to accept and partially reject the
Plan will not be counted.

        c.     If you hold Claims in more than one class, you may receive more than one Ballot
or Solicitation Package, labeled for a different class of Claims. Your vote will be counted in
determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

        d.     Item 3 (Releases). Pursuant to Article X of the Plan, the Debtors seek approval of
the release provision set forth in Article X.J.4 of the Plan and provided above. Holders of Claims
who vote to accept or reject the Plan may opt out of this release by checking the box in Item 3.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A CLASS 3A OR 3B
 CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR REJECT THE PLAN
 YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE X.J.4
 OF THE PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK THE BOX IN ITEM
 3 TO OPT OUT OF THE RELEASES.

                e.      Item 4 (Certifications, Acknowledgement, Signature, and Date). Either
the claimant, the claimant’s personal representative, or the claimant’s attorney must sign the
Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be counted.

                f.      Claimants with Social Security Numbers must provide the last four digits
of their Social Security Number in Item 4 of the Ballot.

                g.     The claimant, the claimant’s personal representative, or the claimant’s
attorney must certify certain information on the Ballot. Please read the certifications below and
ensure that the information on the Ballot meets the requirements of those certifications.

               h.      By signing the Ballot, you make the following certifications on information
and belief:

                       (i)     I have the power and authority to vote to accept or reject the Plan,




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                       (ii)    I was the holder (or am entitled to vote on behalf of such holder) of
                               the Class 3A or 3B Claim described in Item 1 as of the Voting
                               Record Date,

                       (iii)   I have not submitted any other Ballots for other Class 3A or Class
                               3B Claims, or if I have submitted any other Ballots with respect to
                               such Claims(s), then any such Ballots dated earlier are hereby
                               revoked,

                       (iv)    I acknowledge that a vote to accept the Plan constitutes an
                               acceptance of the treatment of my Claim either as a holder of a Class
                               3A Claim or as a holder of a Class 3B Claim,

                       (v)     I understand and, if accepting the Plan, agree with the treatment
                               provided for my Claim(s) under the Plan,

                       (vi)    I understand and acknowledge that if multiple Ballots are submitted
                               voting the Claim set forth in Item 1, only the last properly completed
                               Ballot voting the Claim and received by the Solicitation Agent
                               before the Voting Deadline shall be deemed to reflect the voter’s
                               intent and thus to supersede and revoke any prior Ballots received
                               by the Solicitation Agent, and

                       (vii)   all authority conferred or agreed to be conferred pursuant to this
                               Ballot, and every obligation of the undersigned hereunder, shall be
                               binding on the transferees, successors, assigns, heirs, executors,
                               administrators, trustees in bankruptcy, and legal representatives of
                               the undersigned, and shall not be affected by, and shall survive, the
                               death or incapacity of the undersigned. The undersigned
                               understands that an otherwise properly completed, executed, and
                               timely returned Ballot failing to indicate either acceptance or
                               rejection of the Plan, or indicating both acceptance and rejection of
                               the Plan, will not be counted.

       3.      Other Instructions for Completing the Ballots:

               a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of
Claim or Interest or an assertion or admission of a Claim or Interest.

               b.       The Ballot is not a letter of transmittal and may not be used for any purpose
other than to vote to accept or reject the Plan.

               c.      If you cast more than one Ballot voting the same Claim prior to the Voting
Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent and
received by the Solicitation Agent before the Voting Deadline will supersede and revoke any prior
Ballot.


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               d.     To the extent you have received two (2) or more duplicative Ballots on
account of the same Claim, please note that each claimant is authorized to submit only one Ballot
on account of such Claim.

               e.       In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall
automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

                f.      There may be changes made to the Plan that do not cause material adverse
effects on an accepting Class. If such non-material changes are made to the Plan, the Debtors will
not resolicit votes for acceptance or rejection of the Plan.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS INCLUDED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT
RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
STATEMENT OR PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST
YOUR BALLOT, OR NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE:            866-907-2721
EMAIL:                BSAballots@omniagnt.com
ADDRESS:              Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                      5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
WEBSITE:              https://omniagentsolutions.com/BSA




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                         Exhibit 2-2

             Form of Ballot for Classes 4A and 4B
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                             Debtors.


                            BALLOT FOR CLASS 4A (2010 BOND CLAIMS)
                               AND CLASS 4B (2012 BOND CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-BALLOTS.

    IF YOU WOULD PREFER A PAPER OR OTHER FORMAT OF THESE MATERIALS,
    OR IF YOU NEED TO OBTAIN ADDITIONAL SOLICITATION PACKAGES,
    PLEASE CONTACT OMNI AGENT SOLUTIONS (THE “SOLICITATION AGENT”)
    BY (A) CALLING THE DEBTORS’ RESTRUCTURING HOTLINE AT 866-907-2721,
    (B) EMAILING BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS
    OF AMERICA BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE
    SOTO AVENUE, SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING
    AN INQUIRY ON THE DEBTORS’ RESTRUCTURING WEBSITE AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).


    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 “OPT-OUT” OF SUCH RELEASES. YOU MAY “OPT OUT” OF SUCH RELEASES
 AND YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

        Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the ‘‘Debtors”) are soliciting votes from holders of Class 4A Claims (2010
Bond Claims) and Class 4B Claims (2012 Bond Claims) on the Modified Fifth Amended Chapter
11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]] (together
with all schedules and exhibits thereto, and as may be modified, amended, or supplemented from
time to time, the “Plan”), which is described in greater detail in that certain disclosure statement
regarding the Plan, filed on [●], 2021 [D.I. [●]] (together with all schedules and exhibits thereto,
and as may be modified, amended, or supplemented from time to time, the “Disclosure
Statement”). Capitalized terms used but not otherwise defined herein have the meanings ascribed
to such terms in the Plan or the Disclosure Statement, as applicable. On [●], 2021, the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) entered an order
[D.I. [●]] (the “Solicitation Procedures Order”) approving the Disclosure Statement as containing
adequate information under section 1125 of the Bankruptcy Code and the procedures for soliciting
votes to accept or reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of
the Disclosure Statement does not indicate approval of the Plan by the Bankruptcy Court.

        You are receiving this Ballot because you are a holder of a Claim in Class 4A Claim and/or
Class 4B against the Debtors as of the Voting Record Date. Accordingly, you have a right to
vote to accept or reject the Plan.

        Your rights are described in the Disclosure Statement for the Plan and Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        If you vote to accept or reject the Plan, you will be deemed to provide the releases contained
in Article X.J.4 of the Plan and as set forth below unless you opt out of such releases. You may
check the box below to opt out of the releases in Article X.J.4 of the Plan. Please be advised that
the Plan also contains injunction and exculpation provisions, certain of which are set forth below.
If the Plan is confirmed by the Bankruptcy Court, these sections will be binding on you whether
or not you elect to opt out of the releases in Article X.J.4 of the Plan by this Ballot. For a full
description of these provisions, see Article VI.Q of the Disclosure Statement and Article X of the
Plan, which sets forth the terms of each of these provisions.

       You should carefully review the Plan and Disclosure Statement before you vote. You
may wish to seek legal advice concerning the Plan and the Plan’s classification and treatment
of your Claim. If you hold Claims in more than one Class, you will receive a Ballot for each
Class in which you are entitled to vote.


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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                BEFORE COMPLETING THIS BALLOT.

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Amount of Your Claim.

      For purposes of voting to accept or reject the Plan, the undersigned hereby certifies that as
of the Voting Record Date, the undersigned was the holder (or authorized signatory of such holder)
of a Class 4A or Class 4B Claim against the Debtors in the aggregate following unpaid principal
amount, without regard to any accrued but unpaid interest:


         Class:   ________________________________________________

         Debtor: _______________________________________________

         Claim(s) Amount:       $_____________________________________


Item 2. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claim in Class 4A or
Class 4B below (please check one). Any Ballot not marked either to accept or reject the Plan, or
marked both to accept and to reject the Plan, shall not be counted in determining acceptance or
rejection of the Plan.

       Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 3
below.

        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.

         Check only one box:

                         ACCEPT (I.E., VOTE IN FAVOR OF) the Plan



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                              REJECT (I.E., VOTE AGAINST) the Plan


Item 3. Optional Release Election.

        Unless a holder of a Class 4A or 4B Claim who votes to accept or reject the Plan opts
out of the Releases by holders of Claims set forth below, such holder shall be deemed to have
consented to the releases contained in Article X.J.4 of the Plan, which provides as follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties2 to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders3 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related

2
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
3
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

        If you voted to accept or reject the Plan in Item 2 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

        The undersigned, as a holder of (or representative of a holder of) a Class 4A Claim or
 4B Claim, elects to:

             Opt out of the third party release in Article X.J.4 of the Plan.


   Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the

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Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.




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Exculpation.

        From and after the Effective Date, none of the Exculpated Parties4 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.


4
    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 4. Certifications, Acknowledgment, Signature and Date.

       By signing this Ballot, the holder of the Class 4A or Class 4B Claim (or authorized
signatory of such holder) acknowledges receipt of the Disclosure Statement, the Plan, and the other
applicable solicitation materials, and certifies that:

       (i)      it has the power and authority to vote to accept or reject the Plan,

       (ii)     it was the holder (or is entitled to vote on behalf of such holder) of the Class 4A
                Claim or Class 4B Claim described in Item 1 as of the Voting Record Date,

       (iii)    it has not submitted any other Ballots for other Class 4A Claim or Class 4B Claims,
                or if it has submitted any other Ballots with respect to such Claim(s), then any such
                Ballots dated earlier are hereby revoked,

       (iv)     it acknowledges that a vote to accept the Plan constitutes an acceptance of the
                treatment of such Entity either as a holder of a Class 4A Claim or as a holder of a
                Class 4B Claim,

       (v)      it understands and, if accepting the Plan, agrees with the treatment provided for its
                Claim(s) under the Plan,

       (vi)     it understands and acknowledges that if multiple Ballots are submitted voting the
                Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
                and received by the Solicitation Agent before the Voting Deadline shall be deemed
                to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
                received by the Solicitation Agent, and



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       (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and every
               obligation of the undersigned hereunder, shall be binding on the transferees,
               successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
               legal representatives of the undersigned, and shall not be affected by, and shall
               survive, the death or incapacity of the undersigned. The undersigned understands
               that an otherwise properly completed, executed, and timely returned Ballot failing
               to indicate either acceptance or rejection of the Plan, or indicating both acceptance
               and rejection of the Plan, will not be counted.


 Print or Type Name of Claimant:          __________________________________________

 Last Four Digits of Social Security
 Number of Claimant:                      __________________________________________

 Signature:                               __________________________________________

 Name of Signatory (if different than
 Claimant):                               __________________________________________

 If by Authorized Agent, Title of
 Agent:                                   __________________________________________

 Street Address:                          __________________________________________

 City, State, Zip Code:                   __________________________________________

 Telephone Number:                        __________________________________________

 Email Address:                           __________________________________________

 Date Completed:                          __________________________________________


       IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
             ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                    YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-ballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as
applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If


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you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                        If by standard or overnight mail or personal delivery:

    https://omniagentsolutions.com/bsa-ballots          Boy Scouts of America Ballot Processing
                                                               c/o Omni Agent Solutions
                                                            5955 De Soto Avenue, Suite 100
                                                              Woodland Hills, CA 91367


        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

             Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform should
NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com,
(c) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’
restructuring website at https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-ballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

        Any admission of Class 4A Claims or Class 4B Claims for purposes of voting on the Plan
is not an admission of liability on the part of the Debtors or any other party for payment purposes.


                            [Remainder of Page Intentionally Left Blank]




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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-ballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your      Ballot   via     the    E-Ballot    Platform,      visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

 IMPORTANT NOTE: You will need the following information to retrieve and submit your
 customized electronic Ballot:
                       Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.
       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT also
submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                           Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                 Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Ballots received on or
before the Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

               a.     Item 1 (Amount of the Claim). Make sure that the information contained
in Item 1 regarding the principal amount of your Claim you held on the Voting Record Date is
correct. Please note that, except as otherwise set forth in the Disclosure Statement and


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Solicitation Procedures Order, each contingent Claim, whether liquidated or unliquidated,
or a Claim in a wholly-unliquidated, unknown or undetermined amount that is not the
subject of an objection, will be allowed in the amount of $1.00 for voting purposes only, and
not for distribution, allowance, or any other purpose.

                 b.      Item 2 (Vote on the Plan). Cast one vote to accept or reject the Plan by
checking the appropriate box in Item 2. You must vote the entire amount of your Claim either to
accept (i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not split your vote.
Accordingly, any vote within a single Class that attempts partially to accept and partially reject the
Plan will not be counted.

               c.       If you hold Claims in more than one class, you may receive more than one
Ballot or Solicitation Package, labeled for a different class of Claims. Your vote will be counted
in determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

               d.      Item 3 (Releases). Pursuant to Article X of the Plan, the Debtors seek
approval of the release provision set forth in Article X.J.4 of the Plan and provided above. Holders
of Claims that vote to accept or reject the Plan may opt out of this release by checking the box in
Item 3.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A CLASS 4A CLAIM OR
 CLASS 4B CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR REJECT
 THE PLAN YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN
 ARTICLE X.J.4 OF THE PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK THE
 BOX IN ITEM 3 TO OPT OUT OF THE RELEASES.

                e.      Item 4 (Certifications, Acknowledgement, Signature, and Date). Either
the claimant, the claimant’s personal representative, or the claimant’s attorney must sign the
Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be counted.

                f.      Claimants with Social Security Numbers must provide the last four digits
of their Social Security Number in Item 4 of the Ballot.

                g.     The claimant, the claimant’s personal representative, or the claimant’s
attorney must certify certain information on the Ballot. Please read the certifications below and
ensure that the information on the Ballot meets the requirements of those certifications.

               h.      By signing the Ballot, you make the following certifications on information
and belief:

                       (i)     I have the power and authority to vote to accept or reject the Plan,




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                       (ii)    I was the holder (or am entitled to vote on behalf of such holder) of
                               the Class 4A or 4B Claim described in Item 1 as of the Voting
                               Record Date,

                       (iii)   I have not submitted any other Ballots for other Class 4A or Class
                               4B Claims, or if I have submitted any other Ballots with respect to
                               such Claims(s), then any such Ballots dated earlier are hereby
                               revoked,

                       (iv)    I acknowledge that a vote to accept the Plan constitutes an
                               acceptance of the treatment of my Claim either as a holder of a Class
                               4A Claim or as a holder of a Class 4B Claim,

                       (v)     I understand and, if accepting the Plan, agree with the treatment
                               provided for my Claim(s) under the Plan,

                       (vi)    I understand and acknowledge that if multiple Ballots are submitted
                               voting the Claim set forth in Item 1, only the last properly completed
                               Ballot voting the Claim and received by the Solicitation Agent
                               before the Voting Deadline shall be deemed to reflect the voter’s
                               intent and thus to supersede and revoke any prior Ballots received
                               by the Solicitation Agent, and

                       (vii)   all authority conferred or agreed to be conferred pursuant to this
                               Ballot, and every obligation of the undersigned hereunder, shall be
                               binding on the transferees, successors, assigns, heirs, executors,
                               administrators, trustees in bankruptcy, and legal representatives of
                               the undersigned, and shall not be affected by, and shall survive, the
                               death or incapacity of the undersigned. The undersigned
                               understands that an otherwise properly completed, executed, and
                               timely returned Ballot failing to indicate either acceptance or
                               rejection of the Plan, or indicating both acceptance and rejection of
                               the Plan, will not be counted.

       3.      Other Instructions for Completing the Ballots:

               a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of
Claim or Interest or an assertion or admission of a Claim or Interest.

               b.       The Ballot is not a letter of transmittal and may not be used for any purpose
other than to vote to accept or reject the Plan.

               c.      If you cast more than one Ballot voting the same Claim prior to the Voting
Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent and
received by the Solicitation Agent before the Voting Deadline will supersede and revoke any prior
Ballot.



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               d.     To the extent you have received two (2) or more duplicative Ballots on
account of the same Claim, please note that each claimant is authorized to submit only one Ballot
on account of such claim.

               e.       In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall
automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

                f.      There may be changes made to the Plan that do not cause material adverse
effects on an accepting Class. If such non-material changes are made to the Plan, the Debtors will
not resolicit votes for acceptance or rejection of the Plan.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS INCLUDED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT
RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
STATEMENT OR PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST
YOUR BALLOT, OR NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE:            866-907-2721
EMAIL:                BSAballots@omniagnt.com
ADDRESS:              Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                      5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
WEBSITE:              https://omniagentsolutions.com/BSA




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                          Exhibit 2-3

      Form of Ballot for Class 6 General Unsecured Claims
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                             Debtors.


                          BALLOT FOR CLASS 5 (CONVENIENCE CLAIMS)
                          AND CLASS 6 (GENERAL UNSECURED CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-BALLOTS.

    IF YOU WOULD PREFER A PAPER OR OTHER FORMAT OF THESE MATERIALS,
    OR IF YOU NEED TO OBTAIN ADDITIONAL SOLICITATION PACKAGES,
    PLEASE CONTACT OMNI AGENT SOLUTIONS (THE “SOLICITATION AGENT”)
    BY (A) CALLING THE DEBTORS’ RESTRUCTURING HOTLINE AT 866-907-2721,
    (B) EMAILING BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS
    OF AMERICA BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE
    SOTO AVENUE, SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING
    AN INQUIRY ON THE DEBTORS’ RESTRUCTURING WEBSITE AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).

    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 “OPT OUT” OF SUCH RELEASES. YOU MAY “OPT-OUT” SUCH RELEASES AND
 YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

        Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the “Debtors”) are soliciting votes from holders of Class 6 Claims (General
Unsecured Claims), or, if your Claim is Allowed in an amount of $50,000 or less or you otherwise
elect herein, holders of Class 5 Convenience Claims, on the Modified Fifth Amended Chapter 11
Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]] (together
with all schedules and exhibits thereto, and as may be modified, amended, or supplemented from
time to time, the “Plan”), which is described in greater detail in that certain disclosure statement
regarding the Plan, filed on [●], 2021 [D.I. [●]] (together with all schedules and exhibits thereto,
and as may be modified, amended, or supplemented from time to time, the “Disclosure
Statement”). Capitalized terms used but not otherwise defined herein have the meanings ascribed
to such terms in the Plan or the Disclosure Statement, as applicable. On [●], 2021, the United
States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) entered an order
[D.I. [●]] (the “Solicitation Procedures Order”) approving the Disclosure Statement as containing
adequate information under section 1125 of the Bankruptcy Code and the procedures for soliciting
votes to accept or reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of
the Disclosure Statement does not indicate approval of the Plan by the Bankruptcy Court.

        You are receiving this Ballot because you are a holder of a General Unsecured Claim in
Class 6 against the Debtors as of the Voting Record Date. Accordingly, you have a right to vote
to accept or reject the Plan. However, because you are a holder of a General Unsecured
Claim, you may be entitled to make an election in this Ballot at Item 1 to be treated as a
holder of a Class 5 Convenience Claim and to receive a distribution under the Plan as a
holder of a Class 5 Claim. If you hold Claims in more than one Class, you will receive a Ballot
for each Class in which you are entitled to vote. However, if you are deemed to or elect to be
treated as a holder of a Class 5 Claim, your vote on account of your General Unsecured Claim will
only be counted as a Class 5 Claim and not as a Class 6 Claim, and you will not receive any
distribution reserved for Class 6 Claims.

        Your rights are described in the Disclosure Statement for the Plan and the Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        If you vote to accept or reject the Plan, you will be deemed to provide the releases in Article
X.J.4 of the Plan and as set forth below unless you opt out of such releases. You may check the
box below to opt out of the releases in Article X.J.4 of the Plan. Please be advised that the Plan
also contains injunction and exculpation provisions, certain of which are set forth below. If the
Plan is confirmed by the Bankruptcy Court, these sections will be binding on you whether or not


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you elect to opt out of the releases in Article X.J.4 of the Plan by this Ballot. For a full description
of these provisions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

       You should carefully review the Plan and Disclosure Statement before you vote. You
may wish to seek legal advice concerning the Plan and the Plan’s classification and treatment
of your Claim. If you hold Claims in more than one Class, you will receive a Ballot for each
Class in which you are entitled to vote.

                           [Remainder of Page Intentionally Left Blank]




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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                BEFORE COMPLETING THIS BALLOT.

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 5. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Treatment or Election to Join Class 5 (Convenience Claims).
     Please note, if you make an election, you must still complete the remaining Items on this
Ballot, including whether or not you accept or reject the Plan in Item 3.
      Claims in the Amount of $50,000 or Less: Please take notice that if your Claim that would
otherwise be a General Unsecured Claim is Allowed under the Plan in an amount of $50,000 or
less, your Claim shall be treated as a Class 5 Convenience Claim.
      Claims Greater than $50,000: Please take notice that if your Claim is Allowed under the
Plan in an amount greater than $50,000, you have the right, but not the obligation, to irrevocably
elect to have your Claim irrevocably reduced to $50,000 and treated as a Class 5 Convenience
Claim (upon Allowance), in full and final satisfaction of your Claim, if elected on a timely and
properly delivered and completed Ballot.
     Any General Unsecured Claim in excess of $50,000 may not be subdivided into multiple
Convenience Claims for purposes of receiving treatment as a Convenience Claim.
      If your Claim is Allowed and is in the amount of $50,000 or less or if your Claim is Allowed
in an amount greater than $50,000 and you choose to join Class 5 and reduce your Claim to
$50,000, you will receive, with respect to your Allowed Claim, on the Effective Date or within
thirty (30) days following the date that such Convenience Claim becomes Allowed, Cash in an
amount equal to 100% of such holder’s Allowed Convenience Class Claim.

 The holder of an Allowed General Unsecured Claim that is greater than $50,000 in Class 6
 set forth in Item 2 ELECTS to:

                Join Class 5 (Convenience Claims) and receive treatment as a holder of a
                Claim in Class 5 only, and disclaim any right to receive a distribution as a
                holder of a Claim in Class 6.

Item 2. Amount of Your Claim.

      For purposes of voting to accept or reject the Plan, the undersigned hereby certifies that as
of the Voting Record Date, the undersigned was the holder (or authorized signatory of such holder)
of a General Unsecured Claim in the following aggregate unpaid principal amount, without regard
to any accrued but unpaid interest:




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          Debtor: ______________________________________

          Claim Amount: $ ______________________________


Item 3. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claim set forth in
Item 2 (please check one). Any Ballot not marked either to accept or reject the Plan, or marked
both to accept and to reject the Plan, shall not be counted in determining acceptance or rejection
of the Plan.

        Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 3
below.

        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.

          Check only one box:

                             ACCEPT (I.E., VOTE IN FAVOR OF) the Plan

                             REJECT (I.E., VOTE AGAINST) the Plan


Item 4. Optional Release Election.

       Unless a holder of a Class 5 or Class 6 Claim who votes to accept or reject the Plan
opts out of the Releases by holders of Claims set forth below, such holder shall be deemed to
have consented to the releases contained in Article X.J.4 of the Plan, which provides as
follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

       As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties2 to facilitate and implement the reorganization of the Debtors and the

2
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)


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settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders3 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or

    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
3
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

        If you voted to accept or reject the Plan in Item 3 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

        The undersigned, as a holder of (or representative of a holder of) a Class 5 or Class 6
 Claim, elects to:

             Opt out of the third party release in Article X.J.4 of the Plan.


   Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual

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arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.

Exculpation.

        From and after the Effective Date, none of the Exculpated Parties4 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the

4
    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.

        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.




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Item 5. Certifications, Acknowledgment, Signature and Date.

       By signing this Ballot, the holder of the Claim set forth in Item 2 (or authorized signatory
of such holder) acknowledges receipt of the Disclosure Statement, the Plan, and the other
applicable solicitation materials, and certifies that:

       (i)      it has the power and authority to vote to accept or reject the Plan,

       (ii)     it was the holder (or is entitled to vote on behalf of such holder) of the Class 5 or
                Class 6 Claim being voted described in Item 2 as of the Voting Record Date,

       (iii)    it has not submitted any other Ballots for other Class 5 or Class 6 Claims, or if it
                has submitted any other Ballots with respect to such Claims, then any such Ballots
                dated earlier are hereby revoked,

       (iv)     it acknowledges that a vote to accept the Plan constitutes an acceptance of the
                treatment of such Entity either as a holder of a Class 5 Claim or as a holder of a
                Class 6 Claim, as applicable,

       (v)      it understands and, if accepting the Plan, agrees with the treatment provided for its
                Claim(s) under the Plan,

       (vi)     it understands and acknowledges that if multiple Ballots are submitted voting the
                Claim set forth in Item 2, only the last properly completed Ballot voting the Claim
                and received by the Solicitation Agent before the Voting Deadline shall be deemed
                to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
                received by the Solicitation Agent, and

       (vii)    all authority conferred or agreed to be conferred pursuant to this Ballot, and every
                obligation of the undersigned hereunder, shall be binding on the transferees,
                successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
                legal representatives of the undersigned, and shall not be affected by, and shall
                survive, the death or incapacity of the undersigned. The undersigned understands
                that an otherwise properly completed, executed, and timely returned Ballot failing
                to indicate either acceptance or rejection of the Plan, or indicating both acceptance
                and rejection of the Plan, will not be counted.


 Print or Type Name of Claimant:           __________________________________________

 Last Four Digits of Social Security
 Number of Claimant:                       __________________________________________

 Signature:                                __________________________________________




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 Name of Signatory (if different than
 Claimant):                                  __________________________________________

 If by Authorized Agent, Title of
 Agent:                                      __________________________________________

 Street Address:                             __________________________________________

 City, State, Zip Code:                      __________________________________________

 Telephone Number:                           __________________________________________

 Email Address:                              __________________________________________

 Date Completed:                             __________________________________________



        IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
              ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                     YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-ballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as
applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If
you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                        If by standard or overnight mail or personal delivery:

    https://omniagentsolutions.com/bsa-ballots          Boy Scouts of America Ballot Processing
                                                               c/o Omni Agent Solutions
                                                            5955 De Soto Avenue, Suite 100
                                                              Woodland Hills, CA 91367


        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

             Unique E-Ballot ID#: [______________________________________]


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       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 2 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform should
NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com,
(c) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’
restructuring website at https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-ballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

        Any admission of Claims for purposes of voting on the Plan is not an admission of liability
on the part of the Debtors or any other party for payment purposes.




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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-ballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your      Ballot   via     the    E-Ballot    Platform,      visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

 IMPORTANT NOTE: You will need the following information to retrieve and submit your
 customized electronic Ballot:
                       Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.
       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 2 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT also
submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                           Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                 Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Ballots received on or
before the Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

               a.      Item 1 (Treatment or Election to join Class 5 (Convenience Claims)).
As set forth above, if your Claim is Allowed and is in the amount of $50,000 or less or if your
Claim is Allowed in an amount greater than $50,000 and you choose to join Class 5 and reduce


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your Claim to $50,000, you are deemed to or entitled to make an election in this Ballot at Item 1
to be treated as a holder of a Class 5 Convenience Claim and to receive a distribution under the
Plan as a holder of a Class 5 Claim. If you wish to make the Convenience Class election, please
check the box on Item 1. You must make the Convenience Class election as to the entire amount
of your Claim. Any Claim in excess of $50,000 may not be subdivided into multiple Convenience
Claims for purposes of receiving treatment as a Convenience Claim. If you make this election,
you must still complete the remaining Items on this Ballot, including whether or not you accept or
reject the Plan in Item 3.

               b.      Item 2 (Amount of the Claim). Make sure that the information contained
in Item 2 regarding the principal amount of your Claim you held on the Voting Record Date is
correct. Please note that, except as otherwise set forth in the Disclosure Statement and
Solicitation Procedures Order, each contingent Claim, whether liquidated or unliquidated,
or a Claim in a wholly-unliquidated, unknown or undetermined amount that is not the
subject of an objection, will be allowed in the amount of $1.00 for voting purposes only, and
not for distribution, allowance, or any other purpose.

               c.       If you hold Claims in more than one class, you may receive more than one
Ballot or Solicitation Package, labeled for a different class of Claims. Your vote will be counted
in determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

                 d.      Item 3 (Vote on the Plan). Cast one vote to accept or reject the Plan by
checking the appropriate box in Item 3. You must vote the entire amount of your Claim either to
accept (i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not split your vote.
Accordingly, any vote within a single Class that attempts partially to accept and partially reject the
Plan will not be counted.

               e.      Item 4 (Releases). Pursuant to Article X of the Plan, the Debtors seek
approval of the release provision set forth in Article X.J.4 of the Plan and provided above. Holders
of Claims who vote to accept or reject the Plan may opt out of this release by checking the box in
Item 4.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A CLASS 5 OR CLASS 6
 CLAIM, AS APPLICABLE, UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR
 REJECT THE PLAN YOU ARE DEEMED TO PROVIDE THE RELEASES
 CONTAINED IN ARTICLE X.J.4 OF THE PLAN, AS SET FORTH ABOVE, UNLESS
 YOU CHECK THE BOX IN ITEM 4 TO OPT OUT OF THE RELEASES.

                f.      Item 5 (Certifications, Acknowledgement, Signature, and Date). Either
the claimant, the claimant’s personal representative, or the claimant’s attorney must sign the
Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be counted.

                g.      Claimants with Social Security Numbers must provide the last four digits
of their Social Security Number in Item 5 of the Ballot.

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                h.     The claimant, the claimant’s personal representative, or the claimant’s
attorney must certify certain information on the Ballot. Please read the certifications below and
ensure that the information on the Ballot meets the requirements of those certifications.

               i.     By signing the Ballot, you make the following certifications on information
and belief:

                      (i)     I have the power and authority to vote to accept or reject the Plan,

                      (ii)    I was the holder (or am entitled to vote on behalf of such holder) of
                              the Class 5 or Class 6 Claim described in Item 2 as of the Voting
                              Record Date,

                      (iii)   I have not submitted any other Ballots for other Class 5 or Class 6
                              Claims, or, if I have submitted any other Ballots with respect to such
                              Claims, then any such Ballots dated earlier are hereby revoked,

                      (iv)    I acknowledge that a vote to accept the Plan constitutes an
                              acceptance of the treatment of my Claim either as a holder of a
                              Class 5 Claim or as a holder of a Class 6 Claim,

                      (v)     I understand and, if accepting the Plan, agree with the treatment
                              provided for my Claim(s) under the Plan,

                      (vi)    I understand and acknowledge that if multiple Ballots are submitted
                              voting the Claim set forth in Item 2, only the last properly completed
                              Ballot voting the Claim and received by the Solicitation Agent
                              before the Voting Deadline shall be deemed to reflect the voter’s
                              intent and thus to supersede and revoke any prior Ballots received
                              by the Solicitation Agent, and

                      (vii)   all authority conferred or agreed to be conferred pursuant to this
                              Ballot, and every obligation of the undersigned hereunder, shall be
                              binding on the transferees, successors, assigns, heirs, executors,
                              administrators, trustees in bankruptcy, and legal representatives of
                              the undersigned, and shall not be affected by, and shall survive, the
                              death or incapacity of the undersigned. The undersigned
                              understands that an otherwise properly completed, executed, and
                              timely returned Ballot failing to indicate either acceptance or
                              rejection of the Plan, or indicating both acceptance and rejection of
                              the Plan, will not be counted.

       3.      Other Instructions for Completing the Ballots:

               a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of
Claim or Interest or an assertion or admission of a Claim or Interest.


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               b.       The Ballot is not a letter of transmittal and may not be used for any purpose
other than to vote to accept or reject the Plan.

               c.      If you cast more than one Ballot voting the same Claim prior to the Voting
Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent and
received by the Solicitation Agent before the Voting Deadline will supersede and revoke any prior
Ballot.

               d.     To the extent you have received two (2) or more duplicative Ballots on
account of the same Claim, please note that each claimant is authorized to submit only one Ballot
on account of such Claim.

               e.       In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall
automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

                f.      There may be changes made to the Plan that do not cause material adverse
effects on an accepting Class. If such non-material changes are made to the Plan, the Debtors will
not resolicit votes for acceptance or rejection of the Plan.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS INCLUDED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT
RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
STATEMENT OR PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST
YOUR BALLOT, OR NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE:             866-907-2721
EMAIL:                 BSAballots@omniagnt.com
ADDRESS:               Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                       5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
WEBSITE:               https://omniagentsolutions.com/BSA




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                          Exhibit 2-4

     Form of Ballot for Class 7 Non-Abuse Litigation Claims
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                             Debtors.


                  BALLOT FOR CLASS 7 (NON-ABUSE LITIGATION CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-BALLOTS.

    IF YOU WOULD PREFER A PAPER OR OTHER FORMAT OF THESE MATERIALS,
    OR IF YOU NEED TO OBTAIN ADDITIONAL SOLICITATION PACKAGES,
    PLEASE CONTACT OMNI AGENT SOLUTIONS (THE “SOLICITATION AGENT”)
    BY (A) CALLING THE DEBTORS’ RESTRUCTURING HOTLINE AT 866-907-2721,
    (B) EMAILING BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS
    OF AMERICA BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE
    SOTO AVENUE, SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING
    AN INQUIRY ON THE DEBTORS’ RESTRUCTURING WEBSITE AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).


    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU


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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 “OPT-OUT” OF SUCH RELEASES. YOU MAY “OPT-OUT” SUCH RELEASES AND
 YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

        Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the ‘‘Debtors”) are soliciting votes from holders of Class 7 Non-Abuse
Litigation Claims on the Amended Fifth Amended Chapter 11 Plan of Reorganization for Boy
Scouts of America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits
thereto, and as may be modified, amended, or supplemented from time to time, the “Plan”), which
is described in greater detail in that certain disclosure statement regarding the Plan, filed on [●],
2021 [D.I. [●]] (together with all schedules and exhibits thereto, and as may be modified, amended,
or supplemented from time to time, the “Disclosure Statement”). Capitalized terms used but not
otherwise defined herein have the meanings ascribed to such terms in the Plan or the Disclosure
Statement, as applicable. On [●], 2021, the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures
Order”) approving the Disclosure Statement as containing adequate information under section
1125 of the Bankruptcy Code and the procedures for soliciting votes to accept or reject the Plan
(the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure Statement does not
indicate approval of the Plan by the Bankruptcy Court.

       You are receiving this Ballot because you are a holder of a Non-Abuse Litigation Claim in
Class 7 against the Debtors as of the Voting Record Date. Accordingly, you have a right to vote
to accept or reject the Plan.

        Your rights are described in the Disclosure Statement for the Plan and the Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        If you vote to accept or reject the Plan, you will be deemed to provide the releases in Article
X.J.4 of the Plan unless you opt out of such releases. You may check the box below to opt out of
the releases in Article X.J.4 of the Plan. Please be advised that the Plan also contains injunction
and exculpation provisions, certain of which are set forth below. If the Plan is confirmed by the
Bankruptcy Court, these sections will be binding on you whether or not you elect to opt out of the
releases in Article X.J.4 of the Plan by this Ballot. For a full description of these provisions, see
Article VI.Q of the Disclosure Statement and Article X of the Plan, which sets forth the terms of
each of these provisions.

       You should carefully review the Plan and Disclosure Statement before you vote. You
may wish to seek legal advice concerning the Plan and the Plan’s classification and treatment
of your Claim. If you hold Claims in more than one Class, you will receive a Ballot for each
Class in which you are entitled to vote.


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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                BEFORE COMPLETING THIS BALLOT.

PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Amount of Your Claim.

     For purposes of voting to accept or reject the Plan, the undersigned hereby certifies that as
the Voting Record Date, the undersigned was the holder (or authorized signatory of such holder)
of a Non-Abuse Litigation Claim in the following aggregate unpaid principal amount, without
regard to any accrued but unpaid interest:


         Debtor: ________________________________________

         Claim Amount:       $________________________________


Item 2. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claim in Class 7 below
(please check one). Any Ballot not marked either to accept or reject the Plan, or marked both to
accept and to reject the Plan, shall not be counted in determining acceptance or rejection of the
Plan.

       Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 3
below.

        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.

         Check only one box:

                         ACCEPT (I.E., VOTE IN FAVOR OF) the Plan

                         REJECT (I.E., VOTE AGAINST) the Plan



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Item 3. Optional Release Election.

      Unless a holder of a Class 7 Claim who votes to accept or reject the Plan opts out of
the Releases by holders of Claims set forth below, such holder shall be deemed to have
consented to the releases contained in Article X.J.4 of the Plan, which provides as follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties2 to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders3 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the

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    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
3
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

        If you voted to accept or reject the Plan in Item 2 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

        The undersigned, as a holder of (or representative of a holder of) a Class 7 Claim, elects
 to:

              Opt out of the third party release in Article X.J.4 of the Plan.


   Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors, the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement,

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and the TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized
BSA, and the Estates shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever release and discharge each and all of the Released
Parties of and from any and all Estate Causes of Action that do not constitute Settlement
Trust Causes of Action, any and all other Claims, Interests, obligations, rights, demands,
suits, judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the Effective Date (including
before the Petition Date) in connection with or related to the Debtors, the Estates, their
respective assets and properties, the Chapter 11 Cases, the subject matter of, or the
transactions or events giving rise to, any Claim or Interest that is treated by the Plan, the
business or contractual arrangements between one or both of the Debtors and any Released
Party, the restructuring of any Claim or Interest that is treated by the Plan before or during
the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’ Committee
Settlement, the Hartford Insurance Settlement, the TCJC Settlement, or any related
agreements, instruments, and other documents created or entered into before or during the
Chapter 11 Cases or the negotiation, formulation, preparation or implementation thereof,
the pursuit of Confirmation, the administration and implementation of the Plan, the
solicitation of votes with respect to the Plan, the Distribution of property under the Plan, or
any other act or omission, transaction, agreement, event, or other occurrence taking place
on or before the Effective Date related or relating to the foregoing. Notwithstanding
anything to the contrary in the foregoing, the releases set forth in Article X.J.1 of the Plan
shall not, and shall not be construed to: (a) release any Released Party from Causes of Action
arising out of, or related to, any act or omission of a Released Party that is a criminal act or
that constitutes fraud, gross negligence or willful misconduct; or (b) release any post-
Effective Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.




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Exculpation.

       From and after the Effective Date, none of the Exculpated Parties4 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, JPM/Creditors’ Committee Settlement, the Hartford Insurance Settlement
Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the pursuit of
Confirmation of the Plan, the administration, consummation and implementation of the Plan
or the property to be Distributed under the Plan, or the management or operation of the
Debtors (except for any liability that results primarily from such Exculpated Party’s gross
negligence, bad faith or willful misconduct). In all respects, each and all such Exculpated
Parties shall be entitled to rely upon the advice of counsel with respect to their duties and
responsibilities under, or in connection with, the matters referenced in the preceding
sentence. Notwithstanding the foregoing or any provision of the Plan to the contrary, Sidley
shall not be an Exculpated Party with respect to any claims that Century Indemnity
Company asserts against Sidley related to Sidley’s representation of the Debtors prior to the
Petition Date.

Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.


4
    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 4. Certifications, Acknowledgment, Signature and Date.

       By signing this Ballot, the holder of the Claim (or authorized signatory of such holder)
acknowledges receipt of the Disclosure Statement, the Plan, and the other applicable solicitation
materials, and certifies that:

       (i)      it has the power and authority to vote to accept or reject the Plan,

       (ii)     it was the holder (or is entitled to vote on behalf of such holder) of the Class 7 Non-
                Abuse Litigation Claim described in Item 1 as of the Voting Record Date,

       (iii)    it has not submitted any other Ballots for other Class 7 Claims, or if it has submitted
                any other Ballots with respect to such Claims, then any such Ballots dated earlier
                are hereby revoked,

       (iv)     it acknowledges that a vote to accept the Plan constitutes an acceptance of the
                treatment of such Entity as a holder of a Class 7 Claim,

       (v)      it understands and, if accepting the Plan, agrees with the treatment provided for its
                Claim(s) under the Plan,

       (vi)     it understands and acknowledges that if multiple Ballots are submitted voting the
                Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
                and received by the Solicitation Agent before the Voting Deadline shall be deemed
                to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
                received by the Solicitation Agent, and




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       (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and every
               obligation of the undersigned hereunder, shall be binding on the transferees,
               successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
               legal representatives of the undersigned, and shall not be affected by, and shall
               survive, the death or incapacity of the undersigned. The undersigned understands
               that an otherwise properly completed, executed, and timely returned Ballot failing
               to indicate either acceptance or rejection of the Plan, or indicating both acceptance
               and rejection of the Plan, will not be counted.


 Print or Type Name of Claimant:          __________________________________________

 Last Four Digits of Social Security
 Number of Claimant:                      __________________________________________

 Signature:                               __________________________________________

 Name of Signatory (if different than
 Claimant):                               __________________________________________

 If by Authorized Agent, Title of
 Agent:                                   __________________________________________

 Street Address:                          __________________________________________

 City, State, Zip Code:                   __________________________________________

 Telephone Number:                        __________________________________________

 Email Address:                           __________________________________________

 Date Completed:                          __________________________________________



       IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
             ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                    YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-ballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as


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applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If
you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                       If by standard or overnight mail or personal delivery:

 https://omniagentsolutions.com/bsa-ballots            Boy Scouts of America Ballot Processing
                                                              c/o Omni Agent Solutions
                                                           5955 De Soto Avenue, Suite 100
                                                             Woodland Hills, CA 91367


        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

             Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform should
NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com,
(c) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’
restructuring website at https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-ballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

        Any admission of Claims for purposes of voting on the Plan is not an admission of liability
on the part of the Debtors or any other party for payment purposes.


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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-ballots.
       1.      Use of Online Ballot Portal – If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your      Ballot   via     the    E-Ballot    Platform,      visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

 IMPORTANT NOTE: You will need the following information to retrieve and submit your
 customized electronic Ballot:
 Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.
       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT also
submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                           Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                 Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Ballots received on or
before the Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

               a.     Item 1 (Amount of the Claim). Please note that, except as otherwise set
forth in the Disclosure Statement and Solicitation Procedures Order, each contingent Claim,
whether liquidated or unliquidated, or a Claim in a wholly-unliquidated, unknown or


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undetermined amount that is not the subject of an objection, will be allowed in the amount
of $1.00 for voting purposes only, and not for distribution, allowance, or any other purpose.
For the avoidance of doubt, all Non-Abuse Litigation Claims in Class 7, including any
Insured Non-Abuse Claim, which have not been fixed pursuant to a judgment or settlement
entered prior to the Voting Record Date, shall be classified as a contingent and unliquidated
Claim as set forth above. Such temporary allowance is only for voting purposes, and shall
not be binding on the holder, the Debtors, or any other party for distribution under the Plan
or any purpose other than voting on the Plan.

                 b.      Item 2 (Vote on the Plan). Cast one vote to accept or reject the Plan by
checking the appropriate box in Item 2. You must vote the entire amount of your Claim either to
accept (i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not split your vote.
Accordingly, any vote within a single Class that attempts partially to accept and partially reject the
Plan will not be counted.

               c.       If you hold Claims in more than one class, you may receive more than one
Ballot or Solicitation Package, labeled for a different class of Claims. Your vote will be counted
in determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

               d.      Item 3 (Releases). Pursuant to Article X of the Plan, the Debtors seek
approval of the release provision set forth in Article X.J.4 of the Plan and provided above. Holders
of Claims that vote to accept or reject the Plan may opt out of this release by checking the box in
Item 3.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A CLASS 7 NON-ABUSE
 LITIGATION CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR REJECT
 THE PLAN YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN
 ARTICLE X.J.4 OF THE PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK THE
 BOX IN ITEM 3 TO OPT OUT OF THE RELEASES.

        e.       Item 4 (Certifications, Acknowledgement, Signature, and Date). Either the
claimant, the claimant’s personal representative, or the claimant’s attorney must sign the Ballot.
If the Ballot is not signed, the vote shown on the Ballot will not be counted.

       f.      Claimants with Social Security Numbers must provide the last four digits of their
Social Security Number in Item 4 of the Ballot.

        g.     The claimant, the claimant’s personal representative, or the claimant’s attorney
must certify certain information on the Ballot. Please read the certifications below and ensure that
the information on the Ballot meets the requirements of those certifications.

          h.      By signing the Ballot, you make the following certifications on information and
belief:



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               (i)     I have the power and authority to vote to accept or reject the Plan,

               (ii)    I was the holder (or am entitled to vote on behalf of such holder) of the
                       Class 7 Non-Abuse Litigation Claim described in Item 1 as of the Voting
                       Record Date,

               (iii)   I have not submitted any other Ballots for other Class 7 Claims, or, if I have
                       submitted any other Ballots with respect to such Claims, then any such
                       Ballots dated earlier are hereby revoked,

               (iv)    I acknowledge that a vote to accept the Plan constitutes an acceptance of the
                       treatment of my Claim as a Class 7 Claim,

               (v)     I understand and, if accepting the Plan, agree with the treatment provided
                       for my Claim(s) under the Plan,

               (vi)    I understand and acknowledge that if multiple Ballots are submitted voting
                       the Claim set forth in Item 1, only the last properly completed Ballot voting
                       the Claim and received by the Solicitation Agent before the Voting Deadline
                       shall be deemed to reflect the voter’s intent and thus to supersede and revoke
                       any prior Ballots received by the Solicitation Agent, and

               (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and
                       every obligation of the undersigned hereunder, shall be binding on the
                       transferees, successors, assigns, heirs, executors, administrators, trustees in
                       bankruptcy, and legal representatives of the undersigned, and shall not be
                       affected by, and shall survive, the death or incapacity of the undersigned.
                       The undersigned understands that an otherwise properly completed,
                       executed, and timely returned Ballot failing to indicate either acceptance or
                       rejection of the Plan, or indicating both acceptance and rejection of the Plan,
                       will not be counted.

       3.      Other Instructions for Completing the Ballots:

        a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of Claim or
Interest or an assertion or admission of a Claim or Interest.

        b.      The Ballot is not a letter of transmittal and may not be used for any purpose other
than to vote to accept or reject the Plan.

        c.     If you cast more than one Ballot voting the same Claim prior to the Voting
Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent and
received by the Solicitation Agent before the Voting Deadline will supersede and revoke any prior
Ballot.




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       d.      To the extent you have received two (2) or more duplicative Ballots on account of
the same Claim, please note that each claimant is authorized to submit only one Ballot on account
of such Claim.

        e.     In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall
automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

        f.      There may be changes made to the Plan that do not cause material adverse effects
on an accepting Class. If such non-material changes are made to the Plan, the Debtors will not
resolicit votes for acceptance or rejection of the Plan.

NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR ADVICE,
OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS CONTAINED IN
THE MATERIALS INCLUDED WITH THIS BALLOT OR OTHER MATERIALS
AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT
RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
STATEMENT OR PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST
YOUR BALLOT, OR NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER
ENCLOSED MATERIALS, PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE:            866-907-2721
EMAIL:                BSAballots@omniagnt.com
ADDRESS:              Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                      5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
WEBSITE:              https://omniagentsolutions.com/BSA




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                           Exhibit 2-5

      Form of Master Ballot for Class 8 Direct Abuse Claims
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                              Debtors.


                        CLASS 8 DIRECT ABUSE CLAIM MASTER BALLOT

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR MASTER BALLOT CAREFULLY BEFORE COMPLETING
    THIS MASTER BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-SABALLOTS.

    YOU HAVE RECEIVED A PAPER FORMAT OF THESE MATERIALS WITH THIS
    SOLICITATION PACKAGE.      IF YOU NEED TO OBTAIN ADDITIONAL
    SOLICITATION PACKAGES, PLEASE CONTACT OMNI AGENT SOLUTIONS
    (THE “SOLICITATION AGENT”) BY (A) CALLING THE DEBTORS’
    RESTRUCTURING      HOTLINE      AT     866-907-2721,  (B)    EMAILING
    BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS OF AMERICA
    BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE SOTO AVENUE,
    SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING AN INQUIRY ON
    THE         DEBTORS’       RESTRUCTURING             WEBSITE       AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS MASTER BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED
    SO AS TO BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00
    P.M. (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).


    IF YOUR ABUSE SURVIVOR CLIENTS (AS DEFINED BELOW) VOTE TO ACCEPT
    OR REJECT THE PLAN, THEY WILL BE RELEASING THE RELEASED PARTIES
    FROM ANY AND ALL CLAIMS/CAUSES OF ACTION TO THE EXTENT PROVIDED
    IN ARTICLE X.J.4 OF THE PLAN UNLESS YOUR ABUSE SURVIVOR CLIENTS
1
     The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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    “OPT OUT” OF THE RELEASES. YOUR CLIENTS MAY “OPT OUT” OF SUCH
    RELEASES AND YOU MUST INDICATE SUCH “OPT-OUT” WITH RESPECT TO
    EACH CLIENT IN YOUR EXHIBIT TO THE MASTER BALLOT.

        Pursuant to this master ballot (this “Master Ballot”), the above-captioned debtors and
debtors-in-possession (together, the “Debtors”) are soliciting votes from holders of Class 8 Direct
Abuse Claims on the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts
of America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits thereto,
and as may be modified, amended, or supplemented from time to time, the “Plan”), which is
described in greater detail in that certain disclosure statement regarding the Plan, filed on [●], 2021
[D.I. [●]] (together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Disclosure Statement”). Capitalized terms used but not
otherwise defined herein have the meanings ascribed to such terms in the Plan or the Disclosure
Statement, as applicable. On [●], 2021, the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures
Order”) approving the Disclosure Statement as containing adequate information under section
1125 of the Bankruptcy Code and the procedures for soliciting votes to accept or reject the Plan
(the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure Statement does not
indicate approval of the Plan by the Bankruptcy Court.

        The Plan provides for the issuance of a “Channeling Injunction” pursuant to section 105(a)
of the Bankruptcy Code, which is a mechanism by which Abuse Claims will be channeled to a
Settlement Trust established pursuant to section 105(a) of the Bankruptcy Code. For a description
of the causes of action to be enjoined and the identities of the Entities that would be subject to
these injunctions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

        The Debtors have compiled a list of all potential Protected Parties and potential Limited
Protected Parties under the Plan, including the identities of all Local Councils, Chartered
Organizations, and Insurance Companies. If the Plan is confirmed, to the extent any such parties
participate, they will be included in the definition of Protected Parties or Limited Protected Parties
and will benefit from the Channeling Injunction. This list of potential Protected Parties and
Limited Protected Parties is available at https://omniagentsolutions.com/bsa-SAballots. This list
only includes potential Protected Parties and Limited Protected Parties—it does not mean
that any such party will in fact become a Protected Party or Limited Protected Party, as
applicable, under the Plan.

      You are receiving this Master Ballot because you represent certain clients (collectively,
your “Abuse Survivor Clients”) that have asserted Claims against the Debtors that arise from
Abuse2 that occurred prior to the Petition Date (as defined in the Plan, a “Direct Abuse Claim”).

2
     “Abuse” means sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, indecent assault
      or battery, rape, pedophilia, ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
      shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts
      or interactions of a sexual nature, including the use of photography, video, or digital media, or other physical
      abuse or bullying or harassment without regard to whether such physical abuse or bullying is of a sexual nature,
      between a child and an adult, between a child and another child, or between a non-consenting adult and another
      adult, in each instance without regard to whether such activity involved explicit force, whether such activity

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Your firm (each, a “Firm”) must certify to one of the options below with respect to submission of
the Master Ballot:

        (a) “Option (a) Certification”: The Firm shall distribute (as required by the Solicitation
            Procedures) the Solicitation Package (without a Ballot) to each of its Abuse Survivor
            Clients and ask each client to provide his or her affirmative vote to accept or reject the
            Plan (along with any other responsive election to be reflected on the Exhibit to the
            Master Ballot) and the Firm shall record the affirmative responses on the Master Ballot
            and reflect that the vote and other responses were collected by means of an Option (a)
            Certification. For the avoidance of doubt, a Firm may not rely on providing any of its
            Abuse Survivor Clients negative notice when completing the Master Ballot on behalf
            of any Abuse Survivor Client if such client did not affirmatively respond with an
            express answer for each applicable election. Each Firm shall collect the responses
            through customary and accepted practices (including telephone, email, and other
            standard communication methods) from each Abuse Survivor Client; provided,
            however, if an Abuse Survivor Client provides his or her responses orally or via
            telephone, the Firm shall contemporaneously maintain a record of the responses of the
            Firm’s Abuse Survivor Clients; or

        (b) “Option (b) Certification”: If the Firm has the authority under a power of attorney to
            vote to accept or reject the Plan (in addition to the other elections under the Master
            Ballot) on behalf of its Abuse Survivor Clients, the Firm shall complete the Master
            Ballot in accordance with the power granted to the Firm and reflect that the vote and
            other elections were collected by means of an Option (b) Certification. For any Abuse
            Survivor Clients whose elections on the Master Ballot were completed by utilizing the
            Option (b) Certification, the Firm shall supply the power(s) of attorney concurrently
            with the Master Ballot and Exhibit that provided the Firm with the authorization to act
            on behalf of such Abuse Survivor Client(s).

          In addition to the foregoing certification, you must also file a verified statement with the
Court pursuant to Bankruptcy Rule 2019 prior to or concurrently with the submission of its Master
Ballot containing the following (each, a “Rule 2019 Statement”): i) the facts and circumstances
concerning the Firm’s representation of Abuse Survivor Clients in these chapter 11 cases; (ii) a
list of the names, addresses, and claim numbers of all Abuse Survivor Clients that the such Firm
represents; (iii) an exemplar of the engagement letter used to engage the Abuse Survivor Clients.
The Firm may redact pricing, compensation amounts or percentages, and personal identifying
information of holders of Direct Abuse Claims.3 You must submit a copy of the Rule 2019




    involved genital or other physical contact, and whether there is or was any associated physical, psychological, or
    emotional harm to the child or non-consenting adult.
3
    For the avoidance of doubt, personal identifying information related to holders of Direct Abuse Claims on such
    Rule 2019 Statement shall be filed under seal in accordance with the Final Order (I) Authorizing Debtors to File
    (A) a Consolidated List of Counsel Representing the Largest Numbers of Abuse Victims and (B) a Consolidated
    List of Other Unsecured Creditors of the Debtors, (II) Authorizing and Approving Special Noticing and
    Confidentiality Procedures, and (III) Granting Related Relief [D.I. 274] and the Bar Date Order; provided that
    copies of such information shall be made available to “Permitted Parties” as defined in the Bar Date Order.

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Statement with unredacted personal identifying information with your Master Ballot and Exhibit
submission to the Solicitation Agent.

       To use this Master Ballot, you must meet all applicable standards to receive informed
consent from your Abuse Survivor Clients. In addition, you must provide the Solicitation
Package materials (excluding a ballot) in hard copy, flash drive, or electronic format, to your Abuse
Survivor Clients.

        The rights of holders of Direct Abuse Claims in Class 8 are described in the Disclosure
Statement for the Plan and the Solicitation Procedures Order. This Master Ballot may not be
used for any purpose other than for casting votes to accept or reject the Plan and making
certain certifications with respect to the Plan. If you believe you have received this Master
Ballot in error, or if you believe that you have received the wrong Master Ballot, you must
contact the Solicitation Agent immediately via the contact information set forth herein.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on your Abuse
Survivor Clients whether or not you vote or if you vote to reject the Plan. To have your
clients’ votes counted, you must complete, sign, and return this Master Ballot and the Exhibit
provided to you with the Master Ballot to the Solicitation Agent by the Voting Deadline.

        If your Abuse Survivor Clients vote to accept or reject the Plan, they will deemed to provide
the releases in Article X.J.4 of Plan and as set forth below unless they opt out of such releases. In
accordance with the Option (a) Certification or Option (b) Certification, you may make the
selection on your Exhibit to opt out of the releases in Article X.J.4 of the Plan. Please be advised
that the Plan also contains injunction and exculpation provisions, certain of which are set forth
below. If the Plan is confirmed by the Bankruptcy Court, these sections will be binding on your
Abuse Survivor Clients whether or not you elect to opt out of the releases in Article X.J.4 of the
Plan by this Master Ballot. For a full description of these provisions, see Article VI.Q of the
Disclosure Statement and Article X of the Plan, which sets forth the terms of each of these
provisions.

       You should carefully review the Disclosure Statement and the Plan, including the
Plan’s injunction, exculpation, and release provisions, and inform your Abuse Survivor
Clients of such provisions as the rights of your Abuse Survivor Clients may be affected
thereunder.


                          [Remainder of Page Intentionally Left Blank]




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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
       BEFORE COMPLETING THIS MASTER BALLOT AND EXHIBIT.
PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 3. IF THIS MASTER BALLOT HAS
NOT BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT
BE VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Voting Summary.

        Please note that each holder of a Direct Abuse Claim who votes must vote the entire amount
of his or her claim to accept or reject the Plan. Any holder of a Direct Abuse Claim who attempts
partially to reject and partially to accept the Plan will not have their vote counted. If this Master
Ballot is signed and timely received by the Solicitation Agent, but does not designate either
acceptance or rejection or designates both acceptance and rejection of the Plan for any particular
Direct Abuse Claim, such vote will not be counted either as an acceptance or rejection of the Plan.
After you complete the voting summary below, you must complete the Exhibit accompanying this
Master Ballot and discussed in Item 2 below for each of your Abuse Survivor Clients for your
clients’ votes to be counted.

 Please mark only one of the boxes below:

         All claimants listed on the Exhibit (as defined below) accompanying this Master Ballot
         ACCEPT (vote in favor of) the Plan.

         All claimants listed on the Exhibit accompanying this Master Ballot REJECT (vote
         against) the Plan.

         Some of the claimants listed on the Exhibit accompanying this Master Ballot ACCEPT
         (vote in favor of) the Plan, while other claimants listed on the Exhibit accompanying this
         Master Ballot REJECT (vote against) the Plan.


Item 2. Exhibit Listing Holders of Direct Abuse Claims Represented by Attorney for
Recording Votes on the Plan.

         You should have received with this Master Ballot an exhibit on a USB drive containing an
electronic client list in Excel format of each holder of a Direct Abuse Claim whom you represent
(the “Exhibit”), which list is formatted as follows below. The Exhibit lists for each claimant:
(a) the last name of the claimant; (b) the first name of the claimant; (c) the last 4 digits of the Social
Security Number of the claimant (if the claimant does not have a Social Security Number, it will
not be listed); and (d) the claimant’s date of birth. Additionally, you must fill out for each claimant:

        (e)     whether the claimant votes to ACCEPT (vote in favor of) or to REJECT (vote
                against) the Plan;

        (f)     if the claimant votes to accept or reject the Plan, whether the claimant opts out of
                the releases contained in Article X.J.4 of the Plan;

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             (g)      whether the Firm is recording the vote of each Abuse Survivor Client via the Option
                      (a) Certification or the Option (b) Certification described and defined above; and

             (h)      the service method that the Firm has used to transmit the Solicitation Package
                      materials (excluding a ballot) in hard copy, flash drive, or electronic format.

 The Exhibit will appear in the following format:
                                                                                     Opts Out of
                                                                 Vote to ACCEPT
                                                                                      Release in                       Method of
                                    Claimant’s      Claimant’s   / in Favor of OR                        Type of
Claimant’s    Claimant’s    Claim                                                   Article X.J.4 of                    Service of
                                    SSN (last 4      Date of     Vote to REJECT                        Authority for
Last Name     First Name   Number                                                    Plan – Leave                      Solicitation
                                      digits)         Birth         / Against the                         Vote
                                                                                     Blank if Not                      Documents
                                                                        Plan
                                                                                     Opting Out




 Please note that you must use the Exhibit accompanying your Master Ballot to record the
 votes of your Abuse Survivors Clients, and you must submit the Exhibit together with the
 Master Ballot. You must also file with the Court a Rule 2019 Statement on or before the
 date of submission of your Master Ballot. If you do not complete the Exhibit provided to you
 with your Master Ballot and submit it together with your Master Ballot and if you do not file
 the Rule 2019 Statement, your clients’ votes may not be counted.

 Please note the following regarding the releases contained in the Plan:

             (i)      Opting out of giving the releases in Article X.J.4 of the Plan on behalf of any holder
                      of a Direct Abuse Claim will not affect the distribution to be received by that holder
                      under the Plan.

             (ii)     If a holder of a Direct Abuse Claim votes to accept or to reject the Plan and wishes
                      to opt out of giving the releases provided in Article X.J.4 of the Plan, the opt out
                      selection in the Exhibit must be made for such holder, and the completed Master
                      Ballot returned to the Solicitation Agent so as to be received by the Voting
                      Deadline.

             (iii)    If the Plan becomes effective, holders of Direct Abuse Claims under the Plan who
                      vote to accept or reject the Plan will be deemed to provide the releases contained in
                      Article X.J.4 of the Plan, unless the opt out has been selected for your Abuse
                      Survivor Client.

 Article X.J.4 of the Plan—Releases by Holders of Claims.

        As of the Effective Date, except for the rights that remain in effect from and after the
 Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
 consideration, the adequacy of which is hereby confirmed, including the service of the
 Released Parties4 to facilitate and implement the reorganization of the Debtors and the

 4
     “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
      such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
      (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
      the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’

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settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders5 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect

     Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
     Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
     Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
     capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
     provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
     “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
5
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not opt
     out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept the
     Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of the
     Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of the
     releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
     subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
     employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
     consultants, representatives, management companies, and other professionals, and all such Persons’ respective
     heirs, executors, estates, servants and nominees, in their respective capacities as such.

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the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

Article X.J.5 of the Plan—Releases Relating to Contributing Chartered Organizations.

       a.      In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Contributing
Chartered Organizations,6 including TCJC, shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge the
Debtors, Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the other
Protected Parties,7 the Limited Protected Parties,8 the Settling Insurance Companies,
including Hartford, the Future Claimants’ Representative, the Coalition, the Settlement
Trust, and each of its and their respective Representatives (collectively, the “Settlement
Parties”), of and from any and all Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever

6
    “Contributing Chartered Organizations” means the current or former Chartered Organizations listed on Exhibit D
    to the Plan, including any Chartered Organization made a Protected Party under a Post-Effective Date Chartered
    Organization Settlement approved by the Bankruptcy Court in accordance with Article IV.I of the Plan. No
    Participating Chartered Organization shall be considered a Contributing Chartered Organization based solely on
    the Participating Chartered Organization Insurance Assignment. Without limiting the foregoing, subject to
    Confirmation of the Plan and approval of the TCJC Settlement Agreement by an order of the Bankruptcy Court
    (including in the Confirmation Order), TCJC is a Contributing Chartered Organization and shall be designated as
    such in the Confirmation Order and the Affirmation Order.
7
    “Protected Parties” means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
    Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations; (f) the Settling Insurance
    Companies, including Hartford; and (g) all of such Persons’ Representatives; provided, however, that no
    Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a Contributing Chartered Organization
    shall be a Protected Party with respect to Abuse Claims only as set forth in the definition of “Abuse Claim.”
8
    “Limited Protected Parties” means the Participating Chartered Organizations, which means a Chartered
    Organization that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in writing on or
    before the confirmation objection deadline that it does not wish to make the Participating Chartered Organization
    Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered Organization that is a debtor
    in bankruptcy as of the Confirmation Date, such Chartered Organization shall be a Participating Chartered
    Organization only if it advises Debtors’ counsel in writing that it wishes to make the Participating Chartered
    Organization Insurance Assignment, and, for the avoidance of doubt, absent such written advisement, none of
    such Chartered Organization’s rights to or under the Abuse Insurance Policies shall be subject to the Participating
    Chartered Organization Insurance Assignment. A list of Chartered Organizations that are not Participating
    Chartered Organizations is attached to the Plan as Exhibit K.

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(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the date that the Confirmation
Order and Affirmation Order become Final Orders (including before the Petition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
(iv) any Claims that were or could have been asserted by the Contributing Chartered
Organizations against the Settlement Parties or any of them.

        b.     In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Settlement Parties
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each of the Contributing Chartered
Organizations, including TCJC, of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of any
nature whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, contract, tort or otherwise, based on or relating to, or in any manner arising
from, in whole or in part, any act, omission, transaction, event, or other circumstance taking
place or existing on or before the date that the Confirmation Order and Affirmation Order
become Final Orders (including before the Petition Date) in connection with or related to (i)
Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or could
have been asserted by the Settlement Parties against the Contributing Chartered
Organizations or any of them.


   Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Article X.F of the Plan—Channeling Injunction.

Channeling Injunction.

        Terms. To preserve and promote the settlements contemplated by and provided for
in the Plan, including the Abuse Claims Settlement, the Hartford Insurance Settlement, and
the TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as described in
Article X of the Plan, pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, (a)
the sole recourse of any holder of an Abuse Claim against a Protected Party on account of
such Abuse Claim shall be to and against the Settlement Trust pursuant to the Settlement




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Trust Documents,9 and such holder shall have no right whatsoever at any time to assert such
Abuse Claim against any Protected Party or any property or interest in property of any
Protected Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
Organization Abuse Claim against a Limited Protected Party on account of such Post-1975
Chartered Organization Abuse Claim shall be to and against the Settlement Trust pursuant
to the Settlement Trust Documents, and such holder shall have no right whatsoever at any
time to assert such Post-1975 Chartered Organization Abuse Claim against any Limited
Protected Party or any property or interest in property of any Limited Protected Party. On
and after the Effective Date, all Persons that have held or asserted, currently hold or assert,
or that may in the future hold or assert, any Abuse Claim against the Protected Parties, or
any of them, or any Post-1975 Chartered Organization Abuse Claim against the Limited
Protected Parties, or any of them, shall be permanently and forever stayed, restrained and
enjoined from taking any action for the purpose of directly, indirectly, or derivatively
collecting, recovering, or receiving payment, satisfaction, or recovery from any Protected
Party with respect to any such Abuse Claim or from any Limited Protected Party with
respect to any such Post-1975 Chartered Organization Abuse Claim, other than from the
Settlement Trust pursuant to the Settlement Trust Documents, including:

               c.       commencing, conducting, or continuing, in any manner, whether
        directly, indirectly, or derivatively, any suit, action, or other proceeding of any kind
        (including a judicial, arbitration, administrative, or other proceeding) in any forum in
        any jurisdiction around the world against or affecting any Protected Party or Limited
        Protected Party or any property or interest in property of any Protected Party or
        Limited Protected Party;

                 d.     enforcing, levying, attaching (including any prejudgment attachment),
         collecting or otherwise recovering, by any manner or means, either directly or
         indirectly, any judgment, award, decree, or order against or affecting any Protected
         Party or Limited Protected Party or any property or interest in property of any
         Protected Party or Limited Protected Party;

                e.      creating, perfecting, or otherwise enforcing in any manner, whether
         directly or indirectly, any Encumbrance of any kind against any Protected Party or
         Limited Protected Party or any property or interest in property of any Protected
         Party or Limited Protected Party;

                f.     asserting, implementing or effectuating any setoff, right of
         reimbursement, subrogation, indemnity, contribution, reimbursement, or
         recoupment of any kind, in any manner, directly or indirectly, against any obligation
         due to any Protected Party or Limited Protected Party or any property or interest in
         property of any Protected Party or Limited Protected Party; or


9
    “Settlement Trust Documents” means, collectively, (a) the Settlement Trust Agreement, (b) the Trust Distribution
     Procedures, (c) the Document Agreement, (d) the Confirmation Order, and (e) any other agreements, instruments
     and documents governing the establishment, administration and operation of the Settlement Trust, which shall be
     substantially in the forms set forth as exhibits in the Plan or in the Plan Supplement, as the same may be amended
     or modified from time to time in accordance with the terms thereof.

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             g.     taking any act in any manner, and in any place whatsoever, that does
      not conform to, or comply with, the provisions of the Plan Documents or the
      Settlement Trust Documents or with regard to any matter that is within the scope of
      the matters designated by the Plan to be subject to resolution by the Settlement Trust,
      except in conformity and compliance with the Settlement Trust Documents with
      respect to any such Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

      Reservations. Notwithstanding anything to the contrary in Article X.F of the Plan,
the Channeling Injunction shall not enjoin:

             a.     the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the Settlement
      Trust in accordance with the Trust Distribution Procedures, including the ability to
      pursue the Settlement Trust in the tort system as described in Article XII of the Trust
      Distribution Procedures;

             b.    the rights of holders of Abuse Claims to assert such Abuse Claims
      against anyone other than a Protected Party or, in the case of Post-1975 Chartered
      Organization Abuse Claims, against anyone other than a Limited Protected Party;

            c.      prior to the date that an Entity (other than an Insurance Company)
      becomes a Protected Party under Article IV.I of the Plan, the right of holders of Abuse
      Claims to assert such Abuse Claims against such Entity;

              d.   prior to the date that a Chartered Organization becomes a Limited
      Protected Party under Article IV.J of the Plan, the right of holders of Post-1975
      Chartered Organization Abuse Claims to assert such Abuse Claims against such
      Entity;

             e.     the rights of holders of Abuse Claims that are not Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims against any Limited
      Protected Party (unless such Limited Protected Party becomes a Protected Party
      under Article IV.I of the Plan);

            f.     the right of any Person to assert any Claim, debt, obligation or liability
      for payment of Settlement Trust Expenses solely against the Settlement Trust in
      accordance with the Settlement Trust Documents;

             g.    the Settlement Trust from enforcing its rights under the Plan and the
      Settlement Trust Documents; or

             h.     the rights of the Settlement Trust to prosecute any action against any
      Non-Settling Insurance Company based on or arising from Abuse Insurance Policies
      that are not the subject of an Insurance Settlement Agreement, subject to any
      Insurance Coverage Defenses




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Article X.J.1 of the Plan—Releases by the Debtors and the Estates.

        Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and

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forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.

Article X.J.3 of the Plan—Releases by Holders of Abuse Claims.

       As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, pursuant to section 1123(b)
of the Bankruptcy Code, for good and valuable consideration, the adequacy of which is
hereby confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an integral
component of the Plan, and except as otherwise expressly provided in the Plan or the
Confirmation Order, to the maximum extent permitted under applicable law, as such law
may be extended subsequent to the Effective Date, all holders of Abuse Claims shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever discharge and release: (a) each and all of the Protected Parties and their respective
property and successors and assigns of and from all Abuse Claims and any and all Claims
and Causes of Action whatsoever, whether known or unknown, asserted or unasserted,
derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of liability,
successor liability, contribution, indemnification, joint liability, or otherwise, arising from or
related in any way to such Abuse Claims; and (b) each and all of the Limited Protected
Parties and their respective property and successors and assigns of and from all Post-1975
Chartered Organization Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any way
to such Post-1975 Chartered Organization Abuse Claims; provided, however, that the
releases set forth in Article X.J.3 of the Plan shall not, and shall not be construed to: (i)
release any Protected Party or Limited Protected Party from Causes of Action arising out
of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (ii) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (iii) modify, reduce, impair or otherwise affect
the ability of any holder of an Abuse Claim to recover on account of such Claim in
accordance with Article III. B.10 or Article III.B.11 of the Plan, as applicable.

Article X.K of the Plan—Exculpation.

       From and after the Effective Date, none of the Exculpated Parties10 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,

10
     “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
     Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
     Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
     Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
     and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11

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transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Article X.L of the Plan—Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.

       Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any


   Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
   financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.

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prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 3. Certifications and Acknowledgment.

By signing this Master Ballot, the undersigned certifies under penalty of perjury that each of the
following statements is true and correct:

         (i)      I have been provided with a copy of the Disclosure Statement, including the Plan
                  and all other exhibits thereto, and the Solicitation Package materials;

         (ii)     I certify by either the Option (a) Certification or the Option (b) Certification that
                  each of the claimants set forth on the accompanying Exhibit is represented by me;

         (iii)    I have met all applicable standards to receive informed consent from each of my
                  Abuse Survivor Clients with respect to each such client’s vote and the release
                  election on this Master Ballot.

         (iv)     I have conducted the diligence11 necessary to form a reasonable belief that each of
                  my Abuse Survivor Clients set forth on the Exhibit is a holder of a Class 8 Direct
                  Abuse Claim as of the Voting Record Date.

         (v)      I acknowledge that a vote to accept the Plan constitutes acceptance of the treatment
                  of each Abuse Survivor Client as a holder of a Direct Abuse Claim.

         (vi)     I understand that, if accepting the Plan on behalf of one of my Abuse Survivor
                  Clients, my client agrees with the treatment provided for his or her Claim under the
                  Plan.

         (vii)    I have provided the Solicitation Package materials (excluding a ballot) in a timely
                  manner in the form (hard copy, flash drive, or electronic format) to my Abuse
                  Survivor Clients in the form that my Abuse Survivor Clients have requested.

         (viii) I further acknowledge that the solicitation of votes is subject to all terms and
                conditions set forth in the Disclosure Statement, the Solicitation Procedures Order,
                and the Solicitation Procedures contained therein.


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     For the avoidance of doubt, a Firm’s knowledge of a timely filed Sexual Abuse Survivor Proof of Claim that has
     not been withdrawn shall constitute the requisite diligence necessary to form a reasonable belief that an Abuse
     Survivor Client is the holder of a Class 8 Direct Abuse Claim as of the Voting Record Date.

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 Print or Type Name of Attorney:           __________________________________________

 Name of Law Firm:                         __________________________________________

 Attorney Signature:                       __________________________________________

 Street Address:                           __________________________________________

 City, State, Zip Code:                    __________________________________________

 Telephone Number:                         __________________________________________

 Email Address:                            __________________________________________

 Date Completed:                           __________________________________________


IF THIS MASTER BALLOT AND ACCOMPANYING EXHIBIT ARE NOT RECEIVED
BY THE SOLICITATION AGENT ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN
               TIME), YOUR VOTE WILL NOT BE COUNTED.

        Master Ballots (together with the Exhibit provided by the Solicitation Agent) must be
delivered to the Solicitation Agent (a) via the electronic Ballot submission platform on the
Solicitation    Agent’s      website     (the     “E-Ballot     Platform”)      by    visiting
https://omniagentsolutions.com/bsa-SAballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as
applicable. You are highly encouraged to submit your Master Ballot and Exhibit via the E-
Ballot Platform. If you choose to submit your Master Ballot and Exhibit via the E-Ballot
Platform, you should NOT submit a hard copy Master Ballot or Exhibit. Please choose only
one method for returning your Master Ballot and Exhibit.

 If by E-Ballot Platform:                        If by standard or overnight mail or personal delivery:

  https://omniagentsolutions.com/bsa-SAballots          Boy Scouts of America Ballot Processing
                                                               c/o Omni Agent Solutions
                                                            5955 De Soto Avenue, Suite 100
                                                              Woodland Hills, CA 91367

       Exhibits may only be submitted in Excel format via the E-Ballot Platform or, if the
Master Ballot is being mailed, by USB drive—they may not be printed out and submitted in
hard copy format. Votes provided on any Exhibit submitted in a format other than the Excel
Exhibit provided by the Solicitation Agent shall not be counted.




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        To submit your Master Ballot and Exhibit via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-SAballots and follow the instructions to submit your
Master Ballot.

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Master Ballots and
Exhibits will be accepted via electronic or online transmission. Master Ballots and Exhibits
submitted by facsimile, email or other means of electronic transmission will not be counted.
Attorneys who submit a Master Ballot and Exhibit using the E-Ballot Platform should NOT also
submit a paper Master Ballot and Exhibit.

       If you have received this Master Ballot but would like your Abuse Survivor Clients to
individually submit a Ballot to vote to accept or reject the Plan, or if you have any other questions
about this Master Ballot or did not receive access to a copy of the Plan or any related materials,
please contact the Solicitation Agent by (a) calling the Debtors’ toll-free restructuring hotline at
866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America
Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills,
CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring website at
https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-SAballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

       Any admission of Direct Abuse Claims for purposes of voting on the Plan is not an
admission of liability on the part of the Debtors or any other party for payment purposes.




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             INSTRUCTIONS FOR COMPLETING YOUR MASTER BALLOT
        To properly complete this Master Ballot, you must follow the procedures described below,
which explain each of the items contained on your Master Ballot. If you have any questions, please
contact the Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-SAballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:

        The Solicitation Agent will accept Master Ballots if properly completed through the E-
Ballot Platform and submitted with your Exhibit, which must be completed and submitted in Excel
format using the Exhibit accompanying your Master Ballot. You are highly encouraged to submit
your Master Ballot and Exhibit via the E-Ballot Platform. To submit your Master Ballot and
Exhibit via the E-Ballot Platform, visit https://omniagentsolutions.com/bsa-SAballots and follow
the instructions to submit your Master Ballot.
       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Master Ballots and
Exhibits will be accepted via online or electronic submission. Master Ballots and Exhibits
submitted by facsimile, email or other means of electronic transmission will not be counted.
Firms that submit a Master Ballot and Exhibit using the E-Ballot Platform should NOT also submit
a paper Master Ballot or paper Exhibit.
      Use of Hard Copy Master Ballot—If Submitting Your Vote Through Standard or
Overnight Mail or Personal Delivery:
       Submit your completed and signed Master Ballot and your completed Exhibit in Excel
format on a USB drive by mail using the pre-addressed envelope included in the Solicitation
Package, or by hand delivery or overnight courier to:

                            Boy Scouts of America Ballot Processing
                                  c/o Omni Agent Solutions
                               5955 De Soto Avenue, Suite 100
                                  Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Master Ballots and
Exhibits received on or before the Voting Deadline, provided that a Rule 2019 Statement has
been filed with the Court on or before the date of submission of the Master Ballot and
Exhibit. Please submit your Master Ballot together with your Exhibit and a copy of your
Rule 2019 Statement to the Solicitation Agent, and do not submit them separately.

       2.      To fill out your Master Ballot, you must complete the following:

              a.      Item 1 (Voting Summary). Item 1 of the Master Ballot asks you to indicate
how many holders of Direct Abuse Claims listed on the Exhibit accept or reject the Plan. If all of
your Abuse Survivor Clients have authorized you to ACCEPT / vote in favor of the Plan, please
check the box indicating the same. If all of your Abuse Survivor Clients have authorized you to
REJECT / vote against the Plan, please check the box indicating the same. If some of your Abuse
Survivor Clients have authorized you to ACCEPT / vote in favor of the Plan, while others have

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authorized you to REJECT / vote against the Plan, please check the box indicating the same, and
in all instances be certain to specify on the Exhibit which clients have accepted the Plan and which
clients have rejected the Plan. Please note that the Solicitation Agent will review the Exhibit
to collect and record the individual votes of each of your Abuse Survivor Clients regardless
of your answer in Item 1, and you must submit the Exhibit in Excel format as provided to
you with this Master Ballot in order for your clients’ votes to be counted. In the event there
is a discrepancy between your response to Item 1 and the individual votes of any of the Abuse
Survivor Clients included in the Exhibit, the individual vote reflected on the Exhibit will govern
and will supersede your response in Item 1.

              b.     Item 2 (List of Holders of Direct Abuse Claims Represented by
Attorney). Item 2 of the Master Ballot requires that you complete and submit the Exhibit to the
Master Ballot in Excel format as provided to you on a USB drive accompanying your Master
Ballot. The Exhibit shall list, for each Abuse Survivor Client represented by your Firm and on
whose behalf you are voting on the Plan:
                       (1)    the last name of the claimant;
                       (2)    the first name of the claimant;
                       (3)    the last 4 digits of the Social Security Number of the claimant (if the
                              claimant does not have a Social Security Number, this field may be
                              blank);
                       (4)    the claimant’s date of birth;
You will not be able to modify these fields of the Exhibit. Using the drop-down boxes, you will
need to complete the following fields for each Abuse Survivor Client represented by your Firm:
                       (5)    whether the claimant votes to ACCEPT (vote in favor of) or to
                              REJECT (vote against) the Plan;
                       (6)    whether the claimant opts out of the releases contained in Article
                              X.J.4 of the Plan;
                       (7)    whether the Firm is recording the vote of each Abuse Survivor
                              Client via the Option (a) Certification or the Option (b) Certification
                              described above; and
                       (8)    the service method that the Firm has used to transmit the Solicitation
                              Package materials (excluding a ballot) (hard copy, flash drive, or
                              electronic format).
The Exhibit must be submitted in the format set forth above and may not be modified.
                c.      Pursuant to Article X of the Plan, the Debtors seek approval of the release
provision set forth in Article X.J.4 of the Plan and provided above. You may opt out of giving this
release on behalf of your Abuse Survivor Clients who vote to accept or reject the Plan by making
this election on the Exhibit.




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 IF THE PLAN BECOMES EFFECTIVE, HOLDERS OF DIRECT ABUSE CLAIMS
 UNDER THE PLAN WHO VOTE TO ACCEPT OR REJECT THE PLAN ARE
 DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE X.J.4 OF THE
 PLAN, AS SET FORTH ABOVE, UNLESS YOU OPT OUT ON BEHALF OF A
 HOLDER. YOU MAY OPT OUT OF THE RELEASES ON BEHALF OF A HOLDER
 BY STATING SO IN THE EXHIBIT.

                 d.     Item 3 (Certifications and Acknowledgements). Item 3 contains certain
certifications, to be completed by the attorney preparing and signing the Master Ballot, pursuant
to which such attorney shall certify under penalty of perjury that he or she has the authority under
applicable law to vote to accept or reject the Plan on behalf of the holders of Direct Abuse Claims
who are listed on the Exhibit to the Master Ballot. Please ensure that you have read and understood
the certifications before signing the Master Ballot. If you are unable to make such certifications
on behalf of any holder of a Direct Abuse Claim under penalty of perjury, you may not cast a vote
on behalf of such holder and must timely send the information regarding the name, claim, and
address of such holder to the Solicitation Agent so that such holders may be directly solicited for
their vote on the Plan.

               e.      If the Master Ballot is not signed, the vote(s) shown on the Master Ballot
will not be counted.

       3.      Other Instructions for Completing Master Ballots:

              a.      Holders of Direct Abuse Claims must vote the full amount of their Claims
to ACCEPT (vote in favor of) or to REJECT (vote against) the Plan. A holder of a Direct Abuse
Claim may not split his or her vote. Accordingly, the vote of any holder of a Direct Abuse Claim
who purports partially to accept and partially to reject the Plan will not be counted.

               b.     Please note that, except as otherwise set forth in the Disclosure
Statement and Solicitation Procedures Order, each Direct Abuse Claim in Class 8 has been
allowed in the amount of $1.00 solely for voting purposes, and shall not be binding upon the
holder of the Direct Abuse Claim, the Debtors, the Settlement Trust, the Firms, or any other
party for any purpose other than voting on the Plan.

               c.       This Master Ballot is to be used by Firms who represent, and are authorized
to vote on behalf of, one or more holders of Direct Abuse Claims. You may be required to provide
evidence of your authorization by holders of Direct Abuse Claims to vote to accept or reject the
Plan. Each Firm submitting a Master Ballot must file a Rule 2019 Statement with the Court prior
to or concurrently with the submission of your Master Ballot, and must also submit a copy of the
Rule 2019 Statement to the Solicitation Agent with its submission of the Master Ballot and Exhibit.
Abuse Survivor Client information shall be filed under seal in accordance with the Notice and
Confidentiality Procedures Order and the Bar Date Order; provided that copies of such information
shall be made available to “Permitted Parties” as defined in the Bar Date Order.

               d.      Each Firm submitting a Master Ballot under the Option (b) Certification
must submit a valid power of attorney to the Solicitation Agent concurrently with its submission
of the Master Ballot and Exhibit.

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               e.     If a Ballot is received directly from the holder of a Direct Abuse Claim and
a Master Ballot is received from a Firm on account of the same Direct Abuse Claim, the Ballot
returned by holder of such Claim by the Voting Deadline shall supersede any Master Ballot with
respect to such Claim and such Master Ballot shall not be counted.

               f.      The Master Ballot may not be used for any purpose other than to transmit
votes on the Plan.

               g.      Multiple Master Ballots may be completed and delivered to the Solicitation
Agent. Subject to the terms of the Solicitation Procedures, votes reflected by multiple Master
Ballots shall be counted except to the extent that they are duplicative of other Master Ballots. If
two or more such ballots are inconsistent, the last-dated Master Ballot received before the Voting
Deadline will, to the extent of such inconsistency, govern unless otherwise ordered by the
Bankruptcy Court. Notwithstanding the foregoing, if two or more Master Ballots are received
from separate counsel on or before the Voting Deadline, each of whom purports to represent the
same holder of a Direct Abuse Claim and the votes conflict, the Debtors shall reach out to both
Firms, with notice of such communication to counsel to the Tort Claimants’ Committee and the
Coalition of Abused Scouts for Justice, and request written documentation of each attorney’s
representation of such holder in order to resolve the conflict. If representation of the holder of the
Direct Abuse Claim is not resolved within ten (10) days from the notice of the conflict as provided
by the Debtors, such votes shall not be counted.

                h.      If the Master Ballot and Exhibit are signed and timely sent to the Solicitation
Agent, but do not designate either acceptance or rejection, or designate both acceptance and
rejection, of the Plan for any particular Direct Abuse Claim listed on the Exhibit accompanying
the Master Ballot, then the Solicitation Agent may, at its discretion, contact the party submitting
the Master Ballot in order to cure the defect on the Master Ballot or such Claim will not be counted
either as an acceptance or rejection of the Plan.

 NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
 ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
 CONTAINED IN THE MATERIALS MAILED WITH THIS MASTER BALLOT OR
 OTHER MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.
 IF YOU HAVE ANY QUESTIONS REGARDING THE MASTER BALLOT, DID NOT
 RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
 STATEMENT OR PLAN, RECEIVED A DAMAGED MASTER BALLOT OR HAVE
 LOST YOUR MASTER BALLOT, OR NEED ADDITIONAL COPIES OF THE
 MASTER BALLOT OR OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE
 SOLICITATION AGENT AT:
 TELEPHONE:             866-907-2721
 EMAIL:                 BSAballots@omniagnt.com
 ADDRESS:               Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                        5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
 WEBSITE:               https://omniagentsolutions.com/BSA

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NOTHING CONTAINED HEREIN OR IN THE SOLICITATION PACKAGES SHALL
RENDER YOU OR ANY OTHER PERSON THE AGENT OF THE DEBTORS OR THE
SOLICITATION AGENT, OR AUTHORIZE YOU OR ANY OTHER PERSON TO USE
ANY DOCUMENT OR MAKE ANY STATEMENTS ON BEHALF OF THE DEBTORS
OR THE SOLICITATION AGENT WITH RESPECT TO THE PLAN, EXCEPT FOR
THE STATEMENTS CONTAINED IN THE SOLICITATION PACKAGES.




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                            Exhibit 2-6

     Form of Individual Ballot for Class 8 Direct Abuse Claims
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.


                         BALLOT FOR CLASS 8 (DIRECT ABUSE CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-SABALLOTS.

    YOU HAVE RECEIVED A PAPER FORMAT OF THESE MATERIALS WITH THIS
    SOLICITATION PACKAGE. IF YOU NEED TO OBTAIN ADDITIONAL
    SOLICITATION PACKAGES, PLEASE CONTACT OMNI AGENT SOLUTIONS
    (THE “SOLICITATION AGENT”) BY (A) CALLING THE DEBTORS’
    RESTRUCTURING      HOTLINE      AT     866-907-2721,  (B)    EMAILING
    BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS OF AMERICA
    BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE SOTO AVENUE,
    SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING AN INQUIRY ON
    THE         DEBTORS’       RESTRUCTURING             WEBSITE       AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).

    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU


1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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    “OPT-OUT” OF SUCH RELEASES. YOU MAY “OPT-OUT” OF SUCH RELEASES
    AND YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

        Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the “Debtors”) are soliciting votes from holders of Class 8 Direct Abuse
Claims on the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits thereto, and
as may be modified, amended, or supplemented from time to time, the “Plan”), which is described
in greater detail in that certain disclosure statement regarding the Plan, filed on [●], 2021 [D.I. [●]]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Disclosure Statement”). Capitalized terms used but not
otherwise defined herein have the meanings ascribed to such terms in the Plan or the Disclosure
Statement, as applicable. On [●], 2021, the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures
Order”) approving the Disclosure Statement as containing adequate information under section
1125 of the Bankruptcy Code and the procedures for soliciting votes to accept or reject the Plan
(the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure Statement does not
indicate approval of the Plan by the Bankruptcy Court.

        The Plan provides for the issuance of a “Channeling Injunction” pursuant to section 105(a)
of the Bankruptcy Code, which is a mechanism by which Abuse Claims will be channeled to a
Settlement Trust established pursuant to section 105(a) of the Bankruptcy Code. For a description
of the causes of action to be enjoined and the identities of the Entities that would be subject to
these injunctions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

        The Debtors have compiled a list of all potential Protected Parties and potential Limited
Protected Parties under the Plan, including the identities of all Local Councils, Chartered
Organizations, and Insurance Companies. If the Plan is confirmed, to the extent any such parties
participate, they will be included in the definition of Protected Parties or Limited Protected Parties
and will benefit from the Channeling Injunction. This list of potential Protected Parties and
Limited Protected Parties is available at https://omniagentsolutions.com/bsa-SAballots. This list
only includes potential Protected Parties and Limited Protected Parties—it does not mean
that any such party will in fact become a Protected Party or Limited Protected Party under
the Plan.

         You are receiving this Ballot because you have asserted a Claim against the Debtors that
arises from Abuse2 that occurred prior to the Petition Date (as defined in the Plan, a “Direct Abuse

2
     “Abuse” means sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, indecent assault
     or battery, rape, pedophilia, ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
     shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts
     or interactions of a sexual nature, including the use of photography, video, or digital media, or other physical
     abuse or bullying or harassment without regard to whether such physical abuse or bullying is of a sexual nature,
     between a child and an adult, between a child and another child, or between a non-consenting adult and another
     adult, in each instance without regard to whether such activity involved explicit force, whether such activity
     involved genital or other physical contact, and whether there is or was any associated physical, psychological, or
     emotional harm to the child or non-consenting adult.


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Claim”). Your Direct Abuse Claim is classified under the Plan in Class 8 (Direct Abuse Claims).
Accordingly, you have a right to vote to accept or reject the Plan.

        Your rights are described in the Disclosure Statement for the Plan and the Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        If you vote to accept or reject the Plan, you will be deemed to provide the releases in Article
X.J.4 of the Plan and as set forth below unless you opt out of such releases. You may check the
box below to opt out of the releases in Article X.J.4 of the Plan. Please be advised that the Plan
also contains injunction and exculpation provisions, certain of which are set forth below. If the
Plan is confirmed by the Bankruptcy Court, these sections will be binding on you whether or not
you elect to opt out of the releases in Article X.J.4 of the Plan by this Ballot. For a full description
of these provisions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

       You should carefully review the Disclosure Statement and the Plan, including the
Plan’s injunction, exculpation, and release provisions, as the rights of holders of Direct
Abuse Claims may be affected thereunder. You may wish to seek legal advice concerning
the Plan and the Plan’s classification and treatment of your Claim.

                           [Remainder of Page Intentionally Left Blank]




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                PLEASE READ THE ATTACHED VOTING INFORMATION AND
                INSTRUCTIONS BEFORE COMPLETING THIS BALLOT

 PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL
 OF THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS
 NOT BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY
 NOT BE VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Amount of Claim.

        For purposes of voting to accept or reject the Plan, the undersigned certifies that as of the
Voting Record Date, the undersigned holds a Direct Abuse Claim in the amount set forth below.
Please note that, except as otherwise may be set forth in the Disclosure Statement and
Solicitation Procedures Order, each Direct Abuse Claim in Class 8 has been temporarily
allowed in the amount of $1.00 for voting purposes only, and not for distribution, allowance,
or any other purpose.

         Debtor:    _____________

         Claim(s) Amount: $1.00


Item 2. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claims in Class 8
below (please check one). Any Ballot not marked either to accept or reject the Plan, or marked
both to accept and to reject the Plan, shall not be counted in determining acceptance or rejection
of the Plan.
       Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 4
below.
        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.

         Check only one box:

                        ACCEPT (I.E., VOTE IN FAVOR OF) the Plan

                        REJECT (I.E., VOTE AGAINST) the Plan




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Item 3. Optional Release Election.

      Unless a holder of a Class 8 Claim who votes to accept or reject the Plan opts out of
the Releases by holders of Claims set forth below, such holder shall be deemed to have
consented to the releases contained in Article X.J.4 of the Plan, which provides as follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties 3 to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders4 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is
treated by the Plan, the business or contractual arrangements between one or both of the

3
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
4
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan)and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

Article X.J.5 of the Plan—Releases Relating to Contributing Chartered Organizations.

       a.      In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Contributing
Chartered Organizations, 5 including TCJC, shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge the
Debtors, Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the other




5
    “Contributing Chartered Organizations” means the current or former Chartered Organizations listed on Exhibit
    D to the Plan, including any Chartered Organization made a Protected Party under a Post-Effective Date Chartered
    Organization Settlement approved by the Bankruptcy Court in accordance with Article IV.I of the Plan. No
    Participating Chartered Organization shall be considered a Contributing Chartered Organization based solely on
    the Participating Chartered Organization Insurance Assignment. Without limiting the foregoing, subject to
    Confirmation of the Plan and approval of the TCJC Settlement Agreement by an order of the Bankruptcy Court
    (including in the Confirmation Order), TCJC is a Contributing Chartered Organization and shall be designated as
    such in the Confirmation Order and the Affirmation Order.


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Protected Parties, 6 the Limited Protected Parties, 7 the Settling Insurance Companies,
including Hartford, the Future Claimants’ Representative, the Coalition, the Settlement
Trust, and each of its and their respective Representatives (collectively, the “Settlement
Parties”), of and from any and all Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the date that the Confirmation
Order and Affirmation Order become Final Orders (including before the Petition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
(iv) any Claims that were or could have been asserted by the Contributing Chartered
Organizations against the Settlement Parties or any of them.

        b.     In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Settlement Parties
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each of the Contributing Chartered
Organizations, including TCJC, of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of any
nature whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, contract, tort or otherwise, based on or relating to, or in any manner arising
from, in whole or in part, any act, omission, transaction, event, or other circumstance taking
place or existing on or before the date that the Confirmation Order and Affirmation Order
become Final Orders (including before the Petition Date) in connection with or related to (i)
Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or could


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    “Protected Parties” means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
    Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations; (f) the Settling Insurance
    Companies, including Hartford; and (g) all of such Persons’ Representatives; provided, however, that no
    Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a Contributing Chartered Organization
    shall be a Protected Party with respect to Abuse Claims only as set forth in the definition of “Abuse Claim.”
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    “Limited Protected Parties” means the Participating Chartered Organizations, which means a Chartered
    Organization that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in writing on or
    before the confirmation objection deadline that it does not wish to make the Participating Chartered Organization
    Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered Organization that is a debtor
    in bankruptcy as of the Confirmation Date, such Chartered Organization shall be a Participating Chartered
    Organization only if it advises Debtors’ counsel in writing that it wishes to make the Participating Chartered
    Organization Insurance Assignment, and, for the avoidance of doubt, absent such written advisement, none of
    such Chartered Organization’s rights to or under the Abuse Insurance Policies shall be subject to the Participating
    Chartered Organization Insurance Assignment. A list of Chartered Organizations that are not Participating
    Chartered Organizations is attached to the Plan as Exhibit K.


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have been asserted by the Settlement Parties against the Contributing Chartered
Organizations or any of them.

        If you voted to accept or reject the Plan in Item 2 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

    The undersigned, as a holder of (or representative of a holder of) a Class 8 Claim, elects to:

                  Opt out of the third party release in Article X.J.4 of the Plan.


      Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Article X.F of the Plan—Channeling Injunction.

        Terms. To preserve and promote the settlements contemplated by and provided for
in the Plan, including the Abuse Claims Settlement, the Hartford Insurance Settlement, and
the TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as described in
Article X of the Plan, pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, (a)
the sole recourse of any holder of an Abuse Claim against a Protected Party on account of
such Abuse Claim shall be to and against the Settlement Trust pursuant to the Settlement
Trust Documents,8 and such holder shall have no right whatsoever at any time to assert such
Abuse Claim against any Protected Party or any property or interest in property of any
Protected Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
Organization Abuse Claim against a Limited Protected Party on account of such Post-1975
Chartered Organization Abuse Claim shall be to and against the Settlement Trust pursuant
to the Settlement Trust Documents, and such holder shall have no right whatsoever at any
time to assert such Post-1975 Chartered Organization Abuse Claim against any Limited
Protected Party or any property or interest in property of any Limited Protected Party. On
and after the Effective Date, all Persons that have held or asserted, currently hold or assert,
or that may in the future hold or assert, any Abuse Claim against the Protected Parties, or
any of them, or any Post-1975 Chartered Organization Abuse Claim against the Limited
Protected Parties, or any of them, shall be permanently and forever stayed, restrained and
enjoined from taking any action for the purpose of directly, indirectly, or derivatively
collecting, recovering, or receiving payment, satisfaction, or recovery from any Protected
Party with respect to any such Abuse Claim or from any Limited Protected Party with
respect to any such Post-1975 Chartered Organization Abuse Claim, other than from the
Settlement Trust pursuant to the Settlement Trust Documents, including:



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      “Settlement Trust Documents” means, collectively, (a) the Settlement Trust Agreement, (b) the Trust Distribution
      Procedures, (c) the Document Agreement, (d) the Confirmation Order, and (e) any other agreements, instruments
      and documents governing the establishment, administration and operation of the Settlement Trust, which shall be
      substantially in the forms set forth as exhibits in the Plan or in the Plan Supplement, as the same may be amended
      or modified from time to time in accordance with the terms thereof.


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            c.       commencing, conducting, or continuing, in any manner, whether
     directly, indirectly, or derivatively, any suit, action, or other proceeding of any kind
     (including a judicial, arbitration, administrative, or other proceeding) in any forum in
     any jurisdiction around the world against or affecting any Protected Party or Limited
     Protected Party or any property or interest in property of any Protected Party or
     Limited Protected Party;

              d.     enforcing, levying, attaching (including any prejudgment attachment),
      collecting or otherwise recovering, by any manner or means, either directly or
      indirectly, any judgment, award, decree, or order against or affecting any Protected
      Party or Limited Protected Party or any property or interest in property of any
      Protected Party or Limited Protected Party;

             e.      creating, perfecting, or otherwise enforcing in any manner, whether
      directly or indirectly, any Encumbrance of any kind against any Protected Party or
      Limited Protected Party or any property or interest in property of any Protected
      Party or Limited Protected Party;

             f.     asserting, implementing or effectuating any setoff, right of
      reimbursement, subrogation, indemnity, contribution, reimbursement, or
      recoupment of any kind, in any manner, directly or indirectly, against any obligation
      due to any Protected Party or Limited Protected Party or any property or interest in
      property of any Protected Party or Limited Protected Party; or

             g.     taking any act in any manner, and in any place whatsoever, that does
      not conform to, or comply with, the provisions of the Plan Documents or the
      Settlement Trust Documents or with regard to any matter that is within the scope of
      the matters designated by the Plan to be subject to resolution by the Settlement Trust,
      except in conformity and compliance with the Settlement Trust Documents with
      respect to any such Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

      Reservations. Notwithstanding anything to the contrary in Article X.F of the Plan,
the Channeling Injunction shall not enjoin:

             a.     the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the Settlement
      Trust in accordance with the Trust Distribution Procedures, including the ability to
      pursue the Settlement Trust in the tort system as described in Article XII of the Trust
      Distribution Procedures;

             b.    the rights of holders of Abuse Claims to assert such Abuse Claims
      against anyone other than a Protected Party or, in the case of Post-1975 Chartered
      Organization Abuse Claims, against anyone other than a Limited Protected Party;

            c.      prior to the date that an Entity (other than an Insurance Company)
      becomes a Protected Party under Article IV.I of the Plan, the right of holders of Abuse
      Claims to assert such Abuse Claims against such Entity;


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               d.   prior to the date that a Chartered Organization becomes a Limited
       Protected Party under Article IV.J of the Plan, the right of holders of Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against such
       Entity;

              e.     the rights of holders of Abuse Claims that are not Post-1975 Chartered
       Organization Abuse Claims to assert such Abuse Claims against any Limited
       Protected Party (unless such Limited Protected Party becomes a Protected Party
       under Article IV.I of the Plan);

             f.     the right of any Person to assert any Claim, debt, obligation or liability
       for payment of Settlement Trust Expenses solely against the Settlement Trust in
       accordance with the Settlement Trust Documents;

              g.    the Settlement Trust from enforcing its rights under the Plan and the
       Settlement Trust Documents; or

              h.     the rights of the Settlement Trust to prosecute any action against any
       Non-Settling Insurance Company based on or arising from Abuse Insurance Policies
       that are not the subject of an Insurance Settlement Agreement, subject to any
       Insurance Coverage DefensesArticle X.J.1 of the Plan—Releases by the Debtors and
       the Estates.

Article X.J.1 of the Plan—Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual


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arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.

Article X.J.3 of the Plan—Releases by Holders of Abuse Claims.

       As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, pursuant to section 1123(b)
of the Bankruptcy Code, for good and valuable consideration, the adequacy of which is
hereby confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an integral
component of the Plan, and except as otherwise expressly provided in the Plan or the
Confirmation Order, to the maximum extent permitted under applicable law, as such law
may be extended subsequent to the Effective Date, all holders of Abuse Claims shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever discharge and release: (a) each and all of the Protected Parties and their respective
property and successors and assigns of and from all Abuse Claims and any and all Claims
and Causes of Action whatsoever, whether known or unknown, asserted or unasserted,
derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of liability,
successor liability, contribution, indemnification, joint liability, or otherwise, arising from or
related in any way to such Abuse Claims; and (b) each and all of the Limited Protected
Parties and their respective property and successors and assigns of and from all Post-1975
Chartered Organization Abuse Claims and any and all Claims and Causes of Action


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whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any way
to such Post-1975 Chartered Organization Abuse Claims; provided, however, that the
releases set forth in Article X.J.3 of the Plan shall not, and shall not be construed to: (i)
release any Protected Party or Limited Protected Party from Causes of Action arising out
of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (ii) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (iii) modify, reduce, impair or otherwise affect
the ability of any holder of an Abuse Claim to recover on account of such Claim in
accordance with Article III. B.10 or Article III.B.11 of the Plan, as applicable.

Article X.K of the Plan—Exculpation.

        From and after the Effective Date, none of the Exculpated Parties9 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Article X.L of the Plan—Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether

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    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.

        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 4. Certifications, Acknowledgment, Signature and Date.

       By signing this Ballot, the holder of the Class 8 Direct Abuse Claim (or authorized
signatory of such holder) acknowledges receipt of the Disclosure Statement, the Plan, and the other
applicable solicitation materials, and certifies that:

                it has the power and authority to vote to accept or reject the Plan,

                it was the holder (or is entitled to vote on behalf of such holder) of the Class 8
                Direct Abuse Claim described in Item 1 as of the Voting Record Date,

                it has not submitted any other Ballots for other Class 8 Direct Abuse Claims, or if
                it has submitted any other Ballots with respect to such Claims, then any such
                Ballots date earlier in time are hereby revoked,


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              it acknowledges that a vote to accept the Plan constitutes an acceptance of the
              treatment of such Entity as a holder of a Class 8 Claim,

              it understands and, if accepting the Plan, agrees with the treatment provided for its
              Claim(s) under the Plan,

              it understands and acknowledges that if multiple Ballots are submitted voting the
              Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
              and received by the Solicitation Agent before the Voting Deadline shall be deemed
              to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
              received by the Solicitation Agent, and

              all authority conferred or agreed to be conferred pursuant to this Ballot, and every
              obligation of the undersigned hereunder, shall be binding on the transferees,
              successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
              legal representatives of the undersigned, and shall not be affected by, and shall
              survive, the death or incapacity of the undersigned. The undersigned understands
              that an otherwise properly completed, executed, and timely returned Ballot failing
              to indicate either acceptance or rejection of the Plan, or indicating both acceptance
              and rejection of the Plan, will not be counted.


Print or Type Name of Claimant:         __________________________________________

Last Four Digits of Social Security
Number of Claimant:                     __________________________________________

Birthdate of Claimant (MM/DD/YY): __________________________________________

Signature:                              __________________________________________

Name of Signatory (if different than
Claimant):                              __________________________________________

If by Authorized Agent, Title of
Agent:                                  __________________________________________

Street Address:                         __________________________________________

City, State, Zip Code:                  __________________________________________

Telephone Number:                       __________________________________________

Email Address:                          __________________________________________


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 Date Completed:                            __________________________________________



        IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
              ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                     YOUR VOTE WILL NOT BE COUNTED.


        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-SAballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as
applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If
you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                         If by standard or overnight mail or personal delivery:

   https://omniagentsolutions.com/bsa-SAballots          Boy Scouts of America Ballot Processing
                                                                c/o Omni Agent Solutions
                                                             5955 De Soto Avenue, Suite 100
                                                               Woodland Hills, CA 91367

        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-SAballots and follow the instructions to submit your
Ballot.

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted. Holders of Claims who cast a Ballot using
the E-Ballot Platform should NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’ toll-
free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
website at https://omniagentsolutions.com/BSA.

     Information may also be obtained at https://omniagentsolutions.com/bsa-SAballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.

        Any admission of Claims for purposes of voting on the Plan is not an admission of liability
on the part of the Debtors or any other party for payment purposes.



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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-SAballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your     Ballot    via    the    E-Ballot     Platform,    visit
https://omniagentsolutions.com/bsa-SAballots and follow the instructions to submit your Ballot.
        The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted. Creditors who cast a Ballot using the E-
Ballot Platform should NOT also submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                             Boy Scouts of America Ballot Processing
                                   c/o Omni Agent Solutions
                                5955 De Soto Avenue, Suite 100
                                   Woodland Hills, CA 91367

The Solicitation Agent will tabulate all properly completed Ballots received on or before the
Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

              a.     Item 1 (Amount of Claim). Please note that, except as otherwise set
forth in the Disclosure Statement and Solicitation Procedures Order, each Direct Abuse
Claim in Class 8 has been allowed in the amount of $1.00 for voting purposes only, and shall
not be binding upon the holder of the Direct Abuse Claim, the Debtors, the Settlement Trust,
or any other party for any purpose other than voting on the Plan.

                 b.     Item 2 (Vote on the Plan). Cast one vote to accept or reject the Plan by
checking the appropriate box in Item 2. You must vote the entire amount of your Direct Abuse
Claim either to accept (i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not
split your vote. Accordingly, any vote within a single Class that attempts partially to accept and
partially reject the Plan will not be counted.




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               c.       If you hold Claims in more than one class, you may receive more than one
Ballot or Solicitation Package, labeled for a different class of Claims. Your vote will be counted
in determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

               d.      Item 3 (Releases). Pursuant to Article X of the Plan, the Debtors seek
approval of the release provision set forth in Article X.J.4 of the Plan and provided above. Holders
of Direct Abuse Claims who vote to accept or reject the Plan may opt out of this release by
checking the box in Item 3.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF A DIRECT ABUSE
 CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR REJECT THE PLAN
 YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE X.J.4
 OF THE PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK THE BOX IN ITEM 4
 TO OPT OUT OF THE RELEASES.

        e.       Item 4 (Certifications, Acknowledgement, Signature, and Date). Either the
claimant, the claimant’s personal representative, or the claimant’s attorney must sign the Ballot.
If the Ballot is not signed, the vote shown on the Ballot will not be counted.

       f.      Claimants with Social Security Numbers must provide the last four digits of their
Social Security Number in Item 4 of the Ballot.

        g.     The claimant, the claimant’s personal representative, or the claimant’s attorney,
must certify certain information on the Ballot. Please read the certifications below and ensure that
the information on the Ballot meets the requirements of those certifications.

          h.      By signing the Ballot, you make the following certifications on information and
belief:

                  (i)     I have the power and authority to vote to accept or reject the Plan,
                  (ii)    I am the holder (or am entitled to vote on behalf of such holder) of the Direct
                          Abuse Claim described in Item 1 as of the Voting Record Date,
                  (iii)   I have not submitted any other Ballots for other Class 8 Direct Abuse
                          Claims, or if I have submitted any other Ballots with respect to such Claims,
                          then any such Ballots date earlier in time are hereby revoked,
                  (iv)    I acknowledge that a vote to accept the Plan constitutes an acceptance of the
                          treatment of my Claim as a Class 8 Claim,
                  (v)     I understand and, if accepting the Plan, agree with the treatment provided
                          for my Claim(s) under the Plan,
                  (vi)    I understand and acknowledge that if multiple Ballots are submitted voting


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                       the Claim set forth in Item 1, only the last properly completed Ballot voting
                       the Claim and received by the Solicitation Agent before the Voting Deadline
                       shall be deemed to reflect the voter’s intent and thus to supersede and revoke
                       any prior Ballots received by the Solicitation Agent, and
               (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and
                       every obligation of the undersigned hereunder, shall be binding on the
                       transferees, successors, assigns, heirs, executors, administrators, trustees in
                       bankruptcy, and legal representatives of the undersigned, and shall not be
                       affected by, and shall survive, the death or incapacity of the undersigned.
                       The undersigned understands that an otherwise properly completed,
                       executed, and timely returned Ballot failing to indicate either acceptance or
                       rejection of the Plan, or indicating both acceptance and rejection of the Plan,
                       will not be counted.

       3.      Other Instructions for Completing the Ballots:

               a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of
Claim or Interest or an assertion or admission of a Claim or Interest.

               b.       The Ballot is not a letter of transmittal and may not be used for any purpose
other than to vote to accept or reject the Plan.

              c.      If you submit more than one Ballot voting the same Claim prior to the
Voting Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent
and received by the Solicitation Agent before the Voting Deadline will supersede and revoke any
prior Ballot.

                d.      If more than one Ballot is received from the holder of a Direct Abuse Claim
entitled to vote and from an attorney purporting to represent such holder (including in accordance
with procedures related to Master Ballots) prior to the Voting Deadline, the Ballot received from
the holder of the Direct Abuse Claim entitled to vote will be counted.

               e.     To the extent you have received two (2) or more duplicative Ballots on
account of the same Direct Abuse Claim, please note that each claimant is authorized to submit
only one Ballot on account of such Claim.

               f.       In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall
automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

                g.      There may be changes made to the Plan that do not cause material adverse
effects on an accepting Class. If such non-material changes are made to the Plan, the Debtors will
not resolicit votes for acceptance or rejection of the Plan.




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NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
CONTAINED IN THE MATERIALS INCLUDED WITH THIS BALLOT OR OTHER
MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.
IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT RECEIVE
INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE STATEMENT OR
PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR
NEED ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED
MATERIALS, PLEASE CONTACT THE SOLICITATION AGENT AT:
TELEPHONE:     866-907-2721
EMAIL:         BSAballots@omniagnt.com
ADDRESS:       Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
               5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
WEBSITE:       https://omniagentsolutions.com/BSA




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                           Exhibit 2-7

         Form of Ballot for Class 9 Indirect Abuse Claims
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                      Chapter 11

    BOY SCOUTS OF AMERICA AND                                   Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                (Jointly Administered)
                                 Debtors.


                       BALLOT FOR CLASS 9 (INDIRECT ABUSE CLAIMS)

    PLEASE READ AND FOLLOW THE ENCLOSED INSTRUCTIONS FOR
    COMPLETING YOUR BALLOT CAREFULLY BEFORE COMPLETING THIS
    BALLOT.

    ACCESS TO SOLICITATION MATERIALS:

    THE PLAN, THE DISCLOSURE STATEMENT, AND THE SOLICITATION
    PROCEDURES ORDER MAY BE ACCESSED, FREE OF CHARGE, AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA-BALLOTS.

    IF YOU WOULD PREFER A PAPER OR OTHER FORMAT OF THESE MATERIALS,
    OR IF YOU NEED TO OBTAIN ADDITIONAL SOLICITATION PACKAGES,
    PLEASE CONTACT OMNI AGENT SOLUTIONS (THE “SOLICITATION AGENT”)
    BY (A) CALLING THE DEBTORS’ RESTRUCTURING HOTLINE AT 866-907-2721,
    (B) EMAILING BSABALLOTS@OMNIAGNT.COM, (C) WRITING TO BOY SCOUTS
    OF AMERICA BALLOT PROCESSING, C/O OMNI AGENT SOLUTIONS, 5955 DE
    SOTO AVENUE, SUITE 100, WOODLAND HILLS, CA 91367, OR (D) SUBMITTING
    AN INQUIRY ON THE DEBTORS’ RESTRUCTURING WEBSITE AT
    HTTPS://OMNIAGENTSOLUTIONS.COM/BSA.

    THIS BALLOT MUST BE COMPLETED, EXECUTED, AND RETURNED SO AS TO
    BE ACTUALLY RECEIVED BY THE SOLICITATION AGENT BY 4:00 P.M.
    (EASTERN TIME) ON [●], 2021 (THE “VOTING DEADLINE”).

    IF YOU VOTE TO ACCEPT OR REJECT THE PLAN, YOU WILL BE RELEASING
    THE RELEASED PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION
    TO THE EXTENT PROVIDED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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 “OPT-OUT” OF SUCH RELEASES. YOU MAY “OPT-OUT” OF SUCH RELEASES
 AND YOU MUST INDICATE SUCH “OPT-OUT” IN THE BALLOT.

        Pursuant to this ballot (this “Ballot”), the above-captioned debtors and debtors-in-
possession (together, the “Debtors”) are soliciting votes from holders of Class 9 Indirect Abuse
Claims on the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits thereto, and
as may be modified, amended, or supplemented from time to time, the “Plan”), which is described
in greater detail in that certain disclosure statement regarding the Plan, filed on [●], 2021 [D.I. [●]]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Disclosure Statement”). Capitalized terms used but not
otherwise defined herein have the meanings ascribed to such terms in the Plan or the Disclosure
Statement, as applicable. On [●], 2021, the United States Bankruptcy Court for the District of
Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures
Order”) approving the Disclosure Statement as containing adequate information under section
1125 of the Bankruptcy Code and the procedures for soliciting votes to accept or reject the Plan
(the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure Statement does not
indicate approval of the Plan by the Bankruptcy Court.

        The Plan provides for the issuance of a “Channeling Injunction” pursuant to section 105(a)
of the Bankruptcy Code, which is a mechanism by which Abuse Claims will be channeled to a
Settlement Trust established pursuant to section 105(a) of the Bankruptcy Code. For a description
of the causes of action to be enjoined and the identities of the Entities that would be subject to
these injunctions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

        The Debtors have compiled a list of all potential Protected Parties and potential Limited
Protected Parties under the Plan, including the identities of all Local Councils, Chartered
Organizations, and Insurance Companies. If the Plan is confirmed, to the extent any such parties
participate, they will be included in the definition of Protected Parties or Limited Protected Parties
and will benefit from the Channeling Injunction. This list of potential Protected Parties and
Limited Protected Parties is available at https://omniagentsolutions.com/bsa-SAballots. This list
only includes potential Protected Parties and Limited Protected Parties—it does not mean
that any such party will in fact become a Protected Party or Limited Protected Party under
the Plan.

        You are receiving this Ballot because you have asserted a liquidated or unliquidated Abuse
Claim for contribution, indemnity for contribution, indemnity, reimbursement, or subrogation,
whether contractual or implied by law (as those terms are defined by the applicable non-bankruptcy
law of the relevant jurisdiction), and any other derivative Abuse Claim of any kind whatsoever,
whether in the nature of or sounding in contract, tort, warranty or any other theory of law or equity
whatsoever, including any indemnification, reimbursement, hold-harmless or other payment
obligation provided for under any prepetition settlement, insurance policy, program agreement or
contract (as defined in the Plan, an “Indirect Abuse Claim”). Your Indirect Abuse Claim is
classified under the Plan in Class 9 (Indirect Abuse Claims). Accordingly, you have a right to vote
to accept or reject the Plan.



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        Your rights are described in the Disclosure Statement for the Plan and the Solicitation
Procedures Order. This Ballot may not be used for any purpose other than for casting votes
to accept or reject the Plan and making certain certifications with respect to the Plan. If you
believe you have received this Ballot in error, or if you believe that you have received the
wrong Ballot, please contact the Solicitation Agent immediately via the contact information
set forth above.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on you whether
or not you vote or if you vote to reject the Plan. To have your vote counted, you must complete,
sign, and return this Ballot to the Solicitation Agent by the Voting Deadline.

        If you vote to accept or reject the Plan, you will be deemed to provide the releases in Article
X.J.4 of the Plan and as set forth below unless you opt out of such releases. You may check the
box below to opt out of the releases in Article X.J.4 of the Plan. Please be advised that the Plan
also contains injunction and exculpation provisions, certain of which are set forth below. If the
Plan is confirmed by the Bankruptcy Court, these sections will be binding on you whether or not
you elect to opt out of the releases in Article X.J.4 of the Plan by this Ballot. For a full description
of these provisions, see Article VI.Q of the Disclosure Statement and Article X of the Plan, which
sets forth the terms of each of these provisions.

       You should carefully review the Disclosure Statement and the Plan, including the
Plan’s injunction, exculpation, and release provisions, as the rights of holders of Indirect
Abuse Claims may be affected thereunder. You may wish to seek legal advice concerning
the Plan and the Plan’s classification and treatment of your Claim.

                           [Remainder of Page Intentionally Left Blank]




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 PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
                BEFORE COMPLETING THIS BALLOT.
PLEASE COMPLETE ALL APPLICABLE ITEMS BELOW. PLEASE FILL IN ALL OF
THE INFORMATION REQUESTED UNDER ITEM 4. IF THIS BALLOT HAS NOT
BEEN PROPERLY SIGNED IN THE SPACE PROVIDED, YOUR VOTE MAY NOT BE
VALID OR COUNTED AS HAVING BEEN CAST.

Item 1. Amount of Claim.

        For purposes of voting to accept or reject the Plan, the undersigned certifies that as of the
Voting Record Date, the undersigned holds an Indirect Abuse Claim in the amount set forth below.
Please note that, except as otherwise may be set forth in the Disclosure Statement and
Solicitation Procedures Order, each Indirect Abuse Claim in Class 9 has been allowed in the
amount of $1.00 for voting purposes only, and not for distributions under the Plan,
allowance, or any other purpose.

         Debtor: ______________

         Claim(s) Amount: $1.00


Item 2. Vote on the Plan.

        Please vote either to accept or to reject the Plan with respect to your Claims in Class 9
below (please check one). Any Ballot not marked either to accept or reject the Plan, or marked
both to accept and to reject the Plan, shall not be counted in determining acceptance or rejection
of the Plan.

       Prior to voting on the Plan, please note the following:

        If you vote to accept or reject the Plan, you shall be deemed to have consented to the release
set forth in Article X.J.4 of the Plan unless you opt out of the release by checking the box in Item 3
below.

        If you abstain from voting, you shall not be deemed to have consented to the release
provisions set forth in Article X.J.4 of the Plan. The Disclosure Statement and the Plan must be
referenced for a complete description of the release, injunction, and exculpation provisions in
Article X of the Plan.

         Check only one box:

                         ACCEPT (I.E., VOTE IN FAVOR OF) the Plan

                         REJECT (I.E., VOTE AGAINST) the Plan



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Item 3. Optional Release Election.

      Unless a holder of a Class 9 Claim who votes to accept or reject the Plan opts out of
the Releases by holders of Claims set forth below, such holder shall be deemed to have
consented to the releases contained in Article X.J.4 of the Plan, which provides as follows:

Article X.J.4 of the Plan—Releases by Holders of Claims.

         As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, for good and valuable
consideration, the adequacy of which is hereby confirmed, including the service of the
Released Parties2 to facilitate and implement the reorganization of the Debtors and the
settlements embodied in the Plan, including the JPM / Creditors’ Committee Settlement, the
Hartford Insurance Settlement, and the TCJC Settlement, as an integral component of the
Plan, and except as otherwise expressly provided in the Plan or the Confirmation Order, to
the maximum extent permitted under applicable law, as such law may be extended
subsequent to the Effective Date, all Releasing Claim Holders3 shall, and shall be deemed to,
expressly, conclusively, absolutely, unconditionally, irrevocably, and forever release and
discharge each and all of the Released Parties of and from any and all Claims, Interests,
obligations, rights, demands, suits, judgments, damages, debts, remedies, losses and
liabilities of any nature whatsoever (including any derivative claims or Causes of Action
asserted or that may be asserted on behalf of the Debtors, Reorganized BSA, or the Estates),
whether liquidated or unliquidated, fixed or contingent, matured or unmatured, known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, contract,
tort or otherwise, based on or relating to, or in any manner arising from, in whole or in part,
any act, omission, transaction, event, or other circumstance taking place or existing on or
before the Effective Date (including before the Petition Date) in connection with or related
to the Debtors, the Estates, their respective assets and properties, the Chapter 11 Cases, the
subject matter of, or the transactions or events giving rise to, any Claim or Interest that is

2
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
3
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.


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treated by the Plan, the business or contractual arrangements between one or both of the
Debtors and any Released Party, the restructuring of any Claim or Interest that is treated
by the Plan before or during the Chapter 11 Cases, any of the Plan Documents, the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, the TCJC Settlement,
or any related agreements, instruments, and other documents created or entered into before
or during the Chapter 11 Cases or the negotiation, formulation, preparation or
implementation thereof, the pursuit of Confirmation, the administration and
implementation of the Plan, the solicitation of votes with respect to the Plan, the Distribution
of property under the Plan, or any other act or omission, transaction, agreement, event, or
other occurrence taking place on or before the Effective Date related or relating to the
foregoing; provided, however, that the releases set forth in Article X.J.4 of the Plan shall not,
and shall not be construed to: (a) release any Released Party from Causes of Action arising
out of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (b) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (c) modify, reduce, impair or otherwise affect
the ability of any holder of an Allowed Non-Abuse Litigation Claim to recover on account of
such Allowed Claim in accordance with Article III.B.9 of the Plan. Notwithstanding the
foregoing or anything to the contrary herein, (i) with respect to holders of Allowed General
Unsecured Claims or Allowed Non-Abuse Litigation Claims, nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action against any Local Council, Chartered Organization, or Non-Settling
Insurance Company (subject to Article IV.D.3 of the Plan) and (ii) nothing in the Plan or the
release set forth in Article X.J.4 of the Plan shall, or shall be construed to, release any claims
or Causes of Action asserted by Century Indemnity Company against Sidley Austin LLP
(“Sidley”) related to Sidley’s representation of the Debtors prior to the Petition Date.

Article X.J.5 of the Plan—Releases Relating to Contributing Chartered Organizations.

       a.      In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Contributing
Chartered Organizations,4 including TCJC, shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge the
Debtors, Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the other



4
    “Contributing Chartered Organizations” means the current or former Chartered Organizations listed on Exhibit
    D to the Plan, including any Chartered Organization made a Protected Party under a Post-Effective Date Chartered
    Organization Settlement approved by the Bankruptcy Court in accordance with Article IV.I of the Plan. No
    Participating Chartered Organization shall be considered a Contributing Chartered Organization based solely on
    the Participating Chartered Organization Insurance Assignment. Without limiting the foregoing, subject to
    Confirmation of the Plan and approval of the TCJC Settlement Agreement by an order of the Bankruptcy Court
    (including in the Confirmation Order), TCJC is a Contributing Chartered Organization and shall be designated as
    such in the Confirmation Order and the Affirmation Order.


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Protected Parties,5 the Limited Protected Parties,6 the Settling Insurance Companies,
including Hartford, the Future Claimants’ Representative, the Coalition, the Settlement
Trust, and each of its and their respective Representatives (collectively, the “Settlement
Parties”), of and from any and all Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the date that the Confirmation
Order and Affirmation Order become Final Orders (including before the Petition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or
(iv) any Claims that were or could have been asserted by the Contributing Chartered
Organizations against the Settlement Parties or any of them.

        b.     In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Settlement Parties
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each of the Contributing Chartered
Organizations, including TCJC, of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of any
nature whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, contract, tort or otherwise, based on or relating to, or in any manner arising
from, in whole or in part, any act, omission, transaction, event, or other circumstance taking
place or existing on or before the date that the Confirmation Order and Affirmation Order
become Final Orders (including before the Petition Date) in connection with or related to (i)
Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or could


5
    “Protected Parties” means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
    Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations; (f) the Settling Insurance
    Companies, including Hartford; and (g) all of such Persons’ Representatives; provided, however, that no
    Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a Contributing Chartered Organization
    shall be a Protected Party with respect to Abuse Claims only as set forth in the definition of “Abuse Claim.”
6
    “Limited Protected Parties” means the Participating Chartered Organizations, which means a Chartered
    Organization that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in writing on or
    before the confirmation objection deadline that it does not wish to make the Participating Chartered Organization
    Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered Organization that is a debtor
    in bankruptcy as of the Confirmation Date, such Chartered Organization shall be a Participating Chartered
    Organization only if it advises Debtors’ counsel in writing that it wishes to make the Participating Chartered
    Organization Insurance Assignment, and, for the avoidance of doubt, absent such written advisement, none of
    such Chartered Organization’s rights to or under the Abuse Insurance Policies shall be subject to the Participating
    Chartered Organization Insurance Assignment. A list of Chartered Organizations that are not Participating
    Chartered Organizations is attached to the Plan as Exhibit K.


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have been asserted by the Settlement Parties against the Contributing Chartered
Organizations or any of them.

        If you voted to accept or reject the Plan in Item 2 above, check this box if you elect not to
grant the release contained in Article X.J.4 of the Plan.

    The undersigned, as a holder of (or representative of a holder of) a Class 9 Claim, elects to:

                Opt out of the third party release in Article X.J.4 of the Plan.


      Certain other Releases, Injunction and Exculpation Provisions Contained in the Plan

Article X.F of the Plan—Channeling Injunction.

        Terms. To preserve and promote the settlements contemplated by and provided for
in the Plan, including the Abuse Claims Settlement, the Hartford Insurance Settlement, and
the TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as described in
Article X of the Plan, pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, (a)
the sole recourse of any holder of an Abuse Claim against a Protected Party on account of
such Abuse Claim shall be to and against the Settlement Trust pursuant to the Settlement
Trust Documents,7 and such holder shall have no right whatsoever at any time to assert such
Abuse Claim against any Protected Party or any property or interest in property of any
Protected Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
Organization Abuse Claim against a Limited Protected Party on account of such Post-1975
Chartered Organization Abuse Claim shall be to and against the Settlement Trust pursuant
to the Settlement Trust Documents, and such holder shall have no right whatsoever at any
time to assert such Post-1975 Chartered Organization Abuse Claim against any Limited
Protected Party or any property or interest in property of any Limited Protected Party. On
and after the Effective Date, all Persons that have held or asserted, currently hold or assert,
or that may in the future hold or assert, any Abuse Claim against the Protected Parties, or
any of them, or any Post-1975 Chartered Organization Abuse Claim against the Limited
Protected Parties, or any of them, shall be permanently and forever stayed, restrained and
enjoined from taking any action for the purpose of directly, indirectly, or derivatively
collecting, recovering, or receiving payment, satisfaction, or recovery from any Protected
Party with respect to any such Abuse Claim or from any Limited Protected Party with
respect to any such Post-1975 Chartered Organization Abuse Claim, other than from the
Settlement Trust pursuant to the Settlement Trust Documents, including:



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      “Settlement Trust Documents” means, collectively, (a) the Settlement Trust Agreement, (b) the Trust Distribution
      Procedures, (c) the Document Agreement, (d) the Confirmation Order, and (e) any other agreements, instruments
      and documents governing the establishment, administration and operation of the Settlement Trust, which shall be
      substantially in the forms set forth as exhibits in the Plan or in the Plan Supplement, as the same may be amended
      or modified from time to time in accordance with the terms thereof.


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            c.       commencing, conducting, or continuing, in any manner, whether
     directly, indirectly, or derivatively, any suit, action, or other proceeding of any kind
     (including a judicial, arbitration, administrative, or other proceeding) in any forum in
     any jurisdiction around the world against or affecting any Protected Party or Limited
     Protected Party or any property or interest in property of any Protected Party or
     Limited Protected Party;

              d.     enforcing, levying, attaching (including any prejudgment attachment),
      collecting or otherwise recovering, by any manner or means, either directly or
      indirectly, any judgment, award, decree, or order against or affecting any Protected
      Party or Limited Protected Party or any property or interest in property of any
      Protected Party or Limited Protected Party;

             e.      creating, perfecting, or otherwise enforcing in any manner, whether
      directly or indirectly, any Encumbrance of any kind against any Protected Party or
      Limited Protected Party or any property or interest in property of any Protected
      Party or Limited Protected Party;

             f.     asserting, implementing or effectuating any setoff, right of
      reimbursement, subrogation, indemnity, contribution, reimbursement, or
      recoupment of any kind, in any manner, directly or indirectly, against any obligation
      due to any Protected Party or Limited Protected Party or any property or interest in
      property of any Protected Party or Limited Protected Party; or

             g.     taking any act in any manner, and in any place whatsoever, that does
      not conform to, or comply with, the provisions of the Plan Documents or the
      Settlement Trust Documents or with regard to any matter that is within the scope of
      the matters designated by the Plan to be subject to resolution by the Settlement Trust,
      except in conformity and compliance with the Settlement Trust Documents with
      respect to any such Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

      Reservations. Notwithstanding anything to the contrary in Article X.F of the Plan,
the Channeling Injunction shall not enjoin:

             a.     the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the Settlement
      Trust in accordance with the Trust Distribution Procedures, including the ability to
      pursue the Settlement Trust in the tort system as described in Article XII of the Trust
      Distribution Procedures;

             b.    the rights of holders of Abuse Claims to assert such Abuse Claims
      against anyone other than a Protected Party or, in the case of Post-1975 Chartered
      Organization Abuse Claims, against anyone other than a Limited Protected Party;

            c.      prior to the date that an Entity (other than an Insurance Company)
      becomes a Protected Party under Article IV.I of the Plan, the right of holders of Abuse
      Claims to assert such Abuse Claims against such Entity;


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               d.   prior to the date that a Chartered Organization becomes a Limited
       Protected Party under Article IV.J of the Plan, the right of holders of Post-1975
       Chartered Organization Abuse Claims to assert such Abuse Claims against such
       Entity;

              e.     the rights of holders of Abuse Claims that are not Post-1975 Chartered
       Organization Abuse Claims to assert such Abuse Claims against any Limited
       Protected Party (unless such Limited Protected Party becomes a Protected Party
       under Article IV.I of the Plan);

             f.     the right of any Person to assert any Claim, debt, obligation or liability
       for payment of Settlement Trust Expenses solely against the Settlement Trust in
       accordance with the Settlement Trust Documents;

              g.    the Settlement Trust from enforcing its rights under the Plan and the
       Settlement Trust Documents; or

             h.     the rights of the Settlement Trust and Reorganized BSA to prosecute
       any action against any Non-Settling Insurance Company based on or arising from
       Abuse Insurance Policies that are not the subject of an Insurance Settlement
       Agreement, subject to any Insurance Coverage Defenses.

Article X.J.1 of the Plan—Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce
the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring


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of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.

Article X.J.3 of the Plan—Releases by Holders of Abuse Claims.

       As of the Effective Date, except for the rights that remain in effect from and after the
Effective Date to enforce the Plan and the Confirmation Order, pursuant to section 1123(b)
of the Bankruptcy Code, for good and valuable consideration, the adequacy of which is
hereby confirmed, including the service of the Protected Parties and the Limited Protected
Parties to facilitate and implement the reorganization of the Debtors, including the
settlements embodied in the Plan, including the Abuse Claims Settlement, as an integral
component of the Plan, and except as otherwise expressly provided in the Plan or the
Confirmation Order, to the maximum extent permitted under applicable law, as such law
may be extended subsequent to the Effective Date, all holders of Abuse Claims shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever discharge and release: (a) each and all of the Protected Parties and their respective
property and successors and assigns of and from all Abuse Claims and any and all Claims
and Causes of Action whatsoever, whether known or unknown, asserted or unasserted,
derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories of liability,
successor liability, contribution, indemnification, joint liability, or otherwise, arising from or
related in any way to such Abuse Claims; and (b) each and all of the Limited Protected
Parties and their respective property and successors and assigns of and from all Post-1975
Chartered Organization Abuse Claims and any and all Claims and Causes of Action
whatsoever, whether known or unknown, asserted or unasserted, derivative or direct,


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foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, whether
for tort, fraud, contract, veil piercing or alter-ego theories of liability, successor liability,
contribution, indemnification, joint liability, or otherwise, arising from or related in any way
to such Post-1975 Chartered Organization Abuse Claims; provided, however, that the
releases set forth in Article X.J.3 of the Plan shall not, and shall not be construed to: (i)
release any Protected Party or Limited Protected Party from Causes of Action arising out
of, or related to, any act or omission of a Released Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct; (ii) release any post-Effective Date
obligations of any Person under the Plan Documents or any document, instrument, or
agreement executed to implement the Plan; or (iii) modify, reduce, impair or otherwise affect
the ability of any holder of an Abuse Claim to recover on account of such Claim in
accordance with Article III. B.10 or Article III.B.11 of the Plan, as applicable.

Article X.K of the Plan—Exculpation.

        From and after the Effective Date, none of the Exculpated Parties8 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

Article X.L of the Plan—Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing

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    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.

        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

Item 4. Certifications, Acknowledgment, Signature and Date.

       By signing this Ballot, the holder of the Indirect Abuse Claim (or authorized signatory of
such holder) acknowledges receipt of the Disclosure Statement, the Plan, the Confirmation
Hearing Notice, and the other applicable solicitation materials, and certifies that:

       (i)     it has the power and authority to vote to accept or reject the Plan,

       (ii)    it was the holder (or is entitled to vote on behalf of such holder) of the Class 9
               Indirect Abuse Claim described in Item 1 as of the Voting Record Date,

       (iii)   it has not submitted any other Ballots for other Class 9 Indirect Abuse Claims, or if
               it has submitted any other Ballots with respect to such Claims, then any such Ballots
               dated earlier in time are hereby revoked,



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      (iv)    it acknowledges that a vote to accept the Plan constitutes an acceptance of the
              treatment of such Entity as a holder of a Class 9 Claim,

      (v)     it understands and, if accepting the Plan, agrees with the treatment provided for its
              Claim(s) under the Plan,

      (vi)    it understands and acknowledges that if multiple Ballots are submitted voting the
              Claim set forth in Item 1, only the last properly completed Ballot voting the Claim
              and received by the Solicitation Agent before the Voting Deadline shall be deemed
              to reflect the voter’s intent and thus to supersede and revoke any prior Ballots
              received by the Solicitation Agent, and

      (vii)   all authority conferred or agreed to be conferred pursuant to this Ballot, and every
              obligation of the undersigned hereunder, shall be binding on the transferees,
              successors, assigns, heirs, executors, administrators, trustees in bankruptcy, and
              legal representatives of the undersigned, and shall not be affected by, and shall
              survive, the death or incapacity of the undersigned. The undersigned understands
              that an otherwise properly completed, executed, and timely returned Ballot failing
              to indicate either acceptance or rejection of the Plan, or indicating both acceptance
              and rejection of the Plan, will not be counted.


Print or Type Name of Claimant:          __________________________________________

Last Four Digits of Social Security
Number of Claimant:                      __________________________________________

Signature:                               __________________________________________

Name of Signatory (if different than
Claimant):                               __________________________________________

If by Authorized Agent, Title of
Agent:                                   __________________________________________

Street Address:                          __________________________________________

City, State, Zip Code:                   __________________________________________

Telephone Number:                        __________________________________________

Email Address:                           __________________________________________

Date Completed:                          __________________________________________


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        IF THIS BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT
              ON OR BEFORE [●], 2021 AT 4:00 P.M. (EASTERN TIME),
                     YOUR VOTE WILL NOT BE COUNTED.

        Ballots must be delivered to the Solicitation Agent (a) via the electronic Ballot
submission platform on the Solicitation Agent’s website (the “E-Ballot Platform”) by visiting
https://omniagentsolutions.com/bsa-ballots, and following the instructions set forth on the
website, or (b) at the appropriate address listed below, or in the enclosed envelope, as
applicable. You are highly encouraged to submit your Ballot via the E-Ballot Platform. If
you choose to submit your Ballot via the E-Ballot Platform, you should NOT submit a hard
copy Ballot. Please choose only one method for returning your Ballot.

 If by E-Ballot Platform:                        If by standard or overnight mail or personal delivery:

    https://omniagentsolutions.com/bsa-ballots          Boy Scouts of America Ballot Processing
                                                               c/o Omni Agent Solutions
                                                            5955 De Soto Avenue, Suite 100
                                                              Woodland Hills, CA 91367

        To submit your Ballot via the E-Ballot Platform, please visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

      IMPORTANT NOTE: You will need the following information to retrieve and
submit your customized electronic Ballot:

             Unique E-Ballot ID#: [______________________________________]

       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via electronic or online transmission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.

       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Holders of Claims who cast a Ballot using the E-Ballot Platform should
NOT also submit a paper Ballot.

        If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com,
(c) writing to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’
restructuring website at https://omniagentsolutions.com/BSA.

    Information may also be obtained at https://omniagentsolutions.com/bsa-ballots. THE
SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT, PROVIDE
LEGAL ADVICE.



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        Any admission of Claims for purposes of voting on the Plan is not an admission of liability
on the part of the Debtors or any other party for payment purposes.


                          [Remainder of Page Intentionally Left Blank]




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                  INSTRUCTIONS FOR COMPLETING YOUR BALLOT

        To properly complete this Ballot, you must follow the procedures described below, which
explain each of the items contained on your Ballot. If you have any questions, please contact the
Solicitation Agent using the contact information provided above or visit
https://omniagentsolutions.com/bsa-ballots.
       1.      Use of Online Ballot Portal—If Submitting Your Vote Through the E-Ballot
               Platform:
        The Solicitation Agent will accept Ballots if properly completed through the E-Ballot
Platform.        To     submit   your      Ballot   via     the    E-Ballot    Platform,      visit
https://omniagentsolutions.com/bsa-ballots and follow the instructions to submit your Ballot.

 IMPORTANT NOTE: You will need the following information to retrieve and submit your
 customized electronic Ballot:
                       Unique E-Ballot ID#: [_____________________]


       The Solicitation Agent’s E-Ballot Platform is the sole manner in which Ballots will be
accepted via online or electronic submission. Ballots submitted by facsimile, email or other
means of electronic transmission will not be counted.
       Each E-Ballot ID# is to be used solely for voting only those Claims described in Item 1 of
your electronic Ballot. Please complete and submit an electronic Ballot for each E-Ballot ID# you
receive, as applicable. Creditors who cast a Ballot using the E-Ballot Platform should NOT also
submit a paper Ballot.
       Use of Hard Copy Ballot—If Submitting Your Vote Through Standard or Overnight
Mail or Personal Delivery:
       Submit your completed and signed Ballot by standard mail using the pre-addressed
envelope included in the Solicitation Package, or by overnight mail or personal delivery to:

                           Boy Scouts of America Ballot Processing
                                 c/o Omni Agent Solutions
                              5955 De Soto Avenue, Suite 100
                                 Woodland Hills, CA 91367

       The Solicitation Agent will tabulate all properly completed Ballots received on or
before the Voting Deadline.

       2.      To fill out your Ballot, you must complete the following:

              a.     Item 1 (Amount of Claim). Please note that, except as otherwise set
forth in the Disclosure Statement and Solicitation Procedures Order, each Indirect Abuse
Claim in Class 9 has been allowed in the amount of $1.00 for voting purposes only, and shall


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not be binding upon the holder of the Indirect Abuse Claim, the Debtors, the Settlement
Trust, or any other party for any purpose other than voting on the Plan.

                 b.     Item 2 (Vote on the Plan). Cast one vote to accept or reject the Plan by
checking the appropriate box in Item 2. You must vote the entire amount of your Indirect Abuse
Claim either to accept (i.e., vote in favor of) or reject (i.e., vote against) the Plan and you may not
split your vote. Accordingly, any vote within a single Class that attempts partially to accept and
partially reject the Plan will not be counted.

               c.       If you hold Claims in more than one class, you may receive more than one
Ballot or Solicitation Package, labeled for a different class of Claims. Your vote will be counted
in determining acceptance or rejection of the Plan by a particular class of Claims only if you
complete, sign, and return the Ballot labeled for such class of Claims in accordance with the
instructions on that Ballot.

               d.      Item 3 (Releases). Pursuant to Article X of the Plan, the Debtors seek
approval of the release provision set forth in Article X.J.4 of the Plan and provided above. Holders
of Indirect Abuse Claims who vote to accept or reject the Plan may opt out of this release by
checking the box in Item 3.

 IF THE PLAN BECOMES EFFECTIVE, AS A HOLDER OF AN INDIRECT ABUSE
 CLAIM UNDER THE PLAN, IF YOU VOTE TO ACCEPT OR REJECT THE PLAN
 YOU ARE DEEMED TO PROVIDE THE RELEASES CONTAINED IN ARTICLE X.J.4
 OF THE PLAN, AS SET FORTH ABOVE, UNLESS YOU CHECK THE BOX IN ITEM
 3 TO OPT OUT OF THE RELEASES.

                e.      Item 4 (Certifications, Acknowledgement, Signature, and Date). Either
the claimant, the claimant’s personal representative, or the claimant’s attorney must sign the
Ballot. If the Ballot is not signed, the vote shown on the Ballot will not be counted.

                f.      Claimants with Social Security Numbers must provide the last four digits
of their Social Security Number in Item 4 of the Ballot.

                g.     The claimant, the claimant’s personal representative, or the claimant’s
attorney, must certify certain information on the Ballot. Please read the certifications below and
ensure that the information on the Ballot meets the requirements of those certifications.

               h.      By signing the Ballot, you make the following certifications on information
and belief:

                       (i)     I have the power and authority to vote to accept or reject the Plan,

                       (ii)    I am the holder (or am entitled to vote on behalf of such holder) of
                               the Indirect Abuse Claim described in Item 1 as of the Voting
                               Record Date,


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                       (iii)   I have not submitted any other Ballots for other Class 9 Indirect
                               Abuse Claims, or if I have submitted any other Ballots with respect
                               to such Claims, then any such Ballots date earlier in time are hereby
                               revoked,
                       (iv)    I acknowledge that a vote to accept the Plan constitutes an
                               acceptance of the treatment of my Claim as a Class 9 Claim,
                       (v)     I understand and, if accepting the Plan, agree with the treatment
                               provided for my Claim(s) under the Plan,
                       (vi)    I understand and acknowledge that if multiple Ballots are submitted
                               voting the Claim set forth in Item 1, only the last properly completed
                               Ballot voting the Claim and received by the Solicitation Agent
                               before the Voting Deadline shall be deemed to reflect the voter’s
                               intent and thus to supersede and revoke any prior Ballots received
                               by the Solicitation Agent, and
                       (vii)   all authority conferred or agreed to be conferred pursuant to this
                               Ballot, and every obligation of the undersigned hereunder, shall be
                               binding on the transferees, successors, assigns, heirs, executors,
                               administrators, trustees in bankruptcy, and legal representatives of
                               the undersigned, and shall not be affected by, and shall survive, the
                               death or incapacity of the undersigned.            The undersigned
                               understands that an otherwise properly completed, executed, and
                               timely returned Ballot failing to indicate either acceptance or
                               rejection of the Plan, or indicating both acceptance and rejection of
                               the Plan, will not be counted.

       3.      Other Instructions for Completing the Ballots:

               a.      The Ballot does not constitute, and shall not be deemed to be, a Proof of
Claim or Interest or an assertion or admission of a Claim or Interest.

               b.       The Ballot is not a letter of transmittal and may not be used for any purpose
other than to vote to accept or reject the Plan.

              c.      If you submit more than one Ballot voting the same Claim prior to the
Voting Deadline, the latest received, properly executed Ballot submitted to the Solicitation Agent
and received by the Solicitation Agent before the Voting Deadline will supersede and revoke any
prior Ballot.

               d.     To the extent you have received two (2) or more duplicative Ballots on
account of the same Indirect Abuse Claim, please note that each claimant is authorized to submit
only one Ballot on account of such Claim.

             e.      In the event that (a) the Debtors revoke or withdraw the Plan, or (b) the
Confirmation Order is not entered or consummation of the Plan does not occur, this Ballot shall

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automatically be null and void and deemed withdrawn without any requirement of affirmative
action by or notice to you.

                f.      There may be changes made to the Plan that do not cause material adverse
effects on an accepting Class. If such non-material changes are made to the Plan, the Debtors will
not resolicit votes for acceptance or rejection of the Plan.

  NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
  ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
  CONTAINED IN THE MATERIALS INCLUDED WITH THIS BALLOT OR
  OTHER MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.

  IF YOU HAVE ANY QUESTIONS REGARDING THE BALLOT, DID NOT
  RECEIVE INSTRUCTIONS REGARDING ACCESSING THE DISCLOSURE
  STATEMENT OR PLAN, RECEIVED A DAMAGED BALLOT OR HAVE LOST
  YOUR BALLOT, OR NEED ADDITIONAL COPIES OF THE BALLOT OR
  OTHER ENCLOSED MATERIALS, PLEASE CONTACT THE SOLICITATION
  AGENT AT:

  TELEPHONE:            866-907-2721
  EMAIL:                BSAballots@omniagnt.com
  ADDRESS:              Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions,
                        5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367
  WEBSITE:              https://omniagentsolutions.com/BSA




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                          Exhibit 3

             Form of Confirmation Hearing Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                                 Debtors.
                                                            Hearing Date: [●], 2021 at 10:00 a.m. (ET)
                                                            Objection Deadline: [●], 2021 at 4:00 p.m. (ET)

             NOTICE OF HEARING TO CONSIDER CONFIRMATION OF
        MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION
            FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

       PLEASE TAKE NOTICE THAT on [●], 2021, the above-captioned debtors and debtors-
in-possession (together, the “Debtors”) filed:

                 the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
                  America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits
                  thereto, and as may be modified, amended, or supplemented from time to time, the
                  “Plan”);2 and

                 the Amended Disclosure Statement for the Modified Fifth Amended Chapter 11 Plan
                  of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]]
                  (together with all schedules and exhibits thereto, and as may be modified, amended,
                  or supplemented from time to time, the “Disclosure Statement”).

       The Plan is supported by the Future Claimants’ Representative, the Creditors’
Committee, the Coalition, and the Ad Hoc Committee of Local Councils (the “Supporting
Parties”).

       The Plan contains releases of the Debtors and certain third parties and related
injunction provisions. If the Plan is approved, these provisions will release and prohibit
holders of Abuse Claims from asserting such claims against the BSA and certain non-debtor
third parties, including the Local Councils, Contributing Chartered Organizations,
including TCJC, Settling Insurance Companies, including Hartford, and Participating
Chartered Organizations, solely with respect to Post-1975 Chartered Organization Abuse
Claims. The Channeling Injunction will “channel” to the Settlement Trust all Abuse Claims
against the BSA and certain non-debtor third parties, including the Local Councils,

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      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan, the
      Disclosure Statement, or the Solicitation Procedures (as defined below), as applicable.
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Contributing Chartered Organizations, Settling Insurance Companies, and Participating
Chartered Organizations, solely with respect to Post-1975 Chartered Organization Abuse
Claims. The Settlement Trust will exclusively administer and resolve the Abuse Claims after
the Effective Date. The Debtors and the Supporting Parties all support Confirmation of the
Plan. The Debtors and the Supporting Parties all believe that the Plan provides the highest and
best recovery for all creditors and is in the best interests of the Debtors’ Estates. You should
carefully review the Plan and the release, injunction, and related provisions at
https://omniagentsolutions.com/BSA.

       PLEASE TAKE FURTHER NOTICE THAT:

        1.      Approval of Disclosure Statement. On [●], 2021, the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) entered an order [D.I. [●]] (the
“Solicitation Procedures Order”) approving the Disclosure Statement. The Solicitation Procedures
Order, among other things, authorizes the Debtors to solicit votes to accept or reject the Plan and
establishes procedures related thereto (the “Solicitation Procedures”).

        2.      Confirmation Hearing. The Bankruptcy Court has scheduled a hearing to consider
whether to confirm the Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the
“Confirmation Hearing”), which shall continue to the extent necessary on [●], 2021 at 10:00 a.m.
(Eastern Time). The Confirmation Hearing will be held before the Honorable Laurie Selber
Silverstein, United States Bankruptcy Judge, at the Bankruptcy Court, located at 824 North Market
Street, Sixth Floor, Courtroom No. 2, Wilmington, Delaware 19801. Please be advised that the
Confirmation Hearing may be adjourned or continued from time to time by the Bankruptcy
Court or the Debtors without further notice other than as indicated in any notice or agenda
of matters scheduled for a particular hearing that is filed with the Bankruptcy Court. If the
Confirmation Hearing is continued, the Debtors will post the new date and time of the
Confirmation Hearing at https://omniagentsolutions.com/BSA. The Plan may be modified, if
necessary, prior to, during, or as a result of the Confirmation Hearing, without further notice to
creditors or other parties in interest, unless such notice is required by the Bankruptcy Code,
Bankruptcy Rules, or other applicable law.

       3.      Voting Record Date. Holders of Claims against the Debtors in Class 3A (2010
Credit Facility Claims), Class 3B (2019 RCF Claims), Class 4A (2010 Bond Claims), Class 4B
(2012 Bond Claims), Class 5 (Convenience Claims), Class 6 (General Unsecured Claims), Class
7 (Non-Abuse Litigation Claims), Class 8 (Direct Abuse Claims), and Class 9 (Indirect Abuse
Claims) (each, a “Voting Class” and, collectively, the “Voting Classes”) as of [●], 2021 (the
“Voting Record Date”) are entitled to vote on account of such Claims. However, a holder of a
Claim in a Voting Class is nonetheless not entitled to vote under the following circumstances:

               (a)    a Claim filed for $0.00 is not entitled to vote on the Plan, excluding the
                      holders of Direct Abuse Claims and Indirect Abuse Claims. Each holder of
                      a Direct Abuse Claim and Indirect Abuse Claim who is entitled to vote shall
                      have a single vote in the amount, for voting purposes only, of $1.00 in the
                      aggregate per claimant or as otherwise ordered by the Bankruptcy Court
                      pursuant to Section IV.E of the Solicitation Procedures;




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               (b)     as of the Voting Record Date, such holder’s Claim that has been expunged,
                       disallowed, disqualified, withdrawn, or superseded;

               (c)     as of the Solicitation Date, such holder’s Claim is the subject of a pending
                       objection filed with the Bankruptcy Court, other than a “reclassify” or
                       “reduce and allow” objection (a “Disputed Claim”), pending the occurrence
                       of a Resolution Event as provided in the Solicitation Procedures;

               (d)     a Claim that is not listed on the Debtors’ Schedules, or a Claim that is
                       scheduled as contingent, unliquidated, or disputed and has not been paid or
                       superseded by a timely filed Proof of Claim; and

               (e)     a holder of a Disputed Claim whose claim has not been resolved through a
                       Resolution Event.

       4.      Calculation of Votes with Respect to Direct and Indirect Abuse Claims. Pursuant
to the Solicitation Procedures, all Direct and Indirect Abuse Claims in Class 8 and Class 9 of the
Plan will be temporarily allowed in the amount of $1.00 in the aggregate per claimant or as
otherwise ordered by the Bankruptcy Court, solely for purposes of voting to accept or reject the
Plan and not for any other purpose.

        5.       Voting Deadline. All votes to accept or reject the Plan must be actually received
by the Debtors’ solicitation agent, Omni Agent Solutions (the “Solicitation Agent”), by [●], 2021
at 4:00 p.m. (Eastern Time) (the “Voting Deadline”). If you are entitled to vote to accept or
reject the Plan, an appropriate ballot and voting instructions have been included in the package of
materials containing this Notice, or, alternatively, such items may have been sent to your attorney.
You must return your Ballot to the address specified in the instructions accompanying the Ballot
so that it is received by the Solicitation Agent no later than the Voting Deadline. If you do not
return your Ballot so that it is actually received by the Solicitation Agent by the Voting
Deadline, your vote may not be counted. Any failure to follow the voting instructions included
with the Ballot may disqualify your Ballot and your vote. If you have not received a Ballot and
are entitled to vote on the Plan, you may request a Ballot and voting instructions from the
Solicitation Agent by (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721,
(b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing,
c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or
(d) submitting       an     inquiry     on     the     Debtors’     restructuring     website     at
https://omniagentsolutions.com/bsa, and submit your Ballot as set forth above so that it is received
by the Voting Deadline. All submitted Ballots will be tabulated according to the rules set forth in
the Solicitation Procedures as approved in the Solicitation Procedures Order.

        6.      Documents. The Plan, the Disclosure Statement, and the Solicitation Procedures
Order may be accessed, free of charge, at https://omniagentsolutions.com/BSA. If you would like
copies of the Plan, the Disclosure Statement, the Solicitation Procedures Order, or other documents
related to the Plan, free of charge, you may obtain these documents from the Solicitation Agent
by: (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721, (b) emailing
BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing, c/o Omni
Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting



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an inquiry on the Debtors’ restructuring website at https://omniagentsolutions.com/BSA. You
may also access from these materials for a fee via PACER at http://www.deb.uscourts.gov/.

        7.      Plan Supplement. The Debtors will file the Plan Supplement no later than [●],
2021. The Plan Supplement will include: (a) the Amended BSA Bylaws; (b) the Assumed
Contracts and Unexpired Leases Schedule; (c) the form of the BSA Settlement Trust Note; (d) the
form of the Document Agreement; (e) the form of the DST Agreement; (f) the form of the DST
Note; (g) the name of the Creditor Representative; (h) changes, if any, to Reorganized BSA’s
directors and officers; (i) the form of the Foundation Loan Agreement; (j) the form of agreement
reflecting the terms of the Leaseback Requirement; (k) the Rejected Contracts and Unexpired
Leases Schedule; (l) the forms of the Restated 2010 Bond Documents; (m) the forms of the
Restated 2012 Bond Documents; (n) the forms of the Restated Credit Facility Documents; (o) the
form of the Restated Security Agreement; (p) the names of the initial members of the Settlement
Trust Advisory Committee; and (q) the name of the initial Special Reviewer; provided that the
Plan Documents listed in clauses (b) and (k) of the foregoing sentence will be revised, in the
Debtors’ discretion, subject to Article VI of the Plan, to account for any additional Executory
Contracts or Unexpired Leases to be assumed or rejected in advance of the Confirmation Hearing.
The Plan Supplement shall be served only on those parties that have requested notice in the Chapter
11 Cases pursuant to Bankruptcy Rule 2002 and any party in interest who requests in writing a
copy from counsel to the Debtors. Once the Plan Supplement is filed, a copy will also be available
for review on the Notice and Claims Agent’s website free of charge at
https://omniagentsolutions.com/BSA.

        8.      Holders of Direct Abuse Claims Represented by Attorneys. If your attorney has
elected to record your vote on the Plan, your attorney may reach out to you to collect or record
your vote to accept or reject the Plan in advance of the Voting Deadline and you should respond
promptly to any communications from your attorney. If you are a holder of a Direct Abuse Claim
represented by an attorney but have received your Ballot and package of solicitation materials from
the Solicitation Agent, you must return your completed Ballot to the Solicitation Agent by the
Voting Deadline in order for your vote to count.

        9.      Parties in Interest Not Entitled to Vote. Pursuant to the Plan, holders of
Unimpaired Claims are presumed to accept the Plan are not entitled to vote and will not receive a
Ballot. Such holders will instead receive a Notice of Non-Voting Status. The holders of
Administrative Expense Claims and Priority Tax Claims, which are unclassified under the Plan
(collectively, the “Unclassified Claims”) will also receive Notice of Non-Voting Status. If you
have filed a Proof of Claim that is subject to an objection other than a “reclassify” or “reduce and
allow” objection that is filed with the Bankruptcy Court on or before the Solicitation Date (as
defined above, a “Disputed Claim”), you will receive a Disputed Claim Notice and a Solicitation
Package, although you will not be entitled to have your vote to accept or reject the Plan be counted
unless a Resolution Event occurs as provided in the Solicitation Procedures. If you seek to
challenge the disallowance or estimation of your Disputed Claim for voting purposes, you must
file with the Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a),
temporarily allowing such claim for purposes of voting to accept or reject the Plan (a “Rule 3018(a)
Motion”). Any Rule 3018(a) Motion must be filed with the Bankruptcy Court and served on the
Debtors on or before [●], 2021. If a holder of a Disputed Claim files a timely Rule 3018(a) Motion,
such holder’s Ballot shall not be counted unless a Resolution Event occurs with respect to such
Disputed Claim prior to [●], 2021 or as otherwise ordered by the Bankruptcy Court.

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        10.     Chartered Organizations. Under the Plan, each Chartered Organization shall
automatically be deemed to be a Participating Chartered Organization under the Plan unless it
(1) submits the opt out election form attached to the Frequently Asked Questions (FAQ) and
Summary Regarding Chartered Organizations Under the BSA’s Chapter 11 Plan on or before the
Plan Objection Deadline (as defined below), which each Chartered Organization should receive
concurrently with this notice, (2) objects to confirmation of the Plan on or before the Plan
Objection Deadline in accordance with the procedures set forth in this notice, or (3) is a debtor in
bankruptcy as of the date of confirmation of the Plan. Participating Chartered Organizations shall
receive certain limited protections under the Channeling Injunction, including the channeling of
all Abuse Claims against such Participating Chartered Organizations that relate to Abuse alleged
to have first occurred on or after January 1, 1976, in exchange for contribution to the Settlement
Trust of Participating Chartered Organizations’ rights under Abuse Insurance Policies issued on
or after January 1, 1976.

        11.     Objections to Confirmation. If you would like to object to the Plan, you may do
so by filing your objection no later than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan
Objection Deadline”). Any objections or responses to confirmation of the Plan, must: (a) be in
writing; (b) state the name and address of the objecting party and the nature and amount of the
Claim of such party; (c) state with particularity the legal and factual basis and nature of any
objection to the Plan and include any evidentiary support therefor; and (d) be filed with the
Bankruptcy Court, 824 North Market Street, Third Floor, Wilmington, Delaware 19801 together
with proof of service on or before the Plan Objection Deadline, and served so as to be actually
received by the parties below on or before the Plan Objection Deadline, which service may be
through the CM/ECF system, with courtesy copies by email:

   (a)         counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the Americas, New
               York, New York 10020 (Attn: Jessica C. Lauria (jessica.lauria@whitecase.com)),
               and 111 South Wacker Drive, Chicago, Illinois 60606 (Attn: Michael C. Andolina
               (mandolina@whitecase.com), Matthew E. Linder (mlinder@whitecase.com), and
               Blair Warner (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht &
               Tunnell LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
               Delaware 19899-1347 (Attn: Derek C. Abbott (dabbott@morrisnichols.com),
               Andrew R. Remming (aremming@morrisnichols.com), and Paige N. Topper
               (ptopper@morrisnichols.com));

         (b)   the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware
               19801 (Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov) and Hannah
               M. McColllum (hannah.mccollum@usdoj.gov));

         (c)   counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones LLP,
               919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19801 (Attn:
               James I. Stang (jstang@pszjlaw.com), John A. Morris (jmorris@pszjlaw.com),
               James E. O’Neill (joneill@pszjlaw.com), and John W. Lucas
               (jlucas@pszjlaw.com));

         (d)   counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel LLP, 1177
               Avenue of the Americas, New York, New York 10036 (Attn: Thomas Moers Mayer
               (tmayer@kramerlevin.com), Rachael Ringer (rringer@kramerlevin.com), David E.

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               Blabey,     Jr.    (dblabey@kramerlevin.com),   Jennifer    R.              Sharret
               (jsharret@kramerlevin.com),      and        Megan        M.                 Wasson
               (mwasson@kramerlevin.com));

       (e)     counsel to the Future Claimants’ Representative, Young Conaway Stargatt &
               Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801 (Attn: Robert
               S. Brady (rbrady@ycst.com), Edwin J. Harron (eharron@ycst.com), and Sharon
               M. Zieg (szieg@ycst.com)); and

       (f)     counsel to JPMorgan Chase Bank National Association, Norton Rose Fulbright US
               LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn: Kristian W. Gluck
               (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

        12. The Bankruptcy Court has approved the following dates and deadlines in
connection with the solicitation of votes on the Plan.

                        Event                                             Date
 Voting Record Date                                     [●], 2021
 Deadline to Distribute Solicitation Packages           [●], 2021
 Rule 3018 Motion Deadline                              [●], 2021
 Publication Deadline                                   [●], 2021
 Plan Supplement Deadline                               [●], 2021
                                                        [●], 2021 or as otherwise ordered by the
 Voting Resolution Event Deadline
                                                        Bankruptcy Court
 Voting Deadline                                        [●], 2021 at 4:00 p.m. (Eastern Time)
 Preliminary Voting Report Deadline                     [●], 2021
 Plan Objection Deadline                                [●], 2021 at 4:00 p.m. (Eastern Time)
 Final Voting Report Deadline                           [●], 2021
 Deadline to File Confirmation Briefs and Replies       [●], 2021
 Confirmation Hearing                                   [●], 2021

        13.     Please be advised that the Plan provides for the issuance of a “Channeling
Injunction” pursuant to section 105(a) of the Bankruptcy Code. Additionally, Article X of the Plan
contains certain release, injunction, and exculpation provisions, which will become effective if the
Plan is approved and described in Article VI.Q of the Disclosure Statement. Such provisions
include the following:


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        a.      Discharge Injunction. From and after the Effective Date, except as expressly
provided in the Plan or the Confirmation Order, all holders of Claims or Interests of any
nature whatsoever against or in the Debtors or any of their assets or properties based upon
any act, omission, transaction, occurrence, or other activity of any nature that occurred prior
to the Effective Date that are discharged pursuant to the terms of the Plan shall be precluded
and permanently enjoined from taking any of the following actions on account of, or on the
basis of, such discharged Claims and Interests: (a) commencing or continuing any action or
other proceeding of any kind against the Debtors, Reorganized BSA, the Settlement Trust,
or its or their respective property; (b) enforcing, attaching, collecting, or recovering by any
manner or means of judgment, award, decree or other against the Debtors, Reorganized
BSA, the Settlement Trust, or its or their respective property; (c) creating, perfecting or
enforcing any Lien or Encumbrance of any kind against the Debtors, Reorganized BSA, the
Settlement Trust, or its or their respective property; or (d) commencing or continuing any
judicial or administrative proceeding, in any forum and in any place in the world, that does
not comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.
The foregoing injunction shall extend to the successors and assigns of the Debtors (including
Reorganized BSA) and its and their respective properties and interests in property. In
accordance with the foregoing, except as expressly provided in the Plan or the Confirmation
Order, the Confirmation Order shall be a judicial determination of discharge or termination
of all Claims, Interests and other debts and liabilities against or in the Debtors pursuant to
sections 105, 524 and 1141 of the Bankruptcy Code, and such discharge shall void any
judgment obtained against the Debtors at any time to the extent such judgment relates to a
discharged Claim or Interest.

        b.        Releases by the Debtors and the Estates.

              Releases by the Debtors and the Estates of the Released Parties. As of the
Effective Date, except for the rights that remain in effect from and after the Effective Date
to enforce the Plan and the Confirmation Order, pursuant to section 1123(b) of the
Bankruptcy Code, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties3 to facilitate and implement the
reorganization of the Debtors and the settlements embodied in the Plan, including the Abuse
Claims Settlement, the JPM / Creditors’ Committee Settlement, the Hartford Insurance
Settlement,4 and the TCJC Settlement, as an integral component of the Plan, the Debtors,
Reorganized BSA, and the Estates shall, and shall be deemed to, expressly, conclusively,
absolutely, unconditionally, irrevocably, and forever release and discharge each and all of
the Released Parties of and from any and all Estate Causes of Action that do not constitute

3
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J of the Plan.
4
    “Hartford Insurance Settlement” has the meaning ascribed to such term in Article V.S.4 of the Plan.

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Settlement Trust Causes of Action, any and all other Claims, Interests, obligations, rights,
demands, suits, judgments, damages, debts, remedies, losses and liabilities of any nature
whatsoever (including any derivative claims or Causes of Action asserted or that may be
asserted on behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or
unliquidated, fixed or contingent, matured or unmatured, known or unknown, foreseen or
unforeseen, existing or hereinafter arising, in law, equity, contract, tort or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, any act, omission,
transaction, event, or other circumstance taking place or existing on or before the Effective
Date (including before the Petition Date) in connection with or related to the Debtors, the
Estates, their respective assets and properties, the Chapter 11 Cases, the subject matter of,
or the transactions or events giving rise to, any Claim or Interest that is treated by the Plan,
the business or contractual arrangements between one or both of the Debtors and any
Released Party, the restructuring of any Claim or Interest that is treated by the Plan before
or during the Chapter 11 Cases, any of the Plan Documents, the JPM / Creditors’ Committee
Settlement, the Hartford Insurance Settlement, the TCJC Settlement, or any related
agreements, instruments, and other documents created or entered into before or during the
Chapter 11 Cases or the negotiation, formulation, preparation or implementation thereof,
the pursuit of Confirmation, the administration and implementation of the Plan, the
solicitation of votes with respect to the Plan, the Distribution of property under the Plan, or
any other act or omission, transaction, agreement, event, or other occurrence taking place
on or before the Effective Date related or relating to the foregoing. Notwithstanding
anything to the contrary in the foregoing, the releases set forth in Article X.J.1 of the Plan
shall not, and shall not be construed to: (a) release any Released Party from Causes of Action
arising out of, or related to, any act or omission of a Released Party that is a criminal act or
that constitutes fraud, gross negligence or willful misconduct; or (b) release any post-
Effective Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan.

               Releases by the Debtors and the Estates of Certain Avoidance Actions. As of
the Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.

          c.       Releases by the Debtors and the Estates of the Local Councils, the
    Contributing Chartered Organizations, and the Participating Chartered Organizations. In
    furtherance of the Abuse Claims Settlement,5 on the Effective Date, for good and valuable
    consideration, the adequacy of which is hereby confirmed, the Debtors, on their own behalf
    and as representatives of their respective Estates, and Reorganized BSA, are deemed to
    irrevocably and unconditionally, fully, finally, and forever waive, release, acquit, and
    discharge each and all of the Local Councils, the Contributing Chartered Organizations
    and the Participating Chartered Organizations of and from any and all claims, causes of
    action, suits, costs, debts, liabilities, obligations, dues, sums of money, accounts, reckonings,

5
      “Abuse Claims Settlement” has the meaning ascribed to such term in Article V.S of the Plan.

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    bonds, bills, covenants, contracts, controversies, agreements, promises, damages,
    judgments, executions and demands whatsoever, of whatever kind or nature (including
    those arising under the Bankruptcy Code), whether known or unknown, suspected or
    unsuspected, in law or in equity, which the Debtors, their Estates, or Reorganized BSA have,
    had, may have, or may claim to have: (a) against any of the Local Councils and Contributing
    Chartered Organizations with respect to any Abuse Claims and (b) against any of the
    Participating Chartered Organizations with respect to any Post-1975 Chartered
    Organization Abuse Claims (collectively, the “Scouting Released Claims”).

        d.      Releases by Holders of Abuse Claims. As of the Effective Date, except for the
rights that remain in effect from and after the Effective Date to enforce the Plan and the
Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code, for good and
valuable consideration, the adequacy of which is hereby confirmed, including the service of
the Protected Parties6 and the Limited Protected Parties7 to facilitate and implement the
reorganization of the Debtors, including the settlements embodied in the Plan, including the
Abuse Claims Settlement, as an integral component of the Plan, and except as otherwise
expressly provided in the Plan or the Confirmation Order, to the maximum extent permitted
under applicable law, as such law may be extended subsequent to the Effective Date, all
holders of Abuse Claims shall, and shall be deemed to, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever discharge and release: (a) each and all of the
Protected Parties and their respective property and successors and assigns of and from all
Abuse Claims and any and all Claims and Causes of Action whatsoever, whether known or
unknown, asserted or unasserted, derivative or direct, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, or otherwise, whether for tort, fraud, contract, veil
piercing or alter-ego theories of liability, successor liability, contribution, indemnification,
joint liability, or otherwise, arising from or related in any way to such Abuse Claims; and
(b) each and all of the Limited Protected Parties and their respective property and successors
and assigns of and from all Post-1975 Chartered Organization Abuse Claims and any and
all Claims and Causes of Action whatsoever, whether known or unknown, asserted or
unasserted, derivative or direct, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, or otherwise, whether for tort, fraud, contract, veil piercing or alter-ego theories
of liability, successor liability, contribution, indemnification, joint liability, or otherwise,
arising from or related in any way to such Post-1975 Chartered Organization Abuse Claims;
provided, however, that the releases set forth in Article X.J.3 of the Plan shall not, and shall
6
      “Protected Parties” means the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-
      Debtor Entities; (d) the Local Councils; (e) the Contributing Chartered Organizations; (f) the Settling Insurance
      Companies, including Hartford; and (g) all of such Persons’ Representatives; provided, however, that no
      Perpetrator is or shall be a Protected Party. Notwithstanding the foregoing, a Contributing Chartered Organization
      shall be a Protected Party with respect to Abuse Claims only as set forth in the definition of “Abuse Claim.”
7
      “Limited Protected Parties” means the Participating Chartered Organizations, which means a Chartered
      Organization that does not (a) object to confirmation of the Plan or (b) inform Debtors’ counsel in writing on or
      before the confirmation objection deadline that it does not wish to make the Participating Chartered Organization
      Insurance Assignment. Notwithstanding the foregoing, with respect to any Chartered Organization that is a debtor
      in bankruptcy as of the Confirmation Date, such Chartered Organization shall be a Participating Chartered
      Organization only if it advises Debtors’ counsel in writing that it wishes to make the Participating Chartered
      Organization Insurance Assignment, and, for the avoidance of doubt, absent such written advisement, none of
      such Chartered Organization’s rights to or under the Abuse Insurance Policies shall be subject to the Participating
      Chartered Organization Insurance Assignment. A list of Chartered Organizations that are not Participating
      Chartered Organizations is attached to the Plan as Exhibit K.

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not be construed to: (i) release any Protected Party or Limited Protected Party from Causes
of Action arising out of, or related to, any act or omission of a Released Party that is a
criminal act or that constitutes fraud, gross negligence or willful misconduct; (ii) release any
post-Effective Date obligations of any Person under the Plan Documents or any document,
instrument, or agreement executed to implement the Plan; or (iii) modify, reduce, impair or
otherwise affect the ability of any holder of an Abuse Claim to recover on account of such
Claim in accordance with Article III. B.10 or Article III.B.11 of the Plan, as applicable.

        e.     Releases by Holders of Claims. As of the Effective Date, except for the rights
that remain in effect from and after the Effective Date to enforce the Plan and the
Confirmation Order, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties to facilitate and implement the
reorganization of the Debtors and the settlements embodied in the Plan, including the JPM /
Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the TCJC
Settlement, as an integral component of the Plan, and except as otherwise expressly provided
in the Plan or the Confirmation Order, to the maximum extent permitted under applicable
law, as such law may be extended subsequent to the Effective Date, all Releasing Claim
Holders8 shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any derivative
claims or Causes of Action asserted or that may be asserted on behalf of the Debtors,
Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter
arising, in law, equity, contract, tort or otherwise, based on or relating to, or in any manner
arising from, in whole or in part, any act, omission, transaction, event, or other circumstance
taking place or existing on or before the Effective Date (including before the Petition Date)
in connection with or related to the Debtors, the Estates, their respective assets and
properties, the Chapter 11 Cases, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the

8
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,
    employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
    consultants, representatives, management companies, and other professionals, and all such Persons’ respective
    heirs, executors, estates, servants and nominees, in their respective capacities as such.

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Effective Date related or relating to the foregoing; provided, however, that the releases set
forth in Article X.J.4 of the Plan shall not, and shall not be construed to: (a) release any
Released Party from Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct; (b) release any post-Effective Date obligations of any Person under the Plan
Documents or any document, instrument, or agreement executed to implement the Plan; or
(c) modify, reduce, impair or otherwise affect the ability of any holder of an Allowed Non-
Abuse Litigation Claim to recover on account of such Allowed Claim in accordance with
Article III.B.9 of the Plan. Notwithstanding the foregoing or anything to the contrary herein,
(i) with respect to holders of Allowed General Unsecured Claims or Allowed Non-Abuse
Litigation Claims, nothing in the Plan or the release set forth in Article X.J.4 of the Plan
shall, or shall be construed to, release any claims or Causes of Action against any Local
Council, Chartered Organization, or Non-Settling Insurance Company (subject to Article
IV.D.3 of the Plan) and (ii) nothing in the Plan or the release set forth in Article X.J.4 of the
Plan shall, or shall be construed to, release any claims or Causes of Action asserted by
Century Indemnity Company against Sidley Austin LLP (“Sidley”) related to Sidley’s
representation of the Debtors prior to the Petition Date.

        f.       Releases Relating to Contributing Chartered Organizations.

               In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement,9 for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Contributing
Chartered Organizations, including TCJC, shall, and shall be deemed to, expressly,
conclusively, absolutely, unconditionally, irrevocably, and forever release and discharge the
Debtors, Reorganized BSA, the Related Non-Debtor Entities, the Local Councils, the other
Protected Parties, the Limited Protected Parties, the Settling Insurance Companies,
including Hartford, the Future Claimants’ Representative, the Coalition, the Settlement
Trust, and each of its and their respective Representatives (collectively, the “Settlement
Parties”), of and from any and all Claims, Interests, obligations, rights, demands, suits,
judgments, damages, debts, remedies, losses and liabilities of any nature whatsoever
(including any derivative claims or Causes of Action asserted or that may be asserted on
behalf of the Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated,
fixed or contingent, matured or unmatured, known or unknown, foreseen or unforeseen,
existing or hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating
to, or in any manner arising from, in whole or in part, any act, omission, transaction, event,
or other circumstance taking place or existing on or before the date that the Confirmation
Order and Affirmation Order become Final Orders (including before the Petition Date) in
connection with or related to (i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or


9
    “TCJC Settlement Agreement” means that certain settlement agreement, which remains subject to definitive
    documentation, by and between TCJC, the Debtors, the Ad Hoc Committee, the Coalition, the Future Claimants’
    Representative, and certain state court counsel to holders of Direct Abuse Claims, as such agreement is described
    in the term sheet appended to the Sixth Mediators’ Report [D.I. 6210] filed on September 14, 2021. Upon its
    execution by all of the parties thereto, the TCJC Settlement Agreement shall be attached to the Plan as Exhibit
    J-1.

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(iv) any Claims that were or could have been asserted by the Contributing Chartered
Organizations against the Settlement Parties or any of them.

               In furtherance of the Abuse Claims Settlement, as of the date that the
Confirmation Order and Affirmation Order become Final Orders, except for the rights that
remain in effect from and after the Effective Date to enforce the Plan, the Confirmation
Order, and the terms of the TCJC Settlement Agreement, for good and valuable
consideration, the adequacy of which is hereby confirmed, each of the Settlement Parties
shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each of the Contributing Chartered
Organizations, including TCJC, of and from any and all Claims, Interests, obligations,
rights, demands, suits, judgments, damages, debts, remedies, losses and liabilities of any
nature whatsoever, whether liquidated or unliquidated, fixed or contingent, matured or
unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter arising, in
law, equity, contract, tort or otherwise, based on or relating to, or in any manner arising
from, in whole or in part, any act, omission, transaction, event, or other circumstance taking
place or existing on or before the date that the Confirmation Order and Affirmation Order
become Final Orders (including before the Petition Date) in connection with or related to
(i) Abuse Claims, (ii) the Chapter 11 Cases, (iii) the Plan, or (iv) any Claims that were or
could have been asserted by the Settlement Parties against the Contributing Chartered
Organizations or any of them.

         g.       Channeling Injunction.

        Terms. To preserve and promote the settlements contemplated by and provided for
in the Plan, including the Abuse Claims Settlement, the Hartford Insurance Settlement, and
the TCJC Settlement, and to supplement, where necessary, the injunctive effect of the
Discharge as provided in sections 1141 and 524 of the Bankruptcy Code and as described in
Article X of the Plan, pursuant to the exercise of the equitable jurisdiction and power of the
Bankruptcy Court and the District Court under section 105(a) of the Bankruptcy Code, (a)
the sole recourse of any holder of an Abuse Claim against a Protected Party on account of
such Abuse Claim shall be to and against the Settlement Trust pursuant to the Settlement
Trust Documents,10 and such holder shall have no right whatsoever at any time to assert such
Abuse Claim against any Protected Party or any property or interest in property of any
Protected Party, and (b) the sole recourse of any holder of a Post-1975 Chartered
Organization Abuse Claim against a Limited Protected Party on account of such Post-1975
Chartered Organization Abuse Claim shall be to and against the Settlement Trust pursuant
to the Settlement Trust Documents, and such holder shall have no right whatsoever at any
time to assert such Post-1975 Chartered Organization Abuse Claim against any Limited
Protected Party or any property or interest in property of any Limited Protected Party. On
and after the Effective Date, all Persons that have held or asserted, currently hold or assert,
or that may in the future hold or assert, any Abuse Claim against the Protected Parties, or

10
     “Settlement Trust Documents” means, collectively, (a) the Settlement Trust Agreement, (b) the Trust Distribution
     Procedures, (c) the Document Agreement, (d) the Confirmation Order, and (e) any other agreements, instruments
     and documents governing the establishment, administration and operation of the Settlement Trust, which shall be
     substantially in the forms set forth as exhibits in the Plan or in the Plan Supplement, as the same may be amended
     or modified from time to time in accordance with the terms thereof.

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any of them, or any Post-1975 Chartered Organization Abuse Claim against the Limited
Protected Parties, or any of them, shall be permanently and forever stayed, restrained and
enjoined from taking any action for the purpose of directly, indirectly, or derivatively
collecting, recovering, or receiving payment, satisfaction, or recovery from any Protected
Party with respect to any such Abuse Claim or from any Limited Protected Party with
respect to any such Post-1975 Chartered Organization Abuse Claim, other than from the
Settlement Trust pursuant to the Settlement Trust Documents, including:

             (i)      commencing, conducting, or continuing, in any manner, whether
      directly, indirectly, or derivatively, any suit, action, or other proceeding of any kind
      (including a judicial, arbitration, administrative, or other proceeding) in any forum in
      any jurisdiction around the world against or affecting any Protected Party or Limited
      Protected Party or any property or interest in property of any Protected Party or
      Limited Protected Party;

              (ii)   enforcing, levying, attaching (including any prejudgment attachment),
      collecting or otherwise recovering, by any manner or means, either directly or
      indirectly, any judgment, award, decree, or order against or affecting any Protected
      Party or Limited Protected Party or any property or interest in property of any
      Protected Party or Limited Protected Party;

             (iii) creating, perfecting, or otherwise enforcing in any manner, whether
      directly or indirectly, any Encumbrance of any kind against any Protected Party or
      Limited Protected Party or any property or interest in property of any Protected
      Party or Limited Protected Party;

             (iv)   asserting, implementing or effectuating any setoff, right of
      reimbursement, subrogation, indemnity, contribution, reimbursement, or
      recoupment of any kind, in any manner, directly or indirectly, against any obligation
      due to any Protected Party or Limited Protected Party or any property or interest in
      property of any Protected Party or Limited Protected Party; or

             (v)    taking any act in any manner, and in any place whatsoever, that does
      not conform to, or comply with, the provisions of the Plan Documents or the
      Settlement Trust Documents or with regard to any matter that is within the scope of
      the matters designated by the Plan to be subject to resolution by the Settlement Trust,
      except in conformity and compliance with the Settlement Trust Documents with
      respect to any such Abuse Claim or Post-1975 Chartered Organization Abuse Claim.

      Reservations. Notwithstanding anything to the contrary in Article X.F of the Plan,
the Channeling Injunction shall not enjoin:

             (i)    the rights of holders of Abuse Claims or Post-1975 Chartered
      Organization Abuse Claims to assert such Abuse Claims solely against the Settlement
      Trust in accordance with the Trust Distribution Procedures, including the ability to
      pursue the Settlement Trust in the tort system as described in Article XII of the Trust
      Distribution Procedures;



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                (ii)  the rights of holders of Abuse Claims to assert such Abuse Claims
         against anyone other than a Protected Party or, in the case of Post-1975 Chartered
         Organization Abuse Claims, against anyone other than a Limited Protected Party;

               (iii) prior to the date that an Entity (other than an Insurance Company)
         becomes a Protected Party under Article IV.I of the Plan, the right of holders of Abuse
         Claims to assert such Abuse Claims against such Entity;

                 (iv) prior to the date that a Chartered Organization becomes a Limited
         Protected Party under Article IV.J of the Plan, the right of holders of Post-1975
         Chartered Organization Abuse Claims to assert such Abuse Claims against such
         Entity;

                (v)    the rights of holders of Abuse Claims that are not Post-1975 Chartered
         Organization Abuse Claims to assert such Abuse Claims against any Limited
         Protected Party (unless such Limited Protected Party becomes a Protected Party
         under Article IV.I of the Plan);

               (vi)   the right of any Person to assert any Claim, debt, obligation or liability
         for payment of Settlement Trust Expenses solely against the Settlement Trust in
         accordance with the Settlement Trust Documents;

                (vii) the Settlement Trust from enforcing its rights under the Plan and the
         Settlement Trust Documents; or

                (viii) the rights of the Settlement Trust to prosecute any action against any
         Non-Settling Insurance Company based on or arising from Abuse Insurance Policies
         that are not the subject of an Insurance Settlement Agreement, subject to any
         Insurance Coverage Defenses.

         h.       Exculpation.

        From and after the Effective Date, none of the Exculpated Parties11 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s

11
     “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
     Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
     Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
     Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
     and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
     Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
     financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.

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gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

       i.      Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.

        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.


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PLEASE BE ADVISED THAT IF YOUR CLAIM IS UNIMPAIRED UNDER THE
PLAN, YOU WILL BE DEEMED TO HAVE GRANTED THE RELEASES
CONTAINED IN ARTICLE X.J.4 OF THE PLAN UNLESS YOU TIMELY FILE AN
OBJECTION TO THE PLAN.

PLEASE ALSO BE ADVISED THAT IF YOUR CLAIM IS IMPAIRED AND YOU
ARE ELIGIBLE TO VOTE TO ACCEPT OR REJECT THE PLAN AND YOU VOTE
TO ACCEPT OR ACCEPT THE PLAN, YOU WILL BE DEEMED TO HAVE
GRANTED THE RELEASES CONTAINED IN ARTICLE X.J.4 OF THE PLAN
UNLESS YOU TIMELY OPT OUT OF THE RELEASES IN ARTICLE X.J.4 OF THE
PLAN ON YOUR BALLOT.


THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION AGENT
VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT THE
SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.


Dated: [●], 2021

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                            Exhibit 4

                    Form of Publication Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                                 Debtors.
                                                            Hearing Date: [●], 2021, at 10:00 a.m. (ET)
                                                            Objection Deadline: [●], 2021 at 4:00 p.m. (ET)

       NOTICE OF (I) DEADLINE FOR CASTING VOTES TO ACCEPT OR REJECT
          PROPOSED MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF
        REORGANIZATION, (II) HEARING TO CONSIDER CONFIRMATION OF
          PROPOSED MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF
      REORGANIZATION FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA,
                        LLC, AND (III) RELATED MATTERS

       PLEASE TAKE NOTICE THAT on [●], 2021, the above-captioned debtors and debtors-
in-possession (together, the “Debtors”) filed:

                 the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
                  America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits
                  thereto, and as may be modified, amended, or supplemented from time to time, the
                  “Plan”);2 and

                 the Disclosure Statement for the Modified Fifth Amended Chapter 11 Plan of
                  Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]]
                  (together with all schedules and exhibits thereto, and as may be modified, amended,
                  or supplemented from time to time, the “Disclosure Statement”).

       The Plan contains releases of the Debtors and certain third parties and related injunction
provisions. These provisions could release and prohibit holders of Abuse Claims from filing
lawsuits and asserting such claims against the BSA and certain non-debtor third parties, including
Local Councils, Contributing Chartered Organizations, including TCJC, Settling Insurance
Companies, including Hartford, and Participating Chartered Organizations, solely with respect to
Post-1975 Chartered Organization Abuse Claims. Chartered Organizations are organizations that
sponsored a Scouting unit, such as a troop or pack. The Plan provides a mechanism by which
Abuse Claims against the BSA and certain-debtor third parties, including the Local Councils,

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan, the
      Disclosure Statement, or the Solicitation Procedures (as defined below), as applicable.
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Contributing Chartered Organizations, including TCJC, Settling Insurance Companies, including
Hartford, and Participating Chartered Organizations, solely with respect to Post-1975 Chartered
Organization Abuse Claims, will be channeled to a trust established pursuant to section 105(a) of
the Bankruptcy Code.

        Each Chartered Organization will automatically be deemed to be a Participating Chartered
Organization under the Plan unless it (1) submits the opt out election form on or before the Plan
Objection Deadline, (2) objects to confirmation of the Plan in accordance with the Notice of
Hearing to Consider Confirmation of Modified Fifth Amended Chapter 11 Plan of Reorganization
for Boy Scouts of America and Delaware BSA, LLC, attached as Exhibit 3 to the Solicitation
Procedures Order and available at https://omniagentsolutions.com/BSA on or before the Plan
Objection Deadline, or (3) is a debtor in bankruptcy as of the date of confirmation of the Plan.
Participating Chartered Organizations shall receive certain limited protections under the
Channeling Injunction, including the channeling of all Abuse Claims against such Participating
Chartered Organizations that relate to Abuse alleged to have first occurred on or after January 1,
1976, in exchange for contribution to the Settlement Trust of Participating Chartered
Organizations’ rights under Abuse Insurance Policies issued on or after January 1, 1976.

       Confirmation of the Plan is supported by the Debtors, the Future Claimants’
Representative, the Creditors’ Committee, the Coalition, and the Ad Hoc Committee of Local
Councils. You should carefully review the Plan and the applicable release, injunction, and related
provisions at https://omniagentsolutions.com/BSA.

       PLEASE TAKE FURTHER NOTICE THAT:

        1.     On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures Order”) approving
the Disclosure Statement. The Solicitation Procedures Order, among other things, authorizes the
Debtors to solicit votes to accept or reject the Plan and establishes procedures related thereto (the
“Solicitation Procedures”).

        2.      The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No.
2, Wilmington, Delaware 19801.

        3.      Pursuant to the Solicitation Procedures Order, the Bankruptcy Court approved the
Solicitation Procedures, which are attached to the Solicitation Procedures Order as Exhibit 1.
Holders of Claims in Class 3A (2010 Credit Facility Claims), Class 3B (2019 RCF Claims), Class
4A (2010 Bond Claims), Class 4B (2012 Bond Claims), Class 5 (Convenience Claims), Class 6
(General Unsecured Claims), Class 7 (Non-Abuse Litigation Claims), Class 8 (Direct Abuse
Claims), and Class 9 (Indirect Abuse Claims) (collectively, the “Voting Classes”) are entitled to
receive a ballot for casting a vote on the Plan (a “Ballot”). Holders of Claims and Interests in all
other Classes under the Plan are presumed to accept or are deemed to reject the Plan. For a vote
to accept or reject the Plan to be counted, a Ballot must be completed and returned in accordance

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with the instructions provided on the Ballot so that it is received by [●], 2021 at 4:00 p.m.
(Eastern Time) (the “Voting Deadline”).

        4.     Pursuant to the Plan, holders of Claims in the Voting Classes are entitled to vote on
account of their respective Claims. If you have not received a Ballot and are entitled to vote on
the Plan, you may request a Ballot and voting instructions from Omni Agent Solutions (the
Solicitation Agent”), by (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721,
(b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing,
c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or
(d) submitting     an     inquiry      on     the    Debtors’       restructuring     website      at
https://omniagentsolutions.com/BSA, and submit your Ballot as set forth above so that it is
received by the Voting Deadline.

        5.     Pursuant to the Solicitation Procedures, all Direct and Indirect Abuse Claims in
Class 8 and Class 9 of the Plan will be temporarily allowed in the amount of $1.00 in the aggregate
per claimant or as otherwise ordered by the Bankruptcy Court, solely for purposes of voting to
accept or reject the Plan and not for any other purpose. If you have filed a Proof of Claim that is
subject to an objection other than a “reclassify” or “reduce and allow” objection that is filed with
the Bankruptcy Court on or before the Solicitation Date (a “Disputed Claim”) and seek to challenge
the disallowance or estimation of your Disputed Claim for voting purposes, you must file with the
Bankruptcy Court a motion for an order, pursuant to Bankruptcy Rule 3018(a), temporarily
allowing such claim for purposes of voting to accept or reject the Plan (a “Rule 3018(a) Motion”).
Any Rule 3018(a) Motion must be filed with the Bankruptcy Court and served on the Debtors on
or before [●], 2021. If a holder of a Disputed Claim files a timely Rule 3018(a) Motion, such
holder’s Ballot shall not be counted unless a Resolution Event occurs with respect to such Disputed
Claim prior to [●], 2021 or as otherwise ordered by the Bankruptcy Court.

        6.     The Plan proposes certain releases and injunctions in furtherance of the Plan.
The Plan proposes a Channeling Injunction that permanently channels all Abuse Claims
against the Debtors and the Protected Parties and Limited Protected Parties to a Settlement
Trust established pursuant to section 105(a) of the Bankruptcy Code. In addition, the Plan
proposes an injunction that permanently enjoins the pursuit of any claim against or interest
in the Debtors, Reorganized BSA, the Settlement Trust, or its or their respective property to
the extent such claim or interest has been discharged, released, waived, settled, or deemed
satisfied in accordance with the Plan (other than the enforcement of any right pursuant to
the Plan). For the specific terms and conditions of all the releases and injunctions provided
for in the Plan, and the precise scope of the Claims and Demands to be channeled, please
refer to the specific terms of the Plan, which can be obtained as described below.

      7.       If the Plan is approved by the Bankruptcy Court, all current and future holders of
Abuse Claims against the Debtors can request and receive money only from the Settlement Trust.
You should read the Plan and Disclosure Statement carefully for details about how the Plan, if
approved, will affect your rights.

        8.     The Bankruptcy Court has issued the Solicitation Procedures Order describing how
to vote on the Plan, and the Disclosure Statement contains information that will help you decide
how to vote. Your legal rights will be affected if the Plan is approved.

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        9.      Under the Solicitation Procedures approved by the Bankruptcy Court, attorneys for
holders of Direct Abuse Claims may vote on the Plan on behalf of their clients, if authorized by
each client. If you are unsure whether your attorney is authorized to vote on your behalf, please
contact your attorney.

         10.     If you would like to object to the Plan, you may do so by filing your objection no
later than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan Objection Deadline”). Any objections
or responses to confirmation of the Plan, must: (a) be in writing; (b) state the name and address of
the objecting party and the nature and amount of the Claim of such party; (c) state with particularity
the legal and factual basis and nature of any objection to the Plan and include any evidentiary
support therefor; and (d) be filed with the Bankruptcy Court, 824 North Market Street, Third Floor,
Wilmington, Delaware 19801 together with proof of service on or before the Plan Objection
Deadline, and served so as to be actually received by the parties listed in the Confirmation Hearing
Notice (the “Notice Parties”) on or before the Plan Objection Deadline, which service may be
through the CM/ECF system, with courtesy copies by email to the Notice Parties.

 OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PROVIDED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
 BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

        If you would like to review the Plan, the Disclosure Statement, the Solicitation Procedures
Order, or other documents related to the Plan free of charge, you may obtain these documents from
the Solicitation Agent by: (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721,
(b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing,
c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or
(d) submitting     an      inquiry     on      the     Debtors’      restructuring      website   at
https://omniagentsolutions.com/BSA. You may also access from these materials for a fee via
PACER at http://www.deb.uscourts.gov/.




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Dated: [●], 2021

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                     Attorneys for the Debtors and Debtors in Possession




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                          Exhibit 5

               Form of Non-Voting Status Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                                 Debtors.


        NOTICE OF NON-VOTING STATUS TO HOLDERS OF UNCLASSIFIED
        CLAIMS AND HOLDERS OF UNIMPAIRED CLAIMS CONCLUSIVELY
    PRESUMED TO ACCEPT THE MODIFIED FIFTH AMENDED CHAPTER 11 PLAN
             OF REORGANIZATION FOR BOY SCOUTS OF AMERICA
                        AND DELAWARE BSA, LLC

             To:    All Holders of Unclassified Claims and Claims in Classes 1 and 2

                           IMPORTANT NOTICE REGARDING RELEASES

                             HOLDERS OF CLAIMS IN CLASSES 1 AND 2

AS THE HOLDER OF A CLAIM THAT IS UNIMPAIRED UNDER THE PLAN, YOU
ARE PRESUMED TO ACCEPT THE PLAN. YOU ARE ALSO CONCLUSIVELY
PRESUMED TO GRANT THE “RELEASES BY HOLDERS OF CLAIMS” (SET FORTH
BELOW AND IN ARTICLE X.J.4 OF THE PLAN) UNLESS YOU TIMELY FILE AN
OBJECTION TO THE PLAN IN ACCORDANCE WITH THE PROCEDURES BELOW.



                       HOLDERS OF ADMINISTRATIVE EXPENSE CLAIMS
                               AND PRIORITY TAX CLAIMS

    YOUR CLAIM IS UNCLASSIFIED UNDER THE PLAN AND YOU ARE NOT
    ENTITLED TO VOTE TO ACCEPT OR REJECT THE PLAN, BUT YOU WILL NOT
    BE DEEMED TO RELEASE THE RELEASED PARTIES UNDER ARTICLE X.J.4 OF
    THE PLAN.




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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          PLEASE TAKE NOTICE OF THE FOLLOWING:

                             APPROVAL OF DISCLOSURE STATEMENT

            1.     On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
    “Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
    “Solicitation Procedures Order”): (a) approving the Amended Disclosure Statement for the
    Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
    Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
    amended, or supplemented from time to time, the “Disclosure Statement”); (b) establishing the
    Voting Record Date, Voting Deadline, and other related dates in connection with confirmation of
    the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
    Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
    amended, or supplemented from time to time, the “Plan”);2 (c) approving procedures for
    soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan (the
    “Solicitation Procedures”); and (d) approving the form and manner of notice and other related
    documents as they relate to the Debtors.

                                  ENTITLEMENT TO VOTE ON PLAN

        2.      You are receiving this notice because you are the holder of a Claim(s) in Class 1
(Other Priority Claims) and/or Class 2 (Other Secured Claims) under the Plan (the “Unimpaired
Non-Voting Classes”), or you are a holder of an Administrative Expense Claim or Priority Tax
Claim, which are unclassified under the Plan (together, the “Unclassified Claims”). Pursuant to
the terms of Article III of the Plan, holders of Claims in Classes 1 and 2 are Unimpaired and
therefore, pursuant to section 1126(f) of the Bankruptcy Code, you are conclusively presumed
to have accepted the Plan and are not entitled to vote on the Plan. Accordingly, this notice is
being sent to you for informational purposes only. Pursuant to the terms of Article II of the Plan,
holders of Unclassified Claims are not entitled to vote on the Plan and will not be deemed to release
the Released Parties under Article X.J.4 of the Plan. Holders of Claims in the Unimpaired Non-
Voting Classes will be deemed to release the Released Parties from any all Claims and causes of
action to the extent provided in Article X.J.4 of the Plan, unless such parties timely file an objection
to the release no later than the Plan Objection Deadline (as defined below) in accordance with the
procedures set forth below.

                DEADLINE FOR OBJECTIONS TO CONFIRMATION OF PLAN

         3.     The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No.
2, Wilmington, Delaware 19801. Please be advised that the Confirmation Hearing may be
adjourned or continued from time to time by the Bankruptcy Court or the Debtors without

2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan, the
      Disclosure Statement, or the Solicitation Procedures (defined as below), as applicable.


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further notice other than as indicated in any notice or agenda of matters scheduled for a
particular hearing that is filed with the Bankruptcy Court. If the Confirmation Hearing is
continued, the Debtors will post the new date and time of the Confirmation Hearing at
https://omniagentsolutions.com/BSA. The Plan may be modified, if necessary, prior to, during, or
as a result of the Confirmation Hearing, without further notice to creditors or other parties in
interest, unless such notice is required by the Bankruptcy Code, Bankruptcy Rules, or other
applicable law.

         4.      Notwithstanding the fact that you are not entitled to vote to accept or reject the Plan
you nevertheless may be a party in interest in these Chapter 11 Cases and you, therefore, may be
entitled to participate in these Chapter 11 Cases, including by filing objections to confirmation of
the Plan. If you would like to object to the Plan, you may do so by filing your objection no later
than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan Objection Deadline”). Any objections or
responses to confirmation of the Plan, must: (a) be in writing; (b) state the name and address of
the objecting party and the nature and amount of the Claim of such party; (c) state with particularity
the legal and factual basis and nature of any objection to the Plan and include any evidentiary
support therefor; and (d) be filed with the Bankruptcy Court, 824 North Market Street, Third Floor,
Wilmington, Delaware 19801 together with proof of service on or before the Plan Objection
Deadline, and served so as to be actually received by the parties below on or before the Plan
Objection Deadline, which service may be through the CM/ECF system, with courtesy copies by
email:

       (a)     counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the Americas, New
               York, New York 10020 (Attn: Jessica C. Lauria (jessica.lauria@whitecase.com)),
               and 111 South Wacker Drive, Chicago, Illinois 60606 (Attn: Michael C. Andolina
               (mandolina@whitecase.com), Matthew E. Linder (mlinder@whitecase.com), and
               Blair Warner (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht &
               Tunnell LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
               Delaware 19899-1347 (Attn: Derek C. Abbott (dabbott@morrisnichols.com),
               Andrew R. Remming (aremming@morrisnichols.com), and Paige N. Topper
               (ptopper@morrisnichols.com));

       (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware
               19801 (Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov) and Hannah
               M. McColllum (hannah.mccollum@usdoj.gov));

       (c)     counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones LLP,
               919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19801 (Attn:
               James I. Stang (jstang@pszjlaw.com), John A. Morris (jmorris@pszjlaw.com),
               James E. O’Neill (joneill@pszjlaw.com), and John W. Lucas
               (jlucas@pszjlaw.com));

       (d)     counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel LLP, 1177
               Avenue of the Americas, New York, New York 10036 (Attn: Thomas Moers Mayer
               (tmayer@kramerlevin.com), Rachael Ringer (rringer@kramerlevin.com), David E.
               Blabey,      Jr.    (dblabey@kramerlevin.com),      Jennifer     R.    Sharret



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               (jsharret@kramerlevin.com),            and        Megan           M.         Wasson
               (mwasson@kramerlevin.com));

         (e)   counsel to the Future Claimants’ Representative, Young Conaway Stargatt &
               Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801 (Attn: Robert
               S. Brady (rbrady@ycst.com), Edwin J. Harron (eharron@ycst.com), and Sharon
               M. Zieg (szieg@ycst.com)); and

         (f)   counsel to JPMorgan Chase Bank National Association, Norton Rose Fulbright US
               LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn: Kristian W. Gluck
               (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

         SUMMARY OF PLAN TREATMENT OF CLAIMS AND EQUITY INTERESTS
        5.      The Plan proposes to modify the rights of certain creditors of the Debtors. The
classification of Claims and Equity Interests under the Plan is described generally below.

 Class                  Claim               Status                      Voting Rights
   1      Other Priority Claims           Unimpaired     Presumed to Accept; Not Entitled to Vote
   2      Other Secured Claims            Unimpaired     Presumed to Accept; Not Entitled to Vote
  3A      2010 Credit Facility Claims      Impaired      Entitled to Vote
  3B      2019 RCF Claims                  Impaired      Entitled to Vote
  4A      2010 Bond Claims                 Impaired      Entitled to Vote
  4B      2012 Bond Claims                 Impaired      Entitled to Vote
   5      Convenience Claims               Impaired      Entitled to Vote
   6      General Unsecured Claims         Impaired      Entitled to Vote
   7      Non-Abuse Litigation Claims      Impaired      Entitled to Vote
   8      Direct Abuse Claims              Impaired      Entitled to Vote
   9      Indirect Abuse Claims            Impaired      Entitled to Vote
  10      Interests in Delaware BSA        Impaired      Deemed to Reject; Not Entitled to Vote

         RELEASE, EXCULPATION, AND INJUNCTION PROVISIONS IN PLAN

        6.      Pursuant to Article X of the Plan, the Debtors are seeking approval of certain
release, injunction, and exculpation provisions, which will become effective if the Plan is approved
and described in Article VI.Q of the Disclosure Statement. If you hold a Claim in one of the
Unimpaired Classes, you will be presumed to accept the Plan and grant the Releases by
holders of Claims set forth below and in Article X.J.4 of the Plan, unless you object to the
release before the Plan Objection Deadline. Such provisions include the following:

      a.      Discharge Injunction. From and after the Effective Date, except as expressly
provided in the Plan or the Confirmation Order, all holders of Claims or Interests of any

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nature whatsoever against or in the Debtors or any of their assets or properties based upon
any act, omission, transaction, occurrence, or other activity of any nature that occurred prior
to the Effective Date that are discharged pursuant to the terms of the Plan shall be precluded
and permanently enjoined from taking any of the following actions on account of, or on the
basis of, such discharged Claims and Interests: (a) commencing or continuing any action or
other proceeding of any kind against the Debtors, Reorganized BSA, the Settlement Trust,
or its or their respective property; (b) enforcing, attaching, collecting, or recovering by any
manner or means of judgment, award, decree or other against the Debtors, Reorganized
BSA, the Settlement Trust, or its or their respective property; (c) creating, perfecting or
enforcing any Lien or Encumbrance of any kind against the Debtors, Reorganized BSA, the
Settlement Trust, or its or their respective property; or (d) commencing or continuing any
judicial or administrative proceeding, in any forum and in any place in the world, that does
not comply with or is inconsistent with the provisions of the Plan or the Confirmation Order.
The foregoing injunction shall extend to the successors of the Debtors (including
Reorganized BSA) and its and their respective properties and interests in property. In
accordance with the foregoing, except as expressly provided in the Plan or the Confirmation
Order, the Confirmation Order shall be a judicial determination of discharge or termination
of all Claims, Interests and other debts and liabilities against or in the Debtors pursuant to
sections 105, 524 and 1141 of the Bankruptcy Code, and such discharge shall void any
judgment obtained against the Debtors at any time to the extent such judgment relates to a
discharged Claim or Interest.

       b.     Releases by Holders of Claims. As of the Effective Date, except for the rights
that remain in effect from and after the Effective Date to enforce the Plan and the
Confirmation Order, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of the Released Parties3 to facilitate and implement the
reorganization of the Debtors and the settlements embodied in the Plan, including the JPM
/ Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the TCJC
Settlement, as an integral component of the Plan, and except as otherwise expressly provided
in the Plan or the Confirmation Order, to the maximum extent permitted under applicable
law, as such law may be extended subsequent to the Effective Date, all Releasing Claim
Holders4 shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,

3
    “Released Parties” means, collectively, the following Persons, in each case in its or their respective capacities as
    such: (a) the Debtors; (b) Reorganized BSA; (c) the Related Non-Debtor Entities; (d) the Creditors’ Committee;
    (e) the members of the Creditors’ Committee in their capacities as such; (f) the Tort Claimants’ Committee; (g)
    the members of the Tort Claimants’ Committee in their capacities as such; (h) the Future Claimants’
    Representative; (i) the Coalition; (j) JPM; (k) the Settling Insurance Companies, including Hartford; (l) the
    Contributing Chartered Organizations, including TCJC; (m) the Foundation, in its capacity as lender under the
    Foundation Loan Agreement; (n) the Ad Hoc Committee; (o) the members of the Ad Hoc Committee in their
    capacities as such; (p) the Creditor Representative; (q) the Mediators; and (r) all of such Persons’ Representatives;
    provided, however, that no Perpetrator is or shall be a Released Party; provided further, that the definition of
    “Released Parties” shall in all instances be subject to Article X.J. of the Plan.
4
    “Releasing Claim Holder” means, collectively, (a) all holders of Claims that vote to accept the Plan and do not
    opt out of the releases set forth in Article X.J.4 of the Plan; (b) all holders of Claims that are presumed to accept
    the Plan, except for holders of such Claims that file a timely objection to the releases set forth in Article X.J.4 of
    the Plan; (c) all holders of Claims entitled to vote on the Plan and who vote against the Plan and do not opt out of
    the releases set forth in Article X.J.4 of the Plan; and (d) all of such Persons’ predecessors, successors and assigns,
    subsidiaries, affiliates, current and former officers, directors, principals, shareholders, members, partners,

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irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Claims, Interests, obligations, rights, demands, suits, judgments, damages,
debts, remedies, losses and liabilities of any nature whatsoever (including any derivative
claims or Causes of Action asserted or that may be asserted on behalf of the Debtors,
Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or contingent,
matured or unmatured, known or unknown, foreseen or unforeseen, existing or hereinafter
arising, in law, equity, contract, tort or otherwise, based on or relating to, or in any manner
arising from, in whole or in part, any act, omission, transaction, event, or other circumstance
taking place or existing on or before the Effective Date (including before the Petition Date)
in connection with or related to the Debtors, the Estates, their respective assets and
properties, the Chapter 11 Cases, the subject matter of, or the transactions or events giving
rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing; provided, however, that the releases set
forth in Article X.J.4 of the Plan shall not, and shall not be construed to: (a) release any
Released Party from Causes of Action arising out of, or related to, any act or omission of a
Released Party that is a criminal act or that constitutes fraud, gross negligence or willful
misconduct; (b) release any post-Effective Date obligations of any Person under the Plan
Documents or any document, instrument, or agreement executed to implement the Plan; or
(c) modify, reduce, impair or otherwise affect the ability of any holder of an Allowed Non-
Abuse Litigation Claim to recover on account of such Allowed Claim in accordance with
Article III.B.9 of the Plan. Notwithstanding the foregoing or anything to the contrary herein,
(i) with respect to holders of Allowed General Unsecured Claims or Allowed Non-Abuse
Litigation Claims, nothing in the Plan or the release set forth in Article X.J.4 of the Plan
shall, or shall be construed to, release any claims or Causes of Action against any Local
Council, Chartered Organization, or Non-Settling Insurance Company (subject to Article
IV.D.3 of the Plan) and (ii) nothing in the Plan or the release set forth in Article X.J.4 of the
Plan shall, or shall be construed to, release any claims or Causes of Action asserted by
Century Indemnity Company against Sidley Austin LLP (“Sidley”) related to Sidley’s
representation of the Debtors prior to the Petition Date.

       a. Releases by the Debtors and the Estates.

       Releases by the Debtors and the Estates of the Released Parties. As of the Effective
Date, except for the rights that remain in effect from and after the Effective Date to enforce

   employees, agents, advisory board members, financial advisors, attorneys, accountants, investment bankers,
   consultants, representatives, management companies, and other professionals, and all such Persons’ respective
   heirs, executors, estates, servants and nominees, in their respective capacities as such.


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the Plan and the Confirmation Order, pursuant to section 1123(b) of the Bankruptcy Code,
for good and valuable consideration, the adequacy of which is hereby confirmed, including
the service of the Released Parties to facilitate and implement the reorganization of the
Debtors and the settlements embodied in the Plan, including the Abuse Claims Settlement,
the JPM / Creditors’ Committee Settlement, the Hartford Insurance Settlement, and the
TCJC Settlement, as an integral component of the Plan, the Debtors, Reorganized BSA, and
the Estates shall, and shall be deemed to, expressly, conclusively, absolutely, unconditionally,
irrevocably, and forever release and discharge each and all of the Released Parties of and
from any and all Estate Causes of Action that do not constitute Settlement Trust Causes of
Action, any and all other Claims, Interests, obligations, rights, demands, suits, judgments,
damages, debts, remedies, losses and liabilities of any nature whatsoever (including any
derivative claims or Causes of Action asserted or that may be asserted on behalf of the
Debtors, Reorganized BSA, or the Estates), whether liquidated or unliquidated, fixed or
contingent, matured or unmatured, known or unknown, foreseen or unforeseen, existing or
hereinafter arising, in law, equity, contract, tort or otherwise, based on or relating to, or in
any manner arising from, in whole or in part, any act, omission, transaction, event, or other
circumstance taking place or existing on or before the Effective Date (including before the
Petition Date) in connection with or related to the Debtors, the Estates, their respective assets
and properties, the Chapter 11 Cases, the subject matter of, or the transactions or events
giving rise to, any Claim or Interest that is treated by the Plan, the business or contractual
arrangements between one or both of the Debtors and any Released Party, the restructuring
of any Claim or Interest that is treated by the Plan before or during the Chapter 11 Cases,
any of the Plan Documents, the JPM / Creditors’ Committee Settlement, the Hartford
Insurance Settlement, the TCJC Settlement, or any related agreements, instruments, and
other documents created or entered into before or during the Chapter 11 Cases or the
negotiation, formulation, preparation or implementation thereof, the pursuit of
Confirmation, the administration and implementation of the Plan, the solicitation of votes
with respect to the Plan, the Distribution of property under the Plan, or any other act or
omission, transaction, agreement, event, or other occurrence taking place on or before the
Effective Date related or relating to the foregoing. Notwithstanding anything to the contrary
in the foregoing, the releases set forth in Article X.J.1 of the Plan shall not, and shall not be
construed to: (a) release any Released Party from Causes of Action arising out of, or related
to, any act or omission of a Released Party that is a criminal act or that constitutes fraud,
gross negligence or willful misconduct; or (b) release any post-Effective Date obligations of
any Person under the Plan Documents or any document, instrument, or agreement executed
to implement the Plan.

       Releases by the Debtors and the Estates of Certain Avoidance Actions. As of the
Effective Date, for good and valuable consideration, the adequacy of which is hereby
confirmed, including the service of Creditors’ Committee and its members in their respective
capacities as such in facilitating and implementing the reorganization of the Debtors, as an
integral component of the Plan, the Debtors, Reorganized BSA, and the Estates shall, and
shall be deemed to, expressly, conclusively, absolutely, unconditionally, irrevocably, and
forever release and discharge each and all holders of General Unsecured Claims, Non-Abuse
Litigation Claims, and Convenience Claims of and from any and all Avoidance Actions.



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        b.       Exculpation.

        From and after the Effective Date, none of the Exculpated Parties5 shall have or incur
any liability to, or be subject to any right of action by, any Person for any act, omission,
transaction, event, or other circumstance occurring on or before the Effective Date in
connection with, relating to or arising out of the Chapter 11 Cases, the negotiation of the
Plan Documents, the JPM/Creditors’ Committee Settlement, the Hartford Insurance
Settlement Agreement, the TCJC Settlement Agreement, the Releases and Injunctions, the
pursuit of Confirmation of the Plan, the administration, consummation and implementation
of the Plan or the property to be Distributed under the Plan, or the management or operation
of the Debtors (except for any liability that results primarily from such Exculpated Party’s
gross negligence, bad faith or willful misconduct). In all respects, each and all such
Exculpated Parties shall be entitled to rely upon the advice of counsel with respect to their
duties and responsibilities under, or in connection with, the matters referenced in the
preceding sentence. Notwithstanding the foregoing or any provision of the Plan to the
contrary, Sidley shall not be an Exculpated Party with respect to any claims that Century
Indemnity Company asserts against Sidley related to Sidley’s representation of the Debtors
prior to the Petition Date.

        c.       Injunctions Related to Releases and Exculpation.

       Injunction Related to Releases. As of the Effective Date, all holders of Claims that
are the subject of Article X.J of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Released Party or its property
or successors or assigns on account of or based on the subject matter of such Claims, whether
directly or indirectly, derivatively or otherwise: (a) commencing, conducting or continuing
in any manner, directly or indirectly, any suit, action or other proceeding (including any
judicial, arbitral, administrative or other proceeding) in any forum; (b) enforcing, attaching
(including any prejudgment attachment), collecting, or in any way seeking to recover any
judgment, award, decree, or other order; (c) creating, perfecting or in any way enforcing in
any matter, directly or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking
reimbursement or contributions from, or subrogation against, or otherwise recouping in any
manner, directly or indirectly, any amount against any liability or obligation that is
discharged under Article X.E of the Plan or released under Article X.J of the Plan; provided,
however, that the injunctions set forth in Article X.L.1 of the Plan shall not, and shall not be
construed to, enjoin any holder of a Claim that is the subject of Article X.J of the Plan from
taking any action arising out of, or related to, any act or omission of a Released Party that is
a criminal act or that constitutes fraud, gross negligence or willful misconduct.


5
    “Exculpated Parties” means, collectively, the following Persons: (a) the Debtors; (b) Reorganized BSA; (c) the
    Creditors’ Committee; (d) the members of the Creditors’ Committee in their capacities as such; (e) the Tort
    Claimants’ Committee; (f) the members of the Tort Claimants’ Committee in their capacities as such; (g) the
    Future Claimants’ Representative; (h) the Creditor Representative; and (i) all of such Persons’ current officers
    and directors, former officers and directors who served in such capacity during the pendency of the Chapter 11
    Cases but are no longer officers or directors as of the Effective Date, employees, volunteers, agents, attorneys,
    financial advisors, accountants, investment bankers, consultants, representatives, and other professionals.


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        Injunction Related to Exculpation. As of the Effective Date, all holders of Claims that
are the subject of Article X.K of the Plan are, and shall be, expressly, conclusively, absolutely,
unconditionally, irrevocably, and forever stayed, restrained, prohibited, barred and
enjoined from taking any of the following actions against any Exculpated Party on account
of or based on the subject matter of such Claims, whether directly or indirectly, derivatively
or otherwise: (a) commencing, conducting or continuing in any manner, directly or
indirectly, any suit, action or other proceeding (including any judicial, arbitral,
administrative or other proceeding) in any forum; (b) enforcing, attaching (including any
prejudgment attachment), collecting, or in any way seeking to recover any judgment, award,
decree, or other order; (c) creating, perfecting or in any way enforcing in any matter, directly
or indirectly, any Lien or Encumbrance; and/or (d) setting off, seeking reimbursement or
contributions from, or subrogation against, or otherwise recouping in any manner, directly
or indirectly, any amount against any liability or obligation that is discharged under Article
X.E of the Plan or released under Article X.J of the Plan; provided, however, that the
injunctions set forth in Article X.L.2 of the Plan shall not, and shall not be construed to,
enjoin any Person that is the subject of Article X.K of the Plan from taking any action arising
out of, or related to, any act or omission of a Exculpated Party that is a criminal act or that
constitutes fraud, gross negligence or willful misconduct.

                  COPIES OF PLAN AND DISCLOSURE STATEMENT

        7.      If you would like copies of the Plan, the Disclosure Statement, the Solicitation
Procedures Order, or other documents related to the Plan, free of charge, you may obtain these
documents from Omni Agent Solutions (the Solicitation Agent”), by: (a) calling the Debtors’ toll-
free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
website at https://omniagentsolutions.com/BSA. You may also access from these materials for a
fee via PACER at http://www.deb.uscourts.gov/.



THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION AGENT
VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT THE
SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.


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Dated: [●], 2021

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                          Exhibit 6

                Form of Disputed Claim Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                                 Debtors.


    NOTICE OF NON-VOTING STATUS WITH RESPECT TO DISPUTED CLAIMS

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Solicitation Procedures Order”): (a) approving the Amended Disclosure Statement for the
Amended Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”); (b) establishing the
Voting Record Date, Voting Deadline, and other related dates in connection with confirmation of
the Amended Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Plan”);2 (c) approving procedures for soliciting,
receiving, and tabulating votes on the Plan and for filing objections to the Plan (the “Solicitation
Procedures”); and (d) approving the form and manner of notice and other related documents as
they relate to the Debtors.

        2.     You are receiving this notice enclosed with your Solicitation Package because your
Claim(s) against the Debtors is subject to a pending objection by the Debtors, other than a
“reclassify” or “reduce and allow” objection, that was filed with the Bankruptcy Court by the
Solicitation Date (a “Disputed Claim”), and therefore, pursuant to the Solicitation Procedures
Order and sections 502(a) and 1126(a) of the Bankruptcy Code, you are not entitled to have your
vote to accept or reject the Plan counted on account of your Claim unless one of the following
Resolution Events (as defined in the Solicitation Procedures) occurs on or before the Voting
Resolution Event Deadline of [●], 2021, or as otherwise ordered by the Bankruptcy Court:




1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the in the
      Plan, the Disclosure Statement, or the Solicitation Procedures (defined as below), as applicable.
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       (i)     An order of the Bankruptcy Court is entered allowing such Claim pursuant to
               section 502(b) of the Bankruptcy Code, after notice and a hearing;

       (ii)    entry of an order of the Bankruptcy Court, after notice and a hearing, granting a
               Rule 3018(a) Motion and temporarily allowing such Claim for voting purposes in
               accordance with Section III.C.4 of the Solicitation Procedures;

       (iii)   a stipulation or other agreement is executed between the holder of a Disputed Claim
               and the Debtors (a) resolving the objection and allowing such Claim for voting
               purposes in an agreed-upon amount or (b) otherwise fixing an amount of the Claim
               for voting purposes; or

       (iv)    the pending objection is voluntarily withdrawn by the objecting party.

Accordingly, this notice is being sent to you for informational purposes only.

        3.     If you seek to challenge the disallowance or estimation of your Disputed Claim for
voting purposes, you must file with the Bankruptcy Court a motion for an order, pursuant to
Bankruptcy Rule 3018(a), temporarily allowing such claim for purposes of voting to accept or
reject the Plan (a “Rule 3018(a) Motion”). Any Rule 3018(a) Motion must be filed with the
Bankruptcy Court and served on the Debtors on or before [●], 2021. If a holder of a Disputed
Claim files a timely Rule 3018(a) Motion, such holder’s Ballot shall not be counted unless a
Resolution Event occurs with respect to such Disputed Claim prior to [●], 2021, or as otherwise
ordered by the Bankruptcy Court. The Ballot must be returned to the Solicitation Agent no later
than the Voting Deadline, which is on [●], 2021 at 4:00 p.m. (Eastern Time).

        4.      The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No.
2, Wilmington, Delaware 19801. Please be advised that the Confirmation Hearing may be
adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than as indicated in any notice or agenda of matters scheduled for a
particular hearing that is filed with the Bankruptcy Court. If the Confirmation Hearing is
continued, the Debtors will post the new date and time of the Confirmation Hearing at
https://omniagentsolutions.com/BSA. The Plan may be modified, if necessary, prior to, during, or
as a result of the Confirmation Hearing, without further notice to creditors or other parties in
interest, unless such notice is required by the Bankruptcy Code, Bankruptcy Rules, or other
applicable law.

         5.      If you would like to object to the Plan, you may do so by filing your objection no
later than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan Objection Deadline”). Any objections
or responses to confirmation of the Plan, must: (a) be in writing; (b) state the name and address of
the objecting party and the nature and amount of the Claim of such party; (c) state with particularity
the legal and factual basis and nature of any objection to the Plan and include any evidentiary
support therefor; and (d) be filed with the Bankruptcy Court, 824 North Market Street, Third Floor,


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Wilmington, Delaware 19801 together with proof of service on or before the Plan Objection
Deadline, and served so as to be actually received by the parties below on or before the Plan
Objection Deadline, which service may be through the CM/ECF system, with courtesy copies by
email:

              (a) counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the Americas,
                  New York, New York 10020 (Attn: Jessica C. Lauria
                  (jessica.lauria@whitecase.com)), and 111 South Wacker Drive, Chicago,
                  Illinois 60606 (Attn: Michael C. Andolina (mandolina@whitecase.com),
                  Matthew E. Linder (mlinder@whitecase.com), and Blair Warner
                  (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht & Tunnell
                  LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
                  Delaware 19899-1347 (Attn: Derek C. Abbott (dabbott@morrisnichols.com),
                  Andrew R. Remming (aremming@morrisnichols.com), and Paige N. Topper
                  (ptopper@morrisnichols.com));

              (b) the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
                  Delaware 19801 (Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov)
                  and Hannah M. McCollum (hannah.mccollum@usdoj.gov));

              (c) counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones
                  LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE
                  19801 (Attn: James I. Stang (jstang@pszjlaw.com), John A. Morris
                  (jmorris@pszjlaw.com), James E. O’Neill (joneill@pszjlaw.com), and John
                  W. Lucas (jlucas@pszjlaw.com));

              (d) counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel LLP,
                  1177 Avenue of the Americas, New York, New York 10036 (Attn: Thomas
                  Moers       Mayer       (tmayer@kramerlevin.com),     Rachael      Ringer
                  (rringer@kramerlevin.com),        David        E.        Blabey,       Jr.
                  (dblabey@kramerlevin.com),            Jennifer        R.          Sharret
                  (jsharret@kramerlevin.com),       and       Megan        M.       Wasson
                  (mwasson@kramerlevin.com));

              (e) counsel to the Future Claimants’ Representative, Young Conaway Stargatt &
                  Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801 (Attn:
                  Robert S. Brady (rbrady@ycst.com), Edwin J. Harron (eharron@ycst.com),
                  and Sharon M. Zieg (szieg@ycst.com)); and

              (f) counsel to JPMorgan Chase Bank National Association, Norton Rose
                  Fulbright US LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn:
                  Kristian W. Gluck (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.



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        6.      If you would like copies of the Plan, the Disclosure Statement, the Solicitation
Procedures Order, or other documents related to the Plan, free of charge, you may obtain these
documents from Omni Agent Solutions (the Solicitation Agent”) by: (a) calling the Debtors’ toll-
free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
website at https://omniagentsolutions.com/BSA. You may also access from these materials for a
fee via PACER at http://www.deb.uscourts.gov/.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE PLAN
OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO OBTAIN
ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION AGENT
VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT THE
SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.


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Dated: [●], 2021

WHITE & CASE LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
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                     Attorneys for the Debtors and Debtors in Possession




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                          Exhibit 7

                     Form of Cover Letter
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                                            [Debtors’ Letterhead]
[●], 2021

        Re:      In re Boy Scouts of America and Delaware BSA, LLC, Case No. 20-10343
                 (LSS), Chapter 11 Bankruptcy

To All Holders of Claims Entitled to Vote on the Plan:

        On February 18, 2020, the Boy Scouts of America and Delaware BSA, LLC, the non-profit
corporations that are debtors and debtors in possession in the above-captioned chapter 11 cases
(together, the “Debtors”), filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code (the “Bankruptcy Code”) in the United States Bankruptcy Court for the District
of Delaware (the “Bankruptcy Court”). The Debtors filed the Chapter 11 Cases in order to address
the significant potential liabilities arising from Claims related to alleged historical acts of Abuse
in the BSA’s programs.

       The BSA cares deeply about all survivors of child abuse. The BSA understands that no
apology can repair the damage caused by abuse or take away the pain that survivors have endured.
The BSA is steadfast in its commitment to continually improve all of its policies to prevent abuse.

THE DEBTORS, THE COALITION OF ABUSED SCOUTS FOR JUSTICE, THE
FUTURE CLAIMANTS’ REPRESENTATIVE, THE CREDITORS’ COMMITTEE AND
THE AD HOC COMMITTEE OF LOCAL COUNCILS (THE “SUPPORTING
PARTIES”) BELIEVE THE PLAN OF REORGANIZATION PROVIDES HOLDERS OF
CLAIMS, INCLUDING ABUSE CLAIMS, SUBSTANTIALLY GREATER RECOVERY
THAN ANY OTHER ALTERNATIVE AND URGE YOU TO SUBMIT A TIMELY
BALLOT VOTING TO ACCEPT THE PLAN OF REORGANIZATION.

         THE VOTING DEADLINE IS [●], 2021 AT 4:00 P.M. (EASTERN TIME).

        On [●], 2021, the Bankruptcy Court entered an order [D.I. [●]] approving the Amended
Disclosure Statement for the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy
Scouts of America and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits
thereto, and as may be modified, amended, or supplemented from time to time, the “Disclosure
Statement”). On the same date, the Bankruptcy Court entered an order [D.I. [●]] (the “Solicitation
Procedures Order”) that, among other things, authorizes the Debtors to solicit votes to accept or
reject the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America
and Delaware BSA, LLC [D.I. [●]] (together with all schedules and exhibits thereto, and as may
be modified, amended, or supplemented from time to time, the “Plan”).1

       The Plan is supported by the Debtors and the other Supporting Parties. The BSA
and the Supporting Parties all believe that the Plan represents the best possible means to
(a) timely and equitably compensate survivors of alleged Abuse in Scouting and (b) ensure

1
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan or
    the Disclosure Statement, as applicable.
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that the BSA emerges from bankruptcy with the ability to continue its vital charitable
mission. The BSA and the other Supporting Parties believe that the Plan provides the highest
and best recovery—and the best outcome—for all creditors and is in the best interests of the
Debtors’ estates. Therefore, the BSA and the other Supporting Parties urge eligible creditors
to vote to accept the Plan.

       You are receiving this letter and the accompanying materials because you may be entitled
to vote on the Plan. The following materials constitute the “Solicitation Package” which, in
addition to this letter, is comprised of:

       (a)     the Disclosure Statement, including all exhibits thereto, attached to which is the
               Plan, including all of its exhibits and schedules (to the extent such exhibits and
               schedules are filed with the Bankruptcy Court before the Solicitation Date);

       (b)     the Solicitation Procedures Order;

       (c)     the Confirmation Hearing Notice;

       (d)     an appropriate ballot with detailed voting instructions, including instructions for
               voting online via the electronic ballot submission platform (the “E-Ballot
               Platform”) on the website of Omni Agent Solutions, the Debtors’ claims, noticing,
               and solicitation agent in these chapter 11 cases (the “Solicitation Agent”), and
               return instructions or a return envelope with postage, if applicable;

       (e)     a letter from any official committee or the Coalition, substantially in the form filed
               on the docket of the Chapter 11 Cases (and as may be modified, amended, or
               supplemented from time to time); and

       (f)     any other materials ordered by the Bankruptcy Court to be included as part of the
               Solicitation Package.

                  ACCESS TO PLAN AND DISCLOSURE STATEMENT

 IMPORTANT: You should have received a hard copy or USB flash drive copy of the Plan,
 the Disclosure Statement, and the Solicitation Procedures Order (excluding exhibits except for
 the Solicitation Procedures). You may also access the Plan, the Disclosure Statement, and the
 Solicitation Procedures Order free of charge at https://omniagentsolutions.com/bsa-SAballots
 (Direct Abuse Claims) or https://omniagentsolutions.com/bsa-ballots (all other Claims). You
 may also obtain copies of any of the other Solicitation Package materials free of charge at these
 websites. If you would prefer to receive paper copies or documents on a USB drive, please
 contact the Solicitation Agent to make such a request by: (a) calling the Debtors’ toll-free
 restructuring hotline at 1-866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
 to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
 Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
 website at https://omniagentsolutions.com/BSA.



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        The comprehensive restructuring of the Debtors proposed in the Plan is the product of
agreements reached among the BSA, the other Supporting Parties, JPM (the Debtors’ senior
secured lender), Hartford, and The Church of Jesus Christ of Latter-day Saints (“TCJC”), which
provides the framework for global resolution of Abuse Claims against the Debtors, Related Non-
Debtor Entities, and Local Councils, as well as any other Contributing Chartered Organizations,
Participating Chartered Organizations, and Settling Insurance Companies that may become party
to the restructuring settlements after the date of this letter, in exchange for contributions by such
parties to the Settlement Trust for the benefit of survivors of Abuse (collectively, “Abuse
Survivors”). The Plan has been designed to maximize and expedite recoveries to Abuse Survivors,
resulting in substantial recoveries, as set forth in the recovery chart in the Disclosure Statement.
The Debtors and the other Supporting Parties strongly encourage all holders of Claims in the
Voting Classes, including Direct Abuse Claims, to vote in favor of the Plan.

       The Plan, which incorporates a settlement with Hartford for $787 million and a settlement
with TCJC for $250 million, as well as the JPM / Creditors’ Committee Settlement, provides for a
mechanism to channel to the Settlement Trust all Abuse Claims asserted against the Debtors and
certain non-debtor third parties, including the Local Councils, Participating Chartered
Organizations, Contributing Chartered Organizations (including TCJC), and Settling Insurance
Companies (including Hartford) that make contributions to the Settlement Trust for the benefit of
Abuse Survivors. If the Plan is approved, the Settlement Trust will exclusively administer and
resolve the Abuse Claims. In exchange for channeling all Abuse Claims to the Settlement Trust,
as described in the Disclosure Statement, the BSA will make a substantial contribution to the
Settlement Trust of approximately $220 million assuming an Effective Date of December 31,
2021. The BSA will also assign and transfer to the Settlement Trust all of its insurance rights
under the BSA’s insurance policies, thereby providing the potential for substantial insurance
recoveries to holders of Direct Abuse Claims.

        Additionally, Local Councils will make a substantial contribution to the Settlement Trust
to resolve the Abuse Claims that may be asserted against them in exchange for being included as
Protected Parties under the Plan and receiving the benefits of the Channeling Injunction, consisting
of (a) $500 million, comprised of at least $300 million in Cash with the balance in property,
exclusive of insurance rights, (b) the DST Note, a $100 million interest-bearing variable-payment
obligation note issued to the Settlement Trust by a Delaware statutory trust on or as soon as
practicable after the Effective Date, and (c) the assignment and transfer to the Settlement Trust of
all Local Council insurance rights under the BSA’s and Local Councils’ liability insurance policies
that provide coverage for Abuse Claims, thereby providing the potential for substantial insurance
recoveries to holders of Direct Abuse Claims.

        The Plan also provides a mechanism by which Chartered Organizations can become
Participating Chartered Organizations (unless they elect not to or are chapter 11 debtors in their
own restructuring cases) through the assignment and transfer to the Settlement Trust of all of their
post-1975 insurance rights under BSA and Local Council policies that provide coverage for Abuse
Claims in exchange for being included as a Limited Protected Party under the Plan, resulting in
the potential for substantial additional insurance recoveries for holders of Abuse Claims.
Insurance Companies may also make substantial contributions and Chartered Organizations may
also make further substantial contributions to the Settlement Trust in exchange for becoming


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Protected Parties under the Plan and receiving the comprehensive benefits of the Channeling
Injunction.

         Additionally, the Plan also provides for the BSA’s assumption of its prepetition Pension
Plan and specifies the treatment of holders of Allowed Convenience Claims, Allowed General
Unsecured Claims and Allowed Non-Abuse Litigation Claims, resulting in substantial recoveries,
as set forth in the recovery chart in the Disclosure Statement. The treatment of all classes of Claims
entitled to vote is described more fully in the Plan and the Disclosure Statement.

       The Debtors and the Supporting Parties support confirmation of the Plan and urge all
claimants to vote in favor of the Plan. The Debtors and the Supporting Parties believe that the
Plan will offer the highest and best recovery for all creditors and that the Plan will provide
more certain recoveries to survivors of Abuse and other creditors than any other alternative.
The Debtors and the Supporting Parties also believe that the Plan will provide those
recoveries more quickly than would any alternative, including by avoiding time-consuming
and costly litigation.

        If the Plan cannot be confirmed by the Bankruptcy Court, or if an insufficient number of
voting claimants vote in favor of the Plan, (i) the Debtors may be required to liquidate and/or
voluntarily convert these Chapter 11 Cases to cases under chapter 7 of the Bankruptcy Code,
pursuant to which a trustee would be appointed or elected to liquidate the Debtors’ assets for
distribution in accordance with the priorities established by the Bankruptcy Code, (ii) the Debtors
may seek approval of a revised plan of reorganization that provides for less favorable treatment
for creditors, or (iii) other parties may submit an alternate plan to reorganize BSA. The Debtors
believe that all of these alternatives would result in significantly reduced recoveries for Abuse
Survivors, and would significantly delay the date by which Abuse Survivors can begin
expecting payments from the Settlement Trust.

To Chartered Organizations that Hold Indirect Abuse Claims Under the Plan: Thank you
for your support of the Scouting movement. Millions of young men and women have passed
through your doors, and our joint mission to serve them has helped countless youth become
prepared for life. Your support for the Plan is essential for the mission of Scouting, and the
success of the BSA’s bankruptcy case depends your support for the Chartered Organization
settlement framework set forth in the Plan. The BSA urges you to support the survival and
continuation of Scouting by voting your Indirect Abuse Claim in favor of the Plan.

        Please read the Plan carefully. In particular, please review the injunction, release,
and exculpation provisions provided in Article X of the Plan. If you vote to accept or reject
the Plan, you will be releasing the Released Parties from any and all Claims/Causes of Action
to the extent provided in Article X.J.4 of the Plan unless you “opt-out” of such releases. If
you decide to opt out of the release in Article X.J.4 of the Plan, please do so by checking the
appropriate box on your ballot.

       If you are the holder of an Abuse Claim, then regardless of whether you opt out of
the releases in Article X.J.4 of the Plan, if the Plan is confirmed, you will be bound by the
releases and Channeling Injunction set forth in Article X.J.3 and Article X.F of the Plan.

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        The Debtors and other Supporting Parties believe that the Plan constitutes a good-faith
compromise and settlement of all Claims and controversies based upon the unique circumstances
of these chapter 11 cases, and will provide the maximum recovery for creditors. The Debtors and
other Supporting Parties believe that the acceptance of the Plan by holders of Claims entitled to
vote to accept or reject the Plan is in the best interests of holders of Claims against the Debtors.
Moreover, the Debtors and other Supporting Parties believe that any alternative other than
Confirmation of the Plan may result in, among other risks, delays and significantly increased
administrative expenses, and significantly diminished distributions on account of Allowed Claims.

 THE DEBTORS AND OTHER SUPPORTING PARTIES STRONGLY URGE YOU TO
 TIMELY SUBMIT YOUR BALLOT CASTING A VOTE TO ACCEPT THE PLAN IN
        ACCORDANCE WITH THE INSTRUCTIONS IN YOUR BALLOT.

         THE VOTING DEADLINE IS [●], 2021 AT 4:00 P.M. (EASTERN TIME).

        For the reasons set forth herein and in the Disclosure Statement, the Debtors and other
Supporting Parties recommend that all persons or entities entitled to vote on the Plan vote to accept
the Plan by timely submitting a properly completed ballot. Instructions for casting your vote on
the Plan are provided on your ballot. You are strongly encouraged to submit your ballot online
via the E-Ballot Platform on the Solicitation Agent’s website. In order to have your vote to accept
or reject the Plan counted, your Ballot must actually be received by the Solicitation Agent on or
before [●], 2021 at 4:00 p.m. (Eastern Time).

         If you would like electronic copies of any of the materials enclosed herein, or any other
filings in the Debtors’ chapter 11 cases, they can be accessed at the Debtors’ restructuring website
free of charge at https://omniagentsolutions.com/BSA.

        If you have any questions, or need to obtain additional solicitation materials, you may
contact the Solicitation Agent by: (a) calling the Debtors’ toll-free restructuring hotline at 866-
907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot
Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA
91367, or (d) submitting an inquiry on the Debtors’ restructuring website at
https://omniagentsolutions.com/bsa. Please note that the Solicitation Agent is not authorized to,
and will not, provide legal advice to you. If you need legal advice, please consult with your
attorney.


                                              Sincerely,

                                              Boy Scouts of America and Delaware BSA, LLC




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                          Exhibit 8

               Form of Plan Supplement Notice
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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                  Chapter 11

    BOY SCOUTS OF AMERICA AND                               Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                            (Jointly Administered)
                                 Debtors.


                  NOTICE OF FILING OF PLAN SUPPLEMENT TO
        MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION
            FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

             PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order [D.I. [●]] (the “Solicitation Procedures Order”):
(a) approving the Amended Disclosure Statement for the Modified Fifth Amended Chapter 11 Plan
of Reorganization for Boy Scouts of America and Delaware BSA, LLC, together with all schedules
and exhibits thereto, and as may be modified, amended, or supplemented from time to time (the
“Disclosure Statement”); (b) establishing the Voting Record Date, Voting Deadline, and other
related dates in connection with confirmation of the Modified Fifth Amended Chapter 11 Plan of
Reorganization for Boy Scouts of America and Delaware BSA, LLC (together with all schedules
and exhibits thereto, and as may be modified, amended, or supplemented from time to time, the
“Plan”);2 (c) approving procedures for soliciting, receiving, and tabulating votes on the Plan (the
“Solicitation Procedures”); and (d) approving the manner and forms of notice and other related
documents as they relate to the Debtors.

        2.       As contemplated by the Plan, the Disclosure Statement, and the Solicitation
Procedures Order, the Debtors filed a Plan Supplement with the Bankruptcy Court on [●], 2021
[D.I. [●]]. The Plan Supplement includes the following documents in connection with
confirmation of the Plan (each as defined in the Plan), as may be amended, modified, or
supplemented from time to time: (a) the Amended BSA Bylaws; (b) the Assumed Contracts and
Unexpired Leases Schedule; (c) the form of the BSA Settlement Trust Note; (d) the form of the
Document Agreement; (e) the form of the DST Agreement; (f) the form of the DST Note; (g) the
name of the Creditor Representative; (h) changes, if any, to Reorganized BSA’s directors and
officers; (i) the form of the Foundation Loan Agreement; (j) the form of agreement reflecting the
terms of the Leaseback Requirement; (k) the Rejected Contracts and Unexpired Leases Schedule;
1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in in the Plan,
      the Disclosure Statement, or the Solicitation Procedures (defined as below), as applicable.
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(l) the forms of the Restated 2010 Bond Documents; (m) the forms of the Restated 2012 Bond
Documents; (n) the forms of the Restated Credit Facility Documents; (o) the form of the Restated
Security Agreement; (p) the names of the initial members of the Settlement Trust Advisory
Committee; and (q) the name of the initial Special Reviewer; provided that the Plan Documents
listed in clauses (b) and (k) of the foregoing sentence will be revised, in the Debtors’ discretion,
subject to Article VI of the Plan, to account for any additional Executory Contracts or Unexpired
Leases to be assumed or rejected in advance of the Confirmation Hearing. The Plan Supplement
shall be served only on those parties that have requested notice in the Chapter 11 Cases pursuant
to Bankruptcy Rule 2002, and any party in interest who requests in writing a copy from counsel to
the Debtors. Once the Plan Supplement is filed, a copy will also be available for review on Omni
Agent      Solutions’    website      (the   “Solicitation   Agent”)      free   of    charge     at
https://omniagentsolutions.com/BSA.

        3.    The Plan Supplement is integral to, part of and incorporated by reference into the
Plan. The documents included in the Plan Supplement have not yet been approved by the
Bankruptcy Court and may be amended, modified or supplemented from time to time. If the Plan
is confirmed by the Bankruptcy Court, the documents contained in this Plan Supplement will be
approved by the Bankruptcy Court pursuant to the Confirmation Order.

        4.      The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No.
2, Wilmington, Delaware 19801. Please be advised that the Confirmation Hearing may be
adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than as indicated in any notice or agenda of matters scheduled for a
particular hearing that is filed with the Bankruptcy Court. If the Confirmation Hearing is
continued, the Debtors will post the new date and time of the Confirmation Hearing at
https://omniagentsolutions.com/BSA. The Plan may be modified, if necessary, prior to, during, or
as a result of the Confirmation Hearing, without further notice to creditors or other parties in
interest, unless such notice is required by the Bankruptcy Code, Bankruptcy Rules, or other
applicable law.

         5.      If you would like to object to the Plan, you may do so by filing your objection no
later than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan Objection Deadline”). Any objections
or responses to confirmation of the Plan, must: (a) be in writing; (b) state the name and address of
the objecting party and the nature and amount of the Claim of such party; (c) state with particularity
the legal and factual basis and nature of any objection to the Plan and include any evidentiary
support therefor; and (d) be filed with the Bankruptcy Court, 824 North Market Street, Third Floor,
Wilmington, Delaware 19801 together with proof of service on or before the Plan Objection
Deadline, and served so as to be actually received the parties below before the Plan Objection
Deadline, which service may be through the CM/ECF system, with courtesy copies by email:

       (a)     counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the Americas, New
               York, New York 10020 (Attn: Jessica C. Lauria (jessica.lauria@whitecase.com)),
               and 111 South Wacker Drive, Chicago, Illinois 60606 (Attn: Michael C. Andolina

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               (mandolina@whitecase.com), Matthew E. Linder (mlinder@whitecase.com), and
               Blair Warner (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht &
               Tunnell LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
               Delaware 19899-1347 (Attn: Derek C. Abbott (dabbott@morrisnichols.com),
               Andrew R. Remming (aremming@morrisnichols.com), and Paige N. Topper
               (ptopper@morrisnichols.com));

       (b)     the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware
               19801 (Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov) and Hannah
               M. McColllum (hannah.mccollum@usdoj.gov));

       (c)     counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones LLP,
               919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19801 (Attn:
               James I. Stang (jstang@pszjlaw.com), John A. Morris (jmorris@pszjlaw.com),
               James E. O’Neill (joneill@pszjlaw.com), and John W. Lucas
               (jlucas@pszjlaw.com));

       (d)     counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel LLP, 1177
               Avenue of the Americas, New York, New York 10036 (Attn: Thomas Moers Mayer
               (tmayer@kramerlevin.com), Rachael Ringer (rringer@kramerlevin.com), David E.
               Blabey,      Jr.    (dblabey@kramerlevin.com),      Jennifer     R.    Sharret
               (jsharret@kramerlevin.com),         and       Megan          M.        Wasson
               (mwasson@kramerlevin.com));

       (e)     counsel to the Future Claimants’ Representative, Young Conaway Stargatt &
               Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801 (Attn: Robert
               S. Brady (rbrady@ycst.com), Edwin J. Harron (eharron@ycst.com), and Sharon
               M. Zieg (szieg@ycst.com)); and

       (f)     counsel to JPMorgan Chase Bank National Association, Norton Rose Fulbright US
               LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn: Kristian W. Gluck
               (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

         6.    The Debtors reserve all rights to amend, modify or supplement the Plan
Supplement, and any of the exhibits included therein, in accordance with the terms of the Plan. To
the extent material amendments or modifications are made to any of these exhibits, the Debtors
will file amended versions of such exhibits with the Bankruptcy Court prior to the Confirmation
Hearing.

      7.      If you have questions about anything stated herein, you may contact the Solicitation
Agent by: (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721, (b) emailing
BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing, c/o Omni


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Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or (d) submitting
an inquiry on the Debtors’ restructuring website at https://omniagentsolutions.com/BSA.

 ARTICLE X OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
 INJUNCTION PROVISIONS, AND ARTICLE X.J.4 OF THE PLAN CONTAINS A
 THIRD-PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND
 CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE
 AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION
 AGENT VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT
 THE SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
 LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.



Dated: [●], 2021

WHITE & CASE LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Jessica C. Lauria (admitted pro hac vice)          Derek C. Abbott (No. 3376)
1221 Avenue of the Americas                        Andrew R. Remming (No. 5120)
New York, New York 10020                           Paige N. Topper (No. 6470)
Telephone: (212) 819-8200                          1201 North Market Street, 16th Floor
Email: jessica.lauria@whitecase.com                P.O. Box 1347
                                                   Wilmington, Delaware 19899-1347
– and –                                            Telephone: (302) 658-9200
                                                   Email: dabbott@morrisnichols.com
WHITE & CASE LLP                                           aremming@morrisnichols.com
Michael C. Andolina (admitted pro hac vice)                ptopper@morrisnichols.com
Matthew E. Linder (admitted pro hac vice)
Laura E. Baccash (admitted pro hac vice)
Blair M. Warner (admitted pro hac vice)
111 South Wacker Drive
Chicago, Illinois 60606
Telephone: (312) 881-5400
Email: mandolina@whitecase.com
       mlinder@whitecase.com
       laura.baccash@whitecase.com
       blair.warner@whitecase.com

                     Attorneys for the Debtors and Debtors in Possession




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                          Exhibit 9

             Form of Cure and Assumption Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                         (Jointly Administered)
                               Debtors.


       NOTICE OF (I) EXECUTORY CONTRACTS AND UNEXPIRED LEASES
     TO BE ASSUMED BY THE DEBTORS PURSUANT TO THE MODIFIED FIFTH
    AMENDED CHAPTER 11 PLAN OF REORGANIZATION FOR BOY SCOUTS OF
     AMERICA AND DELAWARE BSA, LLC, (II) CURE AMOUNTS, IF ANY, AND
           (III) RELATED PROCEDURES IN CONNECTION THEREWITH

         PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Solicitation Procedures Order”): (a) approving the Amended Disclosure Statement for the
Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”); (b) establishing the
Voting Record Date, Voting Deadline, and other related dates in connection with confirmation of
the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Plan”);2 (c) approving procedures for soliciting,
receiving, and tabulating votes on the Plan and for filing objections to the Plan (the “Solicitation
Procedures”); and (d) approving the form and manner of notice and other related documents as
they relate to the Debtors.
      2.     On or before [●], 2021, the Debtors intend to file the Assumed Executory Contracts
and Unexpired Leases Schedule with the Bankruptcy Court as part of the Plan Supplement
contemplated under the Plan. The determination to assume the agreements identified on the
Assumed Executory Contracts and Unexpired Leases Schedule is subject to revision.

        3.    You are receiving this notice because the Debtors’ records reflect that you are a
party to a contract or lease that is or will be listed on the Assumed Executory Contracts and

1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
    number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan, the
    Disclosure Statement, or the Solicitation Procedures (as defined below), as applicable.
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Unexpired Leases Schedule. Therefore, you are advised to review carefully the information
contained in this Cure and Assumption Notice and the related provisions of the Plan. The Debtors
are proposing to assume the Executory Contract(s) and Unexpired Lease(s) listed on Exhibit A,
attached hereto, to which you are a party.3

        4.      Section 365(b)(1) of the Bankruptcy Code requires a chapter 11 debtor to cure, or
provide adequate assurance that it will promptly cure, any defaults under executory contracts and
unexpired leases at the time of assumption. Accordingly, the Debtors have conducted a thorough
review of their books and records and have determined the amounts required to cure defaults, if any,
under the Executory Contract(s) and Unexpired Lease(s), which amounts are listed in Exhibit A,
attached hereto. Please note that if no amount is stated for a particular Executory Contract or
Unexpired Lease, the Debtors believe that there is no cure amount outstanding for such contract
or lease.

        5.      Absent any pending dispute, the monetary amounts required to cure any existing
defaults arising under the Executory Contract(s) and Unexpired Lease(s) identified in Exhibit A,
attached hereto, will be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by the
Debtors’ payment of the Cure Amount in Cash on the Effective Date or in the ordinary course of
the Debtors’ or Reorganized BSA’s non-profit operations. In the event of a dispute, however,
payment of the cure amount would be made following the entry of a final order(s) resolving the
dispute and approving the assumption. Any objection by a non-Debtor Executory Contract or
Unexpired Lease counterparty to the assumption, assumption and assignment, the related
Cure Amount, or adequate assurance proposed for its Executory Contract or Unexpired
Lease, must be filed, served, and actually received by the Debtors no later than [●], 2021 at
4:00 p.m. (Eastern Time), which is the deadline for filing objections to the Plan (the “Plan
Objection Deadline”), or such later date as may be provided in the applicable Cure and
Assumption Notice; provided that each counterparty to an Executory Contract or Unexpired
Lease (a) that the Debtors later determine to assume or (b) as to which the Debtors modify
the applicable Cure Amount, must object to the assumption or Cure Amount, as applicable,
by the earlier of: (i) fourteen (14) days after the Debtors serve such counterparty with a
corresponding Cure and Assumption Notice; and (ii) the Confirmation Hearing. Any
objection to the assumption of an Executory Contract or Unexpired Lease must: (a) be in writing;
(b) state the name and address of the objecting party and the nature and amount of the Claim of
such party; (c) state with particularity the legal and factual basis and nature of any objection to the
Plan and include any evidentiary support therefor; and (d) be filed with the Bankruptcy Court, 824
North Market Street, Third Floor, Wilmington, Delaware 19801 together with proof of service on
or before the Plan Objection Deadline, and served so as to be actually received by the parties


3
    Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on a Cure and Assumption
    Notice or the Assumed Contracts and Unexpired Leases Schedule, nor anything contained in the Plan or each
    Debtor’s schedule of assets and liabilities, shall constitute an admission by the Debtors that any such contract or
    lease is in fact an Executory Contract or Unexpired Lease capable of assumption, that any Post-Effective Date
    Debtor(s) has any liability thereunder, or that such Executory Contract or Unexpired Lease is necessarily a binding
    and enforceable agreement. Further, the Debtors expressly reserve the right to (a) remove any Executory Contract
    or Unexpired Lease from the Assumed Contracts and Unexpired Leases Schedule and reject such Executory
    Contract or Unexpired Lease pursuant to the terms of the Plan, up until the Effective Date and (b) dispute any
    Claim (or cure amount) asserted in connection with assumption of any Executory Contract or Unexpired Lease.


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below before the Plan Objection Deadline, which service may be through the CM/ECF system,
with courtesy copies by email:

       (a)    counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the Americas, New
              York, New York 10020 (Attn: Jessica C. Lauria (jessica.lauria@whitecase.com)),
              and 111 South Wacker Drive, Chicago, Illinois 60606 (Attn: Michael C. Andolina
              (mandolina@whitecase.com), Matthew E. Linder (mlinder@whitecase.com), and
              Blair Warner (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht &
              Tunnell LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
              Delaware 19899-1347 (Attn: Derek C. Abbott (dabbott@morrisnichols.com),
              Andrew R. Remming (aremming@morrisnichols.com), and Paige N. Topper
              (ptopper@morrisnichols.com));

       (b)    the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington, Delaware
              19801 (Attn: David L. Buchbinder (david.l.buchbinder@usdoj.gov) and Hannah
              M. McCollum (hannah.mccollum@usdoj.gov));

       (c)    counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones LLP,
              919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE 19801 (Attn:
              James I. Stang (jstang@pszjlaw.com), John A. Morris (jmorris@pszjlaw.com),
              James E. O’Neill (joneill@pszjlaw.com), and John W. Lucas
              (jlucas@pszjlaw.com));

       (d)    counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel LLP, 1177
              Avenue of the Americas, New York, New York 10036 (Attn: Thomas Moers Mayer
              (tmayer@kramerlevin.com), Rachael Ringer (rringer@kramerlevin.com), David E.
              Blabey,      Jr.    (dblabey@kramerlevin.com),      Jennifer     R.    Sharret
              (jsharret@kramerlevin.com),         and       Megan          M.        Wasson
              (mwasson@kramerlevin.com));

       (e)    counsel to the Future Claimants’ Representative, Young Conaway Stargatt &
              Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801 (Attn: Robert
              S. Brady (rbrady@ycst.com), Edwin J. Harron (eharron@ycst.com), and Sharon
              M. Zieg (szieg@ycst.com)); and

       (f)    counsel to JPMorgan Chase Bank National Association, Norton Rose Fulbright US
              LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn: Kristian W. Gluck
              (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

        6.      Any counterparty to an Executory Contract or Unexpired Lease that fails to timely
object to the proposed assumption of any Executory Contract or Unexpired Lease shall be forever
barred, estopped, and enjoined from contesting the Debtors’ assumption of the applicable
Executory Contract or Unexpired Lease and from requesting payment of a Cure Amount that

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differs from the amounts paid or proposed to be paid by the Debtors or Reorganized BSA, in each
case without the need for any objection by the Debtors or Reorganized BSA or any further notice
to or action, order, or approval of the Bankruptcy Court. Reorganized BSA may settle any dispute
regarding a Cure Amount without any further notice to or action, order, or approval of the
Bankruptcy Court.

        7.      The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, in the United States
Bankruptcy Court for the District of Delaware, located at 824 Market Street, 6th Floor, Courtroom
2, Wilmington, Delaware 19801.

        8.     Assumption or assumption and assignment of any Executory Contract or
Unexpired Lease pursuant to the Plan or otherwise, and payment of any applicable Cure
Amount in accordance with the procedures set forth in Article VI.C of the Plan, shall result
in the full release and satisfaction of any Claims or defaults, whether monetary or
nonmonetary, including defaults of provisions restricting the change in control or ownership
interest composition or other bankruptcy-related defaults, arising under any assumed, or
assumed and assigned, Executory Contract or Unexpired Lease at any time prior to the
effective date of assumption. Any and all Proofs of Claim based upon Executory Contracts
or Unexpired Leases that have been assumed in the Chapter 11 Cases, including pursuant to
the Confirmation Order, shall be deemed Disallowed and expunged as of the later of: (a) the
date of entry of an order of the Bankruptcy Court (including the Confirmation Order)
approving such assumption; (b) the effective date of such assumption; or (c) the Effective
Date, in each case without the need for any objection by the Debtors or Reorganized BSA or
any further notice to or action, order, or approval of the Bankruptcy Court.

        9.      If you would like copies of the Plan, the Disclosure Statement, the Solicitation
Procedures Order, or other documents related to the Plan, free of charge, you may obtain these
documents from Omni Agent Solutions (the Solicitation Agent”) by: (a) calling the Debtors’ toll-
free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
website at https://omniagentsolutions.com/BSA. You may also access from these materials for a
fee via PACER at http://www.deb.uscourts.gov/.

 ARTICLE X OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
 INJUNCTION PROVISIONS, AND ARTICLE X.J.4 OF THE PLAN CONTAINS A
 THIRD-PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND
 CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE
 AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION


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 AGENT VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT
 THE SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
 LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.


Dated: [●], 2021

WHITE & CASE LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Jessica C. Lauria (admitted pro hac vice)          Derek C. Abbott (No. 3376)
1221 Avenue of the Americas                        Andrew R. Remming (No. 5120)
New York, New York 10020                           Paige N. Topper (No. 6470)
Telephone: (212) 819-8200                          1201 North Market Street, 16th Floor
Email: jessica.lauria@whitecase.com                P.O. Box 1347
                                                   Wilmington, Delaware 19899-1347
– and –                                            Telephone: (302) 658-9200
                                                   Email: dabbott@morrisnichols.com
WHITE & CASE LLP                                          aremming@morrisnichols.com
Michael C. Andolina (admitted pro hac vice)               ptopper@morrisnichols.com
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Laura E. Baccash (admitted pro hac vice)
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Telephone: (312) 881-5400
Email: mandolina@whitecase.com
       mlinder@whitecase.com
       laura.baccash@whitecase.com
       blair.warner@whitecase.com

                     Attorneys for the Debtors and Debtors in Possession




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                              Exhibit A

                       Description of Executory       Amount Required to Cure
Counterparty Name
                      Contract or Unexpired Lease     Default Thereunder, If Any
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                           Exhibit 10

                    Form of Rejection Notice
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re:                                                   Chapter 11

BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
DELAWARE BSA, LLC,1
                                                         (Jointly Administered)
                               Debtors.


          NOTICE REGARDING EXECUTORY CONTRACTS AND
    UNEXPIRED LEASES TO BE REJECTED BY THE DEBTORS PURSUANT
TO THE MODIFIED FIFTH AMENDED CHAPTER 11 PLAN OF REORGANIZATION
        FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC

         PLEASE TAKE NOTICE OF THE FOLLOWING:

        1.      On [●], 2021, the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”) entered an order in the above-captioned chapter 11 cases [D.I. [●]] (the
“Solicitation Procedures Order”): (a) approving the Amended Disclosure Statement for the
Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Disclosure Statement”); (b) establishing the
Voting Record Date, Voting Deadline, and other related dates in connection with confirmation of
the Modified Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and
Delaware BSA, LLC (together with all schedules and exhibits thereto, and as may be modified,
amended, or supplemented from time to time, the “Plan”);2 (c) approving procedures for soliciting,
receiving, and tabulating votes on the Plan and for filing objections to the Plan (the “Solicitation
Procedures”); and (d) approving the form and manner of notice and other related documents as
they relate to the Debtors.

       2.     On [●], 2021, the Debtors filed the Rejected Contracts and Unexpired Leases
Schedule [D.I. [●]] with the Bankruptcy Court as part of the Plan Supplement, as contemplated
under the Plan. The determination to reject the agreements identified on the Rejected Contracts
and Unexpired Leases Schedule is subject to revision.

       3.     You are receiving this notice because you are a counterparty to an Executory
Contract or Unexpired Lease that, as of and subject to the occurrence of the Effective Date, will


1
    The Debtors in these chapter 11 cases, together with the last four digits of each Debtors’ federal tax identification
    number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
    address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
2
    Capitalized terms used but not otherwise defined herein have the meanings ascribed to such terms in the Plan, the
    Disclosure Statement, or the Solicitation Procedures (as defined below), as applicable.
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be rejected by the Debtors and that, accordingly, has been specifically listed on Exhibit A, attached
hereto, to which you are a party.3

         4.     All Proofs of Claim for Rejection Damages Claims, if any, shall be filed within
thirty (30) days after the latest to occur of: (1) the date of entry of an order of the Bankruptcy Court
(including the Confirmation Order) approving such rejection; (2) the effective date of the rejection
of such Executory Contract or Unexpired Lease; or (3) the Effective Date (as applicable, the
“Rejection Damages Bar Date”). Claims arising from the rejection of an Executory Contract or
an Unexpired Lease shall be classified as General Unsecured Claims and subject to the provisions
of Article VII of the Plan and the applicable provisions of the Bankruptcy Code and the
Bankruptcy Rules. Any holder of a Rejection Damages Claim that is required to file a Proof
of Claim in accordance with Article VI.B of the Plan but fails to do so on or before the
Rejection Damages Bar Date shall not be treated as a creditor with respect to such Claim for
the purposes of voting or Distributions, and such Rejection Damages Claim shall be
automatically Disallowed, forever barred from assertion, and unenforceable against the
Debtors, their Estates, Reorganized BSA, or its or their respective property, whether by
setoff, recoupment, or otherwise, without the need for any objection by the Debtors or
Reorganized BSA or further notice to, or action, order, or approval of the Bankruptcy Court,
and such Rejection Damages Claim shall be deemed fully satisfied, released, and discharged.

         5.      If you would like to object to the Plan, you may do so by filing your objection no
later than [●], 2021 at 4:00 p.m. (Eastern Time) (the “Plan Objection Deadline”). Any objections
or responses to confirmation of the Plan, must: (a) be in writing; (b) state the name and address of
the objecting party and the nature and amount of the Claim of such party; (c) state with particularity
the legal and factual basis and nature of any objection to the Plan and include any evidentiary
support therefor; and (d) be filed with the Bankruptcy Court, 824 North Market Street, Third Floor,
Wilmington, Delaware 19801 together with proof of service on or before the Plan Objection
Deadline, and served so as to be actually received the parties below (the “Notice Parties”) before
the Plan Objection Deadline, which service may be through the CM/ECF system, with courtesy
copies by email:

              (a)          counsel to the Debtors, (i) White & Case LLP, 1221 Avenue of the
                           Americas, New York, New York 10020 (Attn: Jessica C. Lauria
                           (jessica.lauria@whitecase.com)), and 111 South Wacker Drive, Chicago,
                           Illinois 60606 (Attn: Michael C. Andolina (mandolina@whitecase.com),
                           Matthew E. Linder (mlinder@whitecase.com), and Blair Warner
                           (blair.warner@whitecase.com)) and (ii) Morris, Nichols, Arsht & Tunnell

3
    Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on a Rejection Notice or the
    Rejected Contracts and Unexpired Leases Schedule, nor anything contained in the Plan or each Debtor’s schedule
    of assets and liabilities, shall constitute an admission by the Debtors that any such contract or lease is in fact an
    Executory Contract or Unexpired Lease capable of rejection, that any Post-Effective Date Debtor(s) has any
    liability thereunder, or that such Executory Contract or Unexpired Lease is necessarily a binding and enforceable
    agreement. Further, the Debtors expressly reserve the right to (a) remove any Executory Contract or Unexpired
    Lease from the Rejected Contracts and Unexpired Leases Schedule and assume such Executory Contract or
    Unexpired Lease pursuant to the terms of the Plan, up until the Effective Date and (b) dispute any Claim asserted
    in connection with rejection of any Executory Contract or Unexpired Lease.


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                      LLP, 1201 North Market Street, 16th Floor, P.O. Box 1347, Wilmington,
                      Delaware      19899-1347        (Attn:      Derek      C.     Abbott
                      (dabbott@morrisnichols.com),        Andrew         R.       Remming
                      (aremming@morrisnichols.com),       and      Paige     N.     Topper
                      (ptopper@morrisnichols.com));

               (b)    the U.S. Trustee, 844 King Street, Suite 2207, Lockbox 35, Wilmington,
                      Delaware        19801      (Attn:        David      L.     Buchbinder
                      (david.l.buchbinder@usdoj.gov)     and     Hannah     M.   McColllum
                      (hannah.mccollum@usdoj.gov));

               (c)    counsel to the Tort Claimants’ Committee, Pachulski Stang Ziehl & Jones
                      LLP, 919 North Market Street, 17th Floor, P.O. Box 8705, Wilmington, DE
                      19801 (Attn: James I. Stang (jstang@pszjlaw.com), John A. Morris
                      (jmorris@pszjlaw.com), James E. O’Neill (joneill@pszjlaw.com), and John
                      W. Lucas (jlucas@pszjlaw.com));

               (d)    counsel to the Creditors’ Committee, Kramer Levin Naftalis & Frankel
                      LLP, 1177 Avenue of the Americas, New York, New York 10036 (Attn:
                      Thomas Moers Mayer (tmayer@kramerlevin.com), Rachael Ringer
                      (rringer@kramerlevin.com),      David        E.     Blabey,       Jr.
                      (dblabey@kramerlevin.com),          Jennifer      R.         Sharret
                      (jsharret@kramerlevin.com),     and       Megan     M.       Wasson
                      (mwasson@kramerlevin.com));

               (e)    counsel to the Future Claimants’ Representative, Young Conaway Stargatt
                      & Taylor, LLP, 1000 North King Street, Wilmington, Delaware 19801
                      (Attn: Robert S. Brady (rbrady@ycst.com), Edwin J. Harron
                      (eharron@ycst.com), and Sharon M. Zieg (szieg@ycst.com)); and

               (f)    counsel to JPMorgan Chase Bank National Association, Norton Rose
                      Fulbright US LLP, 2200 Ross Avenue, Dallas, Texas 75201-7932 (Attn:
                      Kristian W. Gluck (kristian.gluck@nortonrosefulbright.com)).

  OBJECTIONS NOT TIMELY FILED AND SERVED STRICTLY AS PRESCRIBED
 HEREIN MAY NOT BE CONSIDERED BY THE BANKRUPTCY COURT AND MAY
         BE DEEMED OVERRULED WITHOUT FURTHER NOTICE.

        6.      The Bankruptcy Court has scheduled a hearing to consider whether to confirm the
Plan beginning on [●], 2021 at 10:00 a.m. (Eastern Time) (the “Confirmation Hearing”), which
shall continue to the extent necessary on [●], 2021 at 10:00 a.m. (Eastern Time). The Confirmation
Hearing will be held before the Honorable Laurie Selber Silverstein, United States Bankruptcy
Judge, at the Bankruptcy Court, located at 824 North Market Street, Sixth Floor, Courtroom No.
2, Wilmington, Delaware 19801. Please be advised that the Confirmation Hearing may be
adjourned or continued from time to time by the Bankruptcy Court or the Debtors without
further notice other than as indicated in any notice or agenda of matters scheduled for a
particular hearing that is filed with the Bankruptcy Court. If the Confirmation Hearing is

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continued, the Debtors will post the new date and time of the Confirmation Hearing at
https://omniagentsolutions.com/BSA. The Plan may be modified, if necessary, prior to, during, or
as a result of the Confirmation Hearing, without further notice to creditors or other parties in
interest, unless such notice is required by the Bankruptcy Code, Bankruptcy Rules, or other
applicable law.

       7.      Any objections to the Plan in connection with the rejection of the Executory
Contract(s) and Unexpired Lease(s) identified on Exhibit A hereto and/or related rejection
damages proposed in connection with the Plan that remain unresolved as of the Confirmation
Hearing will be heard at the Confirmation Hearing (or such other date as fixed by the Court).

       8.     The Debtors, subject to the terms of the Plan, reserve the right to alter, amend,
modify, or supplement any information set forth herein, including to add or delete any Executory
Contract or Unexpired Lease, at any time up to and including the Effective Date of the Plan.

        9.      If you would like copies of the Plan, the Disclosure Statement, the Solicitation
Procedures Order, or other documents related to the Plan, free of charge, you may obtain these
documents from Omni Agent Solutions (the Solicitation Agent”) by: (a) calling the Debtors’ toll-
free restructuring hotline at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing
to Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue,
Suite 100, Woodland Hills, CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring
website at https://omniagentsolutions.com/BSA. You may also access from these materials for a
fee via PACER at http://www.deb.uscourts.gov/.

 ARTICLE X OF THE PLAN CONTAINS RELEASE, EXCULPATION, AND
 INJUNCTION PROVISIONS, AND ARTICLE X.J.4 OF THE PLAN CONTAINS A
 THIRD-PARTY RELEASE. THUS, YOU ARE ADVISED TO REVIEW AND
 CONSIDER THE PLAN CAREFULLY BECAUSE YOUR RIGHTS MIGHT BE
 AFFECTED THEREUNDER.

 THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES ONLY.
 IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER THE
 PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE TO
 OBTAIN ADDITIONAL INFORMATION, PLEASE CONTACT THE SOLICITATION
 AGENT VIA ONE OF THE METHODS SPECIFIED ABOVE. PLEASE NOTE THAT
 THE SOLICITATION AGENT MAY NOT PROVIDE LEGAL ADVICE. IF YOU NEED
 LEGAL ADVICE, PLEASE CONSULT WITH YOUR ATTORNEY.



                         [Remainder of Page Intentionally Left Blank]




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Dated: [●], 2021

WHITE & CASE LLP                                   MORRIS, NICHOLS, ARSHT & TUNNELL LLP
Jessica C. Lauria (admitted pro hac vice)          Derek C. Abbott (No. 3376)
1221 Avenue of the Americas                        Andrew R. Remming (No. 5120)
New York, New York 10020                           Paige N. Topper (No. 6470)
Telephone: (212) 819-8200                          1201 North Market Street, 16th Floor
Email: jessica.lauria@whitecase.com                P.O. Box 1347
                                                   Wilmington, Delaware 19899-1347
– and –                                            Telephone: (302) 658-9200
                                                   Email: dabbott@morrisnichols.com
WHITE & CASE LLP                                          aremming@morrisnichols.com
Michael C. Andolina (admitted pro hac vice)               ptopper@morrisnichols.com
Matthew E. Linder (admitted pro hac vice)
Laura E. Baccash (admitted pro hac vice)
Blair M. Warner (admitted pro hac vice)
111 South Wacker Drive
Chicago, Illinois 60606
Telephone: (312) 881-5400
Email: mandolina@whitecase.com
       mlinder@whitecase.com
       laura.baccash@whitecase.com
       blair.warner@whitecase.com

                     Attorneys for the Debtors and Debtors in Possession




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                           Exhibit A

        Rejected Contracts and Unexpired Leases Schedule
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                                 Exhibit 11

Abuse Claim Solicitation Notice and Abuse Survivor Plan Solicitation Directive
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    THIS NOTICE IS NOT A SOLICITATION FOR CONSENTS TO ACCEPT OR
    REJECT ANY CHAPTER 11 PLAN OF REORGANIZATION FOR THE DEBTORS.
    VOTES TO ACCEPT OR REJECT ANY CHAPTER 11 PLAN MAY NOT BE
    SOLICITED UNLESS AND UNTIL A DISCLOSURE STATEMENT HAS BEEN
    APPROVED BY THE BANKRUPTCY COURT PURSUANT TO SECTIONS 1125 AND
    1126 OF THE BANKRUPTCY CODE.

    TO INCORPORATE YOUR PREFERRED METHOD OF DISTRIBUTION OF THE
    SOLICITATION PACKAGES, AS AUTHORIZED BY YOUR CLIENTS, THE
    DEBTORS REQUEST THAT YOU RETURN THE ENCLOSED ABUSE SURVIVOR
    PLAN SOLICITATION DIRECTIVE TO THE SOLICITATION AGENT BY APRIL 23,
    2021. THIS DIRECTIVE WILL GUIDE THE DEBTORS IN SOLICITING THE VOTES
    OF YOUR CLIENTS IN THE FUTURE.

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.


        NOTICE TO ATTORNEYS REPRESENTING ABUSE SURVIVORS OF
(I) PROPOSED PROCEDURES FOR SOLICITING VOTES OF HOLDERS OF DIRECT
 ABUSE CLAIMS TO ACCEPT OR REJECT THE AMENDED CHAPTER 11 PLAN OF
REORGANIZATION FOR BOY SCOUTS OF AMERICA AND DELAWARE BSA, LLC,
 (II) DATE REQUESTED FOR ATTORNEYS TO SUBMIT ABUSE SURVIVOR PLAN
      SOLICITATION DIRECTIVES, AND (III) OTHER RELATED DEADLINES

TO:          ALL ATTORNEYS REPRESENTING ABUSE SURVIVORS

PLEASE TAKE NOTICE OF THE FOLLOWING:

       1.     On February 18, 2020 (the “Petition Date”), the Boy Scouts of America and
Delaware BSA, LLC, as non-profit corporations that are debtors and debtors in possession in the
above-captioned chapter 11 cases (together, the “Debtors”), filed voluntary petitions for relief



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the United States
Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”).

         2.      On March 1, 2021, the Debtors filed the Disclosure Statement for the Amended
Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 2294]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Proposed Disclosure Statement”) for the Amended Chapter
11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 2293]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Plan”).2 Concurrently with the filing of the Disclosure
Statement and Plan, the Debtors filed a motion [D.I. 2295] (the “Solicitation Procedures Motion”)
to (a) approve the Disclosure Statement, (b) establish the Voting Record Date, Voting Deadline,
and other related dates in connection with confirmation of the Plan, (c) approve procedures for
soliciting, receiving, and tabulating votes on the Plan and for filing objections to the Plan (the
“Solicitation Procedures”), which are attached to the proposed order for the Solicitation Procedures
Motion as Exhibit 1, (d) approve the form and manner of notice and other related documents as
they relate to the Debtors, and (e) grant other related relief. A hearing to consider approval of the
Proposed Disclosure Statement is currently scheduled for April 29, 2021 at 10:00 a.m. (Eastern
Time) (the “Disclosure Statement Hearing”).

        3.     The Solicitation Procedures Motion sets forth the proposed notice and voting
procedures applicable to you and your clients who may hold Direct Abuse Claims (as defined in
the Plan) against the Debtors that are attributable to, arise from, are based upon, relate to, or result
from, in whole or in part, directly, indirectly, or derivatively, Abuse3 that occurred prior to the
Petition Date. The clients you represent who hold Direct Abuse Claims are referred to herein as
your “Abuse Survivor Clients.” As to your Abuse Survivor Clients, the Debtors are requesting, in
advance of the Disclosure Statement Hearing, certain information regarding your preferred method
of distribution of the Solicitation Packages that will contain the ballots and other information
relevant to your Abuse Survivor Clients as they decide whether to vote to accept or reject the Plan.
To incorporate your preferred method of distribution of the Solicitation Packages, as authorized
by your clients on the Sexual Abuse Survivor Proofs of Claim, the Debtors request that you
complete and return the enclosed Abuse Survivor Plan Solicitation Directive to the Debtors’

2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Plan, the Disclosure Statement, or the Order, Pursuant to 11 U.S.C. § 502(b)(9), Bankruptcy Rules 2002 and
    3003(c)(3), and Local Rules 2002-1(e), 3001-1, and 3003-1, (I) Establishing Deadlines for Filing Proofs of
    Claim, (II) Establishing the Form and Manner of Notice Thereof, (III) Approving Procedures for Providing
    Notice of Bar Date and Other Important Information to Abuse Survivors, and (IV) Approving Confidentiality
    Procedures for Abuse Survivors [D.I. 695], as applicable.
3
    “Abuse” means sexual conduct or misconduct, sexual abuse or molestation, sexual exploitation, indecent assault
    or battery, rape, pedophilia, ephebophilia, sexually related psychological or emotional harm, humiliation, anguish,
    shock, sickness, disease, disability, dysfunction, or intimidation, any other sexual misconduct or injury, contacts
    or interactions of a sexual nature, including the use of photography, video, or digital media, or other physical
    abuse or bullying or harassment without regard to whether such physical abuse or bullying is of a sexual nature,
    between a child and an adult, between a child and another child, or between a non-consenting adult and another
    adult, in each instance without regard to whether such activity involved explicit force, whether such activity
    involved genital or other physical contact, and whether there is or was any associated physical, psychological, or
    emotional harm to the child or non-consenting adult.


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solicitation agent, Omni Agent Solutions (the “Solicitation Agent”), (a) by mail at Boy Scouts of
America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100,
Woodland Hills, CA 91367; or (b) by email at BSAballots@omniagnt.com, so that it is received
by the Solicitation Agent no later than April 23, 2021, which is the Abuse Survivor Plan
Solicitation Directive Deadline.4

        4.      As explained in further detail in the attachment, the Abuse Survivor Plan
Solicitation Directive provides for you to select your preferred method for the Solicitation Agent
to solicit the votes of your Abuse Survivor Clients to accept or reject the Plan from two (2)
different solicitation methods. While these proposed solicitation methods are designed to
streamline and expedite the delivery of information to your Abuse Survivor Clients, increase voter
participation, and ensure that holders of Direct Abuse Claims are empowered to make informed
and meaningful decisions regarding whether to accept or reject the Plan, each voting decision rests
exclusively with each Abuse Survivor Client. Each known attorney representing holders of Direct
Abuse Claims (each, a “Firm”) is required to comply with applicable rules and receive informed
written consent from its Abuse Survivor Clients.

        5.      The Debtors are also distributing to each Firm an encrypted, password-protected
USB drive with an Excel spreadsheet that lists the first and last name, claim number, month and
year of birth, last four digits of Social Security Number, mailing address, and email address (if
available) of each Firm’s Abuse Survivor Clients as compiled by the Debtors, with the assistance
of their professionals, based on the Debtors’ review of the Sexual Abuse Survivor Proofs of Claim
by or on behalf of the holders of Direct Abuse Claims in the Chapter 11 Cases (each, a “Client
List”). Your Firm will receive an email at the email address on file in your Abuse Survivor
Clients’ Sexual Abuse Survivor Proofs of Claim with the access code for the USB drive. If
you do not receive an access code at this email address, please contact the Solicitation Agent
at BSAballots@omniagnt.com or 866-907-2721.

        6.      The Debtors ask that you confirm the names, addresses, and (if known) email
addresses of your Abuse Survivor Clients as set forth on the Client List. Please make any necessary
additions, subtractions, or other corrections to the Excel spreadsheet provided, and return the
Client List in the same electronic format provided by the Debtors’ Solicitation Agent no later than
Abuse Survivor Plan Solicitation Directive Deadline (April 23, 2021). To the extent your Firm
includes Abuse Survivor Clients who were not originally listed by the Solicitation Agent, you must
provide the Solicitation Agent with the Proof of Claim number that corresponds to each such
additional Abuse Survivor Client’s Direct Abuse Claim. If the Abuse Survivor Client’s Sexual
Abuse Survivor Proof of Claim does not indicate that communications regarding such claim may
be directed to your Firm, you must also provide written verification from the Abuse Survivor
Client(s) that he or she has authorized the Firm to receive the Solicitation Package on his or her
behalf. If such written verification is not supplied by the Firm, the Solicitation Agent will not
count the vote for the Abuse Survivor Client(s) in a Master Ballot submitted by such Firm and
those Abuse Survivor Client(s) will be solicited by the Direct Solicitation Method. The
Solicitation Agent will endeavor to identify on the Client Lists any conflicting records indicating



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    The Abuse Survivor Plan Solicitation Directive Deadline may be extended in the Debtors’ discretion.


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that an individual Abuse Survivor Client may be represented by more than one Firm or has filed
duplicative Direct Abuse Claims on account of a single claim.

        7.     Pursuant to the proposed Solicitation Procedures, if approved by the Bankruptcy
Court, the Solicitation Agent will cause a cover letter and an appropriate Ballot to be mailed in
accordance with the instructions set forth on the Abuse Survivor Plan Solicitation Directive. The
cover letter will contain instructions to electronically access the proposed Disclosure Statement
(as approved by the Bankruptcy Court), the Plan, and various documents related thereto. Copies
of the Disclosure Statement, the Plan, and the Solicitation Procedures Motion are available for
review and download free of charge on the website maintained by the Solicitation Agent at
https://omniagentsolutions.com/bsa. Copies of the Disclosure Statement and the Plan are also
available upon request by (a) calling the Debtors’ toll-free restructuring hotline at 866-907-2721,
(b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America Ballot Processing,
c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367, or (d)
submitting      an      inquiry      on      the     Debtors’      restructuring      website    at
https://omniagentsolutions.com/BSA. You may also access these materials for a fee via PACER
at http://www.deb.uscourts.gov/. Responses and objections to approval of the Disclosure
Statement, the proposed Solicitation Procedures and other relief sought by the Debtors in the
Solicitation Procedures Motion must be filed in accordance with the procedures set forth in the
Notice of Hearing to Consider Approval of Disclosure Statement and Solicitation Procedures for
the Amended Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA,
LLC [D.I. 2298] and served so as to be actually received by the Debtors on or before April 16,
2021 at 4:00 p.m. (Eastern Time).

        8.     If you do not return the Abuse Survivor Plan Solicitation Directive by the
Abuse Survivor Plan Solicitation Directive Deadline, or otherwise do not select a solicitation
method, the Debtors intend, subject to Bankruptcy Court authorization, to direct the
Solicitation Agent to solicit votes to accept or reject the Plan from your Abuse Survivor
Clients according to the Direct Solicitation Method described in the proposed Solicitation
Procedures and in the enclosed Abuse Survivor Plan Solicitation Directive, despite anything
to the contrary in the proposed Solicitation Procedures. For the avoidance of doubt, the
Debtors will request approval from the Bankruptcy Court to solicit the votes of holders of Direct
Abuse Claims who are represented by counsel and who do not return the Abuse Survivor Plan
Solicitation Directive by the Abuse Survivor Plan Solicitation Directive Deadline via the Direct
Solicitation Method, using the communication preferences indicated in such abuse survivors’
Sexual Abuse Survivor Proofs of Claim.

       9.      If you have questions about completing the Abuse Survivor Plan Solicitation
Directive, please contact the Solicitation Agent at BSAballots@omniagnt.com.




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Dated: April 5, 2021

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                       Attorneys for the Debtors and Debtors in Possession




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    THIS ABUSE SURVIVOR PLAN SOLICITATION DIRECTIVE IS NOT A
    SOLICITATION FOR CONSENTS TO ACCEPT OR REJECT ANY CHAPTER 11
    PLAN OF REORGANIZATION FOR THE DEBTORS. VOTES TO ACCEPT OR
    REJECT ANY CHAPTER 11 PLAN MAY NOT BE SOLICITED UNLESS AND UNTIL
    A DISCLOSURE STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY
    COURT PURSUANT TO SECTIONS 1125 AND 1126 OF THE BANKRUPTCY CODE.

    TO INCORPORATE YOUR PREFERRED METHOD OF DISTRIBUTION OF THE
    SOLICITATION PACKAGES, AS AUTHORIZED BY YOUR CLIENTS, THE
    DEBTORS REQUEST THAT YOU RETURN THIS ABUSE SURVIVOR PLAN
    SOLICITATION DIRECTIVE TO THE SOLICITATION AGENT BY APRIL 23, 2021.
    THIS DIRECTIVE WILL GUIDE THE DEBTORS IN SOLICITING THE VOTES OF
    YOUR CLIENTS IN THE FUTURE.

                              IN THE UNITED STATES BANKRUPTCY
                             COURT FOR THE DISTRICT OF DELAWARE


    In re:                                                            Chapter 11
    BOY SCOUTS OF AMERICA AND                                         Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                      (Jointly Administered)
                          Debtors.


                      ABUSE SURVIVOR PLAN SOLICITATION DIRECTIVE

        I hereby direct that distribution of Solicitation Packages in connection with the Amended
Chapter 11 Plan of Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. 2293]
(together with all schedules and exhibits thereto, and as may be modified, amended, or
supplemented from time to time, the “Plan”), subject to Bankruptcy Court approval of the proposed
Solicitation Procedures, be implemented as follows:

        Box 1 □ No Solicitation Required. I do not represent any Abuse Survivor Clients
asserting Direct Abuse Claims against the Debtors. By signing below, I hereby certify and
authorize the Solicitation Agent to remove me from the service or distribution list in the above-
captioned Chapter 11 Cases.

        Box 2 □ Master Ballot Solicitation Method. I certify that (a) I shall collect and record
the votes of each of my Abuse Survivor Clients through customary and accepted practices (i.e.,
written communication) and I have authority to cast votes for each of my Abuse Survivor Clients,

1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 West Walnut Hill Lane, Irving, Texas 75038.
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or (b) I have the authority under applicable law to vote accept or reject the Plan on behalf of each
of my Abuse Survivor Clients, and intend to exercise such authority (and I will provide a valid
power of attorney or other written documentation that effect upon request by the Debtors, in their
discretion). Accordingly, in lieu of soliciting votes from each of my Abuse Survivor Clients, I
will record the votes to accept or reject the Plan for each of my Abuse Survivor Clients on a master
ballot (a “Master Ballot”) that I will submit to the Solicitation Agent (the “Master Ballot
Solicitation Method”) in accordance with the proposed Solicitation Procedures. I understand that
by electing this Master Ballot Solicitation Method I must meet all applicable standards to receive
informed consent from my Abuse Survivor Clients and that I have not added any Abuse Survivor
Client to the Master Ballot whose Sexual Abuse Survivor Proof of Claim does not indicate that
communication may be sent to my Firm if I have not supplied written verification that the Abuse
Survivor Client has authorized my Firm to receive the Solicitation Package on his or her behalf. I
understand that, by electing this method, I shall provide the Disclosure Statement, either in
electronic format, hard copy, or another format, to my Abuse Survivor Clients.

        By signing below, I hereby certify that: (a) I have authority under law and I have duly valid
and enforceable authorizations to vote to accept or reject the Plan on behalf of my Abuse Survivor
Clients in accordance with my Firm’s customary practices; (ii) no Solicitation Packages need to
be provided to any of my Abuse Survivor Clients; and (iii) I represent each of the Abuse Survivor
Clients set forth on the Excel spreadsheet that lists the claim numbers, names, mailing addresses,
email addresses (if available), and other information regarding my Abuse Survivor Clients (the
“Client List”) that I have received from the Solicitation Agent.

        Box 3 □ Direct Solicitation Method. I hereby direct the Solicitation Agent to send a
Solicitation Package (including a Ballot) directly to each of my Abuse Survivor Clients via email
addressed to the email address specified on my Firm’s Client List (unless otherwise ordered by the
Bankruptcy Court) or, where email communications have not been expressly authorized by an
Abuse Survivor Client on his or her Sexual Abuse Survivor Proof of Claim or no email address
has been provided, via U.S. mail at the street address specified on my Firm’s Client List (the
“Direct Solicitation Method”). By electing the Direct Solicitation Method, I understand and shall
advise my Abuse Survivor Clients that completed Ballots must be submitted to the Solicitation
Agent individually by my Abuse Survivor Clients so that they are received by the Voting Deadline
in accordance with the proposed Solicitation Procedures.


                          [Remainder of Page Intentionally Left Blank]




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        By signing below, I hereby certify that I represent each of the Abuse Survivor Clients set
forth on the Client List, which I received in connection with this Abuse Survivor Plan Solicitation
Directive.


SIGNATURE: __________________________________




                 Name of Attorney                                              Signature



                Name of Law Firm                                         Telephone Number



                   Street Address                                            Email Address



               City, State, Zip Code                                         Date Completed


                                      *        *        *       *        *

          Instructions for Returning this Abuse Survivor Plan Solicitation Directive

        The Debtors are requesting that this Abuse Survivor Plan Solicitation Directive and Client
List be returned so that it is received by the Solicitation Agent on or before the Abuse Survivor
Plan Solicitation Directive Deadline of April 23, 2021,2 (a) by mail at Boy Scouts of America
Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills,
CA 91367 or (b) by email at BSAballots@omniagnt.com.

     IF YOU DO NOT RETURN THE ABUSE SURVIVOR PLAN SOLICITATION
DIRECTIVE BY THE ABUSE SURVIVOR PLAN SOLICITATION DIRECTIVE
DEADLINE, OR OTHERWISE DO NOT SELECT A SOLICITATION METHOD, THE
DEBTORS RESERVE THE RIGHT, SUBJECT TO BANKRUPTCY COURT
AUTHORIZATION, TO DIRECT THE SOLICITATION AGENT TO SOLICIT VOTES
TO ACCEPT OR REJECT THE PLAN FROM YOUR ABUSE SURVIVOR CLIENTS
ACCORDING TO THE DIRECT SOLICITATION METHOD DESCRIBED HEREIN
AND IN THE PROPOSED SOLICITATION PROCEDURES. FOR THE AVOIDANCE
OF DOUBT, THE DEBTORS ARE REQUESTING APPROVAL FROM THE
BANKRUPTCY COURT TO SOLICIT THE VOTES OF HOLDERS OF DIRECT ABUSE

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    The Abuse Survivor Plan Solicitation Directive Deadline may be extended in the Debtors’ discretion.


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CLAIMS WHO ARE REPRESENTED BY COUNSEL AND WHO DO NOT RETURN
THIS DIRECTIVE BY THE ABUSE SURVIVOR PLAN SOLICITATION DIRECTIVE
DEADLINE VIA THE DIRECT SOLICITATION METHOD, USING THE
COMMUNICATION PREFERENCES INDICATED IN SUCH ABUSE SURVIVORS’
PROOFS OF CLAIM.

                                Requirements for the Client List

        As indicated above, you must the confirm the accuracy of the names, addresses, and (if
known) email addresses of your Abuse Survivor Clients set forth on the enclosed Client List. In
accordance with the proposed Solicitation Procedures, you must make any necessary additions,
subtractions, or other corrections to the spreadsheet(s) provided, and return the Client List in the
same electronic format provided to you by the Solicitation Agent no later than the Abuse Survivor
Plan Solicitation Directive Deadline. If you add any Abuse Survivor Clients who were not
originally listed by the Solicitation Agent, you must provide the Solicitation Agent with the Proof
of Claim number that corresponds to each such additional Abuse Survivor Client’s Direct Abuse
Claim and written verification that such Abuse Survivor Client(s) have authorized you to receive
the Solicitation Package on his or her behalf. The Solicitation Agent will endeavor to identify on
the Client Lists any conflicting records indicating that an individual Abuse Survivor Client may
be represented by more than one Firm or has filed duplicative Direct Abuse Claims on account of
a single claim.

       Client Lists must be returned so as to be received no later than April 23, 2021 either (a) by
mail at Boy Scouts of America Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto
Avenue, Suite 100, Woodland Hills, CA 91367 or (b) by email at BSAballots@omniagnt.com.

     If you have any technical questions, please contact the Solicitation Agent at
BSAballots@omniagnt.com or 866-907-2721.

 Before returning your directive please be sure to:

 Select one of Box 1, Box 2, or Box 3.




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                         Exhibit 12

                Chartered Organization Notice
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 TO:         ALL CHARTERED ORGANIZATIONS OF BOY SCOUTS OF AMERICA
 FROM:       BOY SCOUTS OF AMERICA

              SUMMARY REGARDING CHARTERED ORGANIZATIONS’
                 OPTIONS UNDER THE BSA’S CHAPTER 11 PLAN

        On February 18, 2020, Boy Scouts of America (the “BSA”) filed for bankruptcy protection
in the United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”). The
BSA has filed a chapter 11 plan of reorganization (the “Plan”) which, if confirmed by the
Bankruptcy Court, will allow it to exit bankruptcy. Copies of the Plan, together with various
supporting documents, may be obtained by (a) calling the Debtors’ toll-free restructuring hotline
at 866-907-2721, (b) emailing BSAballots@omniagnt.com, (c) writing to Boy Scouts of America
Ballot Processing, c/o Omni Agent Solutions, 5955 De Soto Avenue, Suite 100, Woodland Hills,
CA 91367, or (d) submitting an inquiry on the Debtors’ restructuring website at
https://omniagentsolutions.com/BSA.

       This document is intended to assist Chartered Organizations in understanding their rights
under the Plan. It is not comprehensive and does not describe every fact, issue, or consideration
that may be relevant to a Chartered Organization under the Plan. The Bankruptcy Court has
reviewed this document and permitted the BSA to send it to Chartered Organizations, together
with the Plan and other related documents to assist Chartered Organizations in assessing how the
Plan will affect them. The Bankruptcy Court has not endorsed or confirmed the Plan. This
document describes the treatment of Chartered Organizations under the Plan in “plain English.”
You should consult with your legal counsel and read the Plan and Disclosure Statement,
including the “Risk Factors” in Article X of the Disclosure Statement, in their entirety. If
there are inconsistencies between this document and the terms of the Plan, the Plan governs.

       This document contains the following:

       (1)     FAQ regarding the treatment of Chartered Organizations under the Plan;

       (2)     a table summarizing the three options for Chartered Organizations under the Plan;

       (3)     an opt-out election form, which a Chartered Organization may use to “opt-out” of
               becoming a “Participating Chartered Organization” under the Plan (Option #3
               described below). Please read this document, the Disclosure Statement, and the
               Plan before you decide whether to complete the opt-out election; and

       (4)     a notice of the hearing for the Bankruptcy Court to consider approval of the Plan,
               which contains important information, including instructions on how Chartered
               Organizations may object to the Plan.

                                          General FAQs

What is a Chartered Organization?

       A “Chartered Organization” is any civic, faith-based, educational or business
organizations, governmental entities or organizations, other entities or organizations, or groups of
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individual citizens that are currently or were formerly authorized by the BSA to operate, sponsor
or otherwise support one or more Scouting units.

Will the choices that a Chartered Organization makes under the Plan impact its current
relationship with the BSA and Scouting?

        No. The choices a Chartered Organization makes under the Plan relate only to treatment
of historical alleged Abuse Claims that pre-date the BSA’s bankruptcy filing. The vast majority
of Abuse Claims are decades old. Any decision you make under the Plan will not impact your
relationship with the BSA and Scouting as it stands today. Today and going forward, the BSA has
an industry-leading insurance program that provides significant insurance coverage for all
Chartered Organizations.      That insurance coverage includes protection for Chartered
Organizations and it will continue to protect Chartered Organizations into the future. The BSA
also has industry-leading youth protection protocols in place to protect today’s and tomorrow’s
Scouts. We are asking our Chartered Organizations to make certain choices under the Plan, but
the choices that you make will have no impact on your relationship with the BSA and Scouting
going forward. They relate only to handling of historical alleged Abuse Claims.

What rights does a Chartered Organization currently have against the BSA, Local Councils,
and BSA-provided insurance?

        Since January 1, 1976, the BSA has included Chartered Organizations as insured parties
under its general liability insurance policies. That is, if a claim is made against a Chartered
Organization related to Scouting from any time after January 1, 1976, the Chartered Organization
can make a claim against the BSA’s general liability insurance policy and potentially receive
coverage under that policy (in addition to any insurance policy that the Chartered Organization
may have purchased for itself). Prior to 1976, while the BSA did not include Chartered
Organizations as insured parties, many Local Councils purchased insurance policies that included
Chartered Organizations as additional insureds. While we do not have a comprehensive picture of
insurance coverage for Chartered Organizations prior to 1976, we believe that beginning in 1965
through 1972, a substantial number of Local Councils purchased insurance from Insurance
Company of North America (“INA/Century”) which BSA and the Local Councils believe provided
substantial coverage for Chartered Organizations. The BSA is also aware that other insurance
carriers, including Hartford, provided insurance policies to Local Councils prior to 1976. Some
Chartered Organizations have asserted that they have rights to pre-1976 BSA insurance on the
basis that they are “volunteer leaders” as defined in the insurance policies; the BSA believes that
those claims will be disputed by the BSA’s insurers and others.

        In addition to BSA-provided insurance, Chartered Organizations may have claims against
the BSA or Local Councils for “contribution,” “indemnity,” or both if the Chartered Organization
has been or in the future is held liable for an Abuse Claim related to Scouting. When one party is
held liable for a personal injury claim such as Abuse, that party may, under certain circumstances,
seek to hold liable other parties who may have been jointly responsible for the injury and seek to
compel them to contribute to the judgment. Rights of contribution and indemnity can arise either
under a written contract or, in somewhat more limited circumstances, under common law.



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       Local Councils have provided certain contractual indemnities in favor of Chartered
Organizations since 2014 through provisions in annual charter agreements. Certain Chartered
Organizations believe that a 2013 resolution of the BSA offered to indemnify Chartered
Organizations against Abuse Claims. Following that BSA resolution, beginning in 2014,
references to indemnification of Chartered Organizations were included in the annual charter
agreement between a Chartered Organization and its Local Council. Chartered Organizations may
also have rights against the BSA and Local Councils by operation of law related to claims of
Abuse, such as rights of contribution. Claims against the BSA on account of contribution or
indemnity for Abuse Claims related to Scouting were required to be filed in the BSA’s bankruptcy
case on or before November 16, 2020.

Did the BSA provide comprehensive insurance protection for Chartered Organizations prior
to 1976 and, if not, why not?

       The National BSA did not include Chartered Organizations as named insureds under its
general liability insurance policies prior to 1976. As noted above, many Local Councils named
Chartered Organizations as additional insureds under certain of their policies prior to 1976.
However, there was not consistent insurance coverage prior to 1976 under Local Council policies,
and historical BSA documents show that the BSA did not promise to provide insurance prior to
1976.

        The BSA understands that, prior to 1976, the BSA and Chartered Organizations relied upon
the “charitable immunity” defense to protect themselves from personal injury claims. That defense
was widely available to charitable organizations for much of the twentieth century and provided
robust protections for charitable organizations against personal injury liability. Starting in the late
1940s, and accelerating in the 1950s, 1960s, and 1970s, many states reduced or eliminated the
defense. Our best understanding is that, by the mid-1970s, the BSA and Chartered Organizations
realized and agreed that they could no longer rely on charitable immunity for robust personal injury
protection. Local Councils began providing insurance coverage for Chartered Organizations in
the 1960s, and the BSA stepped in to provide comprehensive insurance coverage to Chartered
Organizations starting in 1976. We believe that that insurance was essentially intended to
“replace” the protections that had previously been provided by the charitable immunity defense.

How does the Plan work and how does it modify the rights of Chartered Organizations?

        The Plan provides a framework for the comprehensive resolution for historical Scouting-
related Abuse Claims. In the BSA’s bankruptcy case, anyone who alleges that they were abused
in Scouting and alleges that he has a claim against the BSA was required to file a claim on or
before November 16, 2020. More than 82,000 people filed claims alleging Abuse. Under the
Plan, these claimants are referred to as holders of “Direct Abuse Claims.” That is, they are the
individuals that have asserted that they were personally abused. In addition to Direct Abuse
Claims, any organization that asserts a claim against the BSA related to alleged Abuse in Scouting
was also required to file a claim. This would include, for example, any Chartered Organization
that asserts a claim for contribution or indemnity against the BSA or Local Councils related to a
claim for Abuse. These types of claims are known under the Plan as “Indirect Abuse Claims.”



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       Under the Plan, all Abuse Claims – both Direct and Indirect – are “channeled” to a
“Settlement Trust” and away from any “Protected Party.” What that means is that someone who
holds an Abuse Claim against a Protected Party will only be able to bring that claim and receive
payment for that claim from the Settlement Trust, not from the Protected Party. Chartered
Organizations will be impacted by this “channeling” of Abuse Claims to the Settlement Trust in
two ways:

      First, a Chartered Organization may elect to become a “Limited Protected Party” under the
       Plan. A Chartered Organization can become a “Limited” Protected Party and receive
       protection from Abuse Claims related to Scouting from and after January 1, 1976
       automatically under the Plan. Chartered Organizations do not have to make any payments
       for this partial protection. They may also elect to become “fully” Protected Parties by
       making a negotiated payment to the Settlement Trust. Doing so can fully resolve any
       Scouting-related Abuse Claims against the Chartered Organization for all time prior to the
       BSA’s bankruptcy filing on February 18, 2020 (as opposed to just between January 1, 1976
       and February 18, 2020). If a Chartered Organization does not want either partial or full
       protection against Abuse Claims by having all or a portion of such Abuse Claims channeled
       to the Settlement Trust, it may opt out and retain the insurance coverage that it held when
       the BSA filed for bankruptcy, subject to potential sale of the BSA’s insurance policies back
       to its insurers, as addressed below. Each of these options are addressed more fully below.

      Second, if a Chartered Organization holds an “Indirect Abuse Claim” against a Protected
       Party (including the BSA or a Local Council), that claim will also be channeled to the
       Settlement Trust. If the Plan is confirmed, the Chartered Organization will only be able to
       look to the Settlement Trust for payment of the Indirect Abuse Claim and will not be able
       to pursue the Protected Party directly. A Chartered Organization that elects to become a
       “Participating Chartered Organization” and have its post-1975 liability for Abuse Claims
       channeled to the Settlement Trust will waive any “Indirect Abuse Claims” that it would
       otherwise be able to assert against the Settlement Trust.

What is the Settlement Trust?

       The Settlement Trust is established under the Plan to collect settlement proceeds from
various parties and to liquidate, process and pay Direct Abuse Claims and Indirect Abuse in
accordance with “Trust Distribution Procedures” to be approved by the Bankruptcy Court.

What assets are being contributed to the Settlement Trust to pay Abuse Claims?

         The Settlement Trust will be funded with cash and other property, as well as insurance
rights, contributed by the Protected Parties, including the BSA, the Local Councils, certain Settling
Insurance Companies, and other Protected Parties. If the BSA emerges from bankruptcy on
December 31, 2021, we estimate that the value of the current agreed cash and property
contributions to the Settlement Trust as of that date will be approximately $1.857 billion. This
value is projected to increase over time as the Settlement Trust liquidates additional claims under
insurance policies and other assets are contributed to it by Protected Parties.

Do Chartered Organizations automatically receive any protections from Abuse Claims?

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       Yes. Any holder of a Direct Abuse Claim (i.e., a person who claims to have been abused)
may choose to receive a one-time payment of $3,500 from the Settlement Trust without the need
to go through the more extensive vetting process that the Settlement Trustee uses for all other
Direct Abuse Claims. This $3,500 payment is referred to as an “Expedited Distribution.” Anyone
that chooses to receive an Expedited Distribution automatically releases all Chartered
Organizations with respect to that Abuse Claim.

        Chartered Organizations are not required to pay anything to receive the benefits of this
release. The release will be automatic and in favor of all Chartered Organizations. And Chartered
Organizations will also still receive the benefit of this release even if they elect to “opt out” of
being a “Participating Chartered Organization” (discussed immediately below). In other words, if
the Plan is confirmed, all Chartered Organizations will receive the benefit of this release from
those who elect to receive the Expedited Distribution regardless of whatever else the Chartered
Organization chooses to do under the Plan. We do not yet know how many of the approximately
82,000 persons who filed Direct Abuse Claims people will elect to take an Expedited Distribution.

Other than the release related to the Expedited Distribution, what other protections are
available to Chartered Organizations under the Plan?

         In addition to the release for Expedited Distributions, Chartered Organizations may be able
to reduce any judgment against them by the amount of the BSA’s or a Local Council’s liability.
For example, if the BSA and a Local Council would have been liable for 50% of damages for an
act of Abuse, a Chartered Organization may be able to reduce any judgment against it by 50%,
depending on state law. The Plan requires that this “Judgment Reduction” provision be brought
to the attention of any state court that is adjudicating a claim against a Chartered Organization so
that it can consider whether a judgment reduction is appropriate.

        In addition, a Chartered Organization will have three options for how to address any other
Scouting-related Abuse Claims it may face. Each option affects (i) the Chartered Organization’s
rights under the BSA and Local Council insurance policies which may provide protection to
Chartered Organizations; (ii) the amount of protection a Chartered Organization may receive from
Abuse Claims asserted against the Chartered Organization; and (iii) how a Chartered
Organization’s claims against the BSA and Local Councils are treated. These options are
summarized below:

        Option #1 – Participating Chartered Organization: The default option under the Plan
provides Chartered Organization a release from all Scouting-related Abuse liability for claims
relating to Abuse alleged to have first occurred on or after January 1, 1976. A Chartered
Organization does not have to do anything to receive this treatment; it is the default treatment
under the Plan. In essence, the Chartered Organization will be deemed to “turn in” its BSA- and
Local Council-provided insurance for the period since January 1, 1976 in exchange for a release
of Scouting-related Abuse Claims since January 1, 1976. Chartered Organizations who accept this
default treatment are referred to as “Limited Protected Parties” under the Plan because they will
receive limited protection from the Settlement Trust. That is, they will receive some, but not all,
of the benefits of being a “Protected Party” under the Plan. They are also referred to as
“Participating Chartered Organizations” because they are electing to participate in the protections
under the Plan. Chartered Organizations do not have to make any monetary payment to become a

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Limited Protected Party and be treated as a Participating Chartered Organization. We provide
further details about treatment under Option #1 in additional FAQs below.

        Option #2 – Contributing Chartered Organization: Chartered Organizations may also elect
to become full Protected Parties under the Plan, in addition to the protections under Option #1. If
they do so, they will receive full protection from any Scouting-related Abuse Claim. To receive
full protection under the Plan, a Chartered Organization will need to negotiate and agree to make
a monetary contribution to the Settlement Trust. The primary difference between Option #1 and
Option #2 under the Plan is that Option #2 requires a Chartered Organization to make a monetary
contribution in exchange for the full protection under the Plan. We provide further details about
how a Chartered Organization can elect to receive full protection through Option #2 under the Plan
below.

       Option #3 – Opt Out: Chartered Organizations can “opt out” of either Option #1 or
Option #2. If a Chartered Organization chooses Option #3, it will, for the most part, retain any
BSA- and Local Council-provided insurance rights it had when the BSA filed for bankruptcy. We
provide further details on Option #3 and how a Chartered Organization can elect Option #3 below.

                                          Option #1 FAQs

How does a Chartered Organization select Option #1?

      Unless a Chartered Organization is a debtor in its own bankruptcy case, each Chartered
Organization will automatically be deemed to select Option #1 unless it:

            completes and returns the opt-out election form attached hereto; or

            objects to confirmation of the Plan.

        If a Chartered Organization is itself in bankruptcy, it will need to advise the BSA in writing
if it wants to select Option #1. If your Chartered Organization is in bankruptcy and wants to select
Option #1, information on how to select Option #1 is available by having your counsel contact the
BSA’s counsel at BSA-COInquiries@whitecase.com.

What is a Limited Protected Party and a Participating Chartered Organization?

       A “Limited Protected Party” is a Chartered Organization that selects Option #1 and chooses
to become a “Participating Chartered Organization.” A Participating Chartered Organization will
be deemed to:

       assign all of its rights to BSA- or Local Council-provided insurance policies issued on or
        after January 1, 1976 that provide coverage for Abuse Claims;
       waive and release any Abuse-related Claims the Chartered Organization has against the
        BSA or Local Councils, including any Indirect Abuse Claim;
       agree not to file or assert any claim(s) against the Settlement Trust or the BSA or Local
        Councils for anything that arose prior to the confirmation of the Plan; and


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       assign to the Settlement Trust any and all claims against a perpetrator of Abuse for
        indemnification or contribution arising from or relating to an Abuse Claim.

If a Chartered Organization selects Option #1, what Abuse Claims will it be protected from
under the Plan?

       A Chartered Organization that selects Option #1 will, upon confirmation of the Plan, be
forever protected from Scouting-related Abuse Claims alleged to have first occurred on or after
January 1, 1976 and before February 18, 2020 (the day that the BSA filed for bankruptcy).

        It is possible that an Abuse Claim may be allowed by the Settlement Trust in an amount
that exceeds the available limits of the BSA’s and Local Councils’ insurance policies and other
assets available to pay the claim. If that happens, the Settlement Trust may assert a claim against
the Participating Chartered Organization’s own liability insurance. However, in no case will the
Settlement Trust be able to pursue a money judgment collectable from the Participating Chartered
Organization itself, nor would the Participating Chartered Organization be required to go out of
pocket to fund deductibles or self-insured amounts under any of its own liability insurance. If the
Participating Chartered Organization does not have its own applicable insurance, then the
Settlement Trust will not be able to pursue the Participating Chartered Organization at all.

What happens to rights, if any, under the BSA’s and Local Councils’ Insurance Policies that
pre-date 1976?

        We do not believe that any Chartered Organization has rights under BSA insurance policies
prior to 1976. Some Chartered Organizations have asserted that they have rights to pre-1976 BSA
insurance on the basis that they are “volunteers” as defined in the BSA insurance policies. The
BSA believes that those claims will be disputed by the BSA’s insurers and others.

         Because the BSA is seeking to maximize the value of the Settlement Trust, it may decide
to sell certain or all of its own insurance policies back to the insurer, as it has decided to do with
respect to policies issued to the BSA by Hartford. Although the BSA does not believe that
Chartered Organizations have rights under pre-1976 BSA insurance, if the BSA does sell its own
policies back to an insurer, any rights that a Chartered Organization might assert under that policy
would be treated in accordance with the Bankruptcy Code (including, potentially, attachment of
those rights to the sale proceeds) and other applicable law. A Chartered Organization may be
required to establish what rights, if any, it has under such a policy if it wants to be able to preserve
its rights under applicable law.

         Additionally, Chartered Organizations may have rights under Local Council insurance
policies that were issued prior to 1976. Those rights are reserved for the Chartered Organization
if it chooses Option #1 and becomes a Participating Chartered Organization. Please note that, of
the policies issued to Local Councils before 1976 and which may include Chartered Organizations
as insureds, the vast majority of such policies are allegedly the responsibility of Century Indemnity
Company, which has claimed that it has limited financial resources to pay covered claims.




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                                        Option #2 FAQs

How does a Chartered Organization select Option #2?

       Under Option #2, a Chartered Organization receives protection from Scouting-related
Abuse Claims (i.e., in addition to the protection from post-1975 Abuse Claims that it can receive
under Option #1). It can only receive this additional protection if it makes a negotiated monetary
contribution to the Settlement Trust. If your Chartered Organization is interested in considering
Option #2, you should contact the BSA, which can facilitate these negotiations. You may contact
the BSA at the following email address [●] or have your counsel contact the BSA through its
counsel at the following email address: BSA-COInquiries@whitecase.com.

If a Chartered Organization selects Option #2, what Abuse Claims will it be protected from
under the Plan?

       Chartered Organizations that select Option #2 will receive protections under the Plan from
any Scouting-related Abuse Claim that occurred prior to February 18, 2020, which is the day that
the BSA filed for bankruptcy. A Chartered Organization will not receive protections from abuse
claims that are unrelated to Scouting.

How does Option #2 differ from Option #1?

        Under Option #2, a Chartered Organization is a fully “Protected Party” under the Plan
rather than a “Limited Protected Party.” A fully Protected Party will be forever protected under
the Plan against the commencement or continuation of any Abuse Claim. The Settlement Trust
will assume all liability for all Abuse Claims from the Protected Parties.

        The primary differences between Option #2 and Option #1 is that, under Option #2, the
Chartered Organization must make a monetary contribution to the Settlement Trust and, in
exchange, will receive full protection from Scouting-related Abuse Claims regardless of when the
claims arose. Under Option #1, the Chartered Organization only receives a release for Scouting-
related Abuse Claims after January 1, 1976. Additionally, under Option #2, the Settlement Trust
may not pursue a Chartered Organization’s separate insurance under any circumstance. A
Protected Party that is a Chartered Organization is also known as a “Contributing Chartered
Organization.”

                                        Option #3 FAQs

What is Option #3?

       Option #3 is the option available to Chartered Organizations if they do not want Option #1
or Option #2. Option #3 allows a Chartered Organization to retain the same BSA- and Local
Council- provided insurance rights that it had when the BSA filed for bankruptcy (and retains
today), subject to potential sale of the BSA’s own insurance policies back to its insurers, as
addressed below.



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What happens if a Chartered Organization selects Option #3?

       There are three primary consequences if a Chartered Organization selects Option #3:

      First, the Chartered Organization will retain all of its rights under the BSA’s and Local
       Councils’ insurance policies. However, as part of its efforts to maximize the value of the
       Settlement Trust, BSA may decide to sell certain or all of its own insurance policies back
       to the insurer, as it has decided to do with respect to policies issued to the BSA by
       Hartford. If the BSA does sell its own policies back to an insurer, a Chartered
       Organization’s rights under that policy, if any, will be treated in accordance with the
       Bankruptcy Code (including, potentially, attachment of those rights to the sale proceeds)
       and other applicable law. A Chartered Organization may be required to establish what
       rights, if any, it has under such a policy if it wants to be able to preserve its rights under
       applicable law.

      Second, the Chartered Organization’s only direct protection under the Plan would be
       from holders of Direct Abuse Claims that elect to receive the Expedited Distribution. All
       other holders of Abuse Claims may commence or continue litigation against the
       Chartered Organization in the tort system following BSA’s emergence from bankruptcy.
       The Plan’s judgment reduction provision may also reduce the Chartered Organization’s
       exposure in the tort system based on the BSA’s or Local Councils’ comparative liability.

      Third, if the Chartered Organization filed a claim in the BSA’s bankruptcy case,
       including an Indirect Abuse Claim, that claim will be preserved and not be released. The
       Chartered Organization will be able to continue to pursue its right to payment on that
       claim from the Settlement Trust, in accordance with the TDPs.

How does a Chartered Organization select Option #3?

       A Chartered Organization may selection Option #3 by either filling out and returning the
Opt-Out Election Form enclosed with this package on or prior to the date of the hearing to confirm
the Plan, or it may selection Option #3 by filing an objection to the Plan with the Bankruptcy
Court. Any Chartered Organization that does not do either will be deemed to be a Participating
Chartered Organization under Option #1.

What Is an Indirect Abuse Claim and how will it be treated under the Plan?

        Many Chartered Organizations have filed “Indirect Abuse Claims.” As noted above, these
are claims for indemnification or contribution against the BSA or Local Councils related to any
Abuse Claims. If a Chartered Organization selects Option #1 or Option #2, it will waive and
release any Indirect Abuse Claim that it has filed and will be unable to pursue any Indirect Abuse
Claims from the Settlement Trust. However, if a Chartered Organization selects Option #3, that
Chartered Organization will retain its ability to pursue its Indirect Abuse Claim against the
Settlement Trust in accordance with the TDPs. Under the TDPs, those claims are subject to the
same payment procedures as Direct Abuse Claims.


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         SUMMARY OF CHARTERED ORGANIZATION OPTIONS UNDER THE PLAN

   Option                        Contribution                                        Protection

Option #1 –     Assign to the Settlement Trust all of its rights    Forever protected against Abuse Claims
Become a        under or with respect to the BSA’s and Local        alleged to have first occurred on or after
Participating   Councils’ insurance policies issued on or after     January 1, 1976 and before February 18,
Chartered       January 1, 1976 that afford insurance coverage      2020 and that are attributable to, arise from,
Organization*   upon which any claim could have been, has           are based upon, relate to, or result from
                been, or may be made with respect to an Abuse       Abuse that occurred in connection with the
                Claim. Retain rights, if any, under earlier Local   Participating Chartered Organization’s
                Council insurance policies. If the BSA sells its    sponsorship of one or more Scouting units.
                insurance policies to the insurer, the Chartered    Settlement Trust may pursue Participating
                Organization’s rights would be treated in           Chartered Organization’s own insurance
                accordance with applicable law.                     (unless otherwise released), but not any
                                                                    other assets, to the extent an allowed Direct
                Waive and release all claims against the BSA        Abuse Claim cannot be satisfied in full from
                and Local Councils related to Abuse.                the BSA’s or Local Councils’ applicable
                                                                    insurance or other assets contributed to the
                                                                    Settlement Trust.
Option #2 –     To be negotiated with the BSA and plaintiff         Forever protected against Abuse Claims
Become a        representatives in mediation.      Includes a       that are attributable to, arise from, are based
Contributing    monetary contribution to the Settlement Trust       upon, relate to, or result from Abuse that
Chartered       and an assignment to the Settlement Trust of        occurred before February 18, 2020 in
Organization    rights under the BSA’s and Local Councils’          connection, in whole or in part, with the
                insurance policies. (Can be combined with           Contributing Chartered Organization’s
                protections offered under Option #1.)               involvement in, or sponsorship of, one or
                                                                    more Scouting units (including any Claim
                                                                    that has been asserted or may be amended
                                                                    to assert in a proof of claim alleging Abuse,
                                                                    whether or not timely filed, in the Chapter
                                                                    11 Cases).
Option #3 –     None. Opt out of Participating Chartered            Chartered Organizations that opt out of the
Opt Out         Organization treatment and retain any rights        Plan will receive none of the protection
                under BSA, Local Council, or independent            provided under the Plan, other than the
                insurance, subject, however, to any sale by the     releases granted by holders of Direct Abuse
                BSA of one or more of its own insurance             Claims who take the Expedited
                policies back to the applicable insurer, in which   Distribution. Chartered Organizations that
                case the rights, if any, of the Chartered           opt out can continue to be sued on account
                Organization under such BSA policies would be       of Abuse Claims.
                treated in accordance with applicable law.

* EACH CHARTERED ORGANIZATION WILL AUTOMATICALLY BE DEEMED TO BE A
PARTICIPATING CHARTERED ORGANIZATION UNDER THE PLAN UNLESS IT (1) SUBMITS THE
OPT-OUT ELECTION FORM ATTACHED TO THIS DOCUMENT, (2) OBJECTS TO CONFIRMATION OF
THE PLAN IN ACCORDANCE WITH THE PROCEDURES IN THE CONFIRMATION HEARING NOTICE
INCLUDED ATTACHED TO THIS DOCUMENT, OR (3) IS A DEBTOR IN BANKRUPTCY AS OF THE
DATE OF CONFIRMATION OF THE PLAN.
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                OPT-OUT ELECTION FORM

                          (Attached)
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    THIS OPT-OUT ELECTION FORM IS NOT A BALLOT OR A SOLICITATION OF
    YOUR VOTE TO ACCEPT OR REJECT THE PLAN. IF YOU ARE ELIGIBLE TO
    VOTE ON THE PLAN, YOU WILL RECEIVE SEPARATE SOLICITATION
    PACKAGE MATERIALS.

                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                        Chapter 11

    BOY SCOUTS OF AMERICA AND                                     Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                                  (Jointly Administered)
                              Debtors.


     PARTICIPATING CHARTERED ORGANIZATION OPT-OUT ELECTION FORM

        Pursuant to Article V.S.1 of the Modified Fifth Amended Chapter 11 Plan of
Reorganization for Boy Scouts of America and Delaware BSA, LLC [D.I. [●]] (the “Plan”), you
are entitled to “opt out” of being treated as a Limited Protected Party2 under the Plan if you
(1) object to Confirmation of the Plan pursuant to the procedures set forth in the Notice of Hearing
to Consider Confirmation of Fifth Amended Chapter 11 Plan of Reorganization for Boy Scouts of
America and Delaware BSA, LLC or (2) complete and submit this Opt-Out Election Form on or
before [●], which is the deadline to object to Confirmation of the Plan.3

        If you would like to be treated as a Limited Protected Party under the Plan, you do
not need to need to complete or return this Opt-Out Election Form. Limited Protected Party
status is the default option under the Plan if you take no action.


               My Chartered Organization elects not to be treated as a Participating
                Chartered Organization/Limited Protected Party under the Plan

                IF OPTING OUT, COMPLETE THE FOLLOWING PAGE



1
      The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
      number, are as follows: Boy Scouts of America (6300); and Delaware BSA, LLC (4311). The Debtors’ mailing
      address is 1325 W. Walnut Hill Ln., Irving, TX 75038.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to such terms in the Plan.
3
      No Chartered Organization that is a debtor in bankruptcy as of the Confirmation Date shall be treated as a
      Participated Chartered Organization unless it advises Debtors’ counsel in writing that it wishes to make the
      Participating Chartered Organization Insurance Assignment.
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 Name of Chartered
 Organization:             __________________________________________

 Printed Name and
 Title                     __________________________________________

 Signature:                __________________________________________

 Address:                  __________________________________________

                           __________________________________________

                           __________________________________________

 Date:                     __________________________________________

        If you elect to opt out of treatment as a Limited Protected Party under Article V.S.1 of the
Plan, please complete this form and return it by so that it is received on or before [●] at one of the
following:

 If by Online Submission:                        If by standard or overnight mail or personal
                                                 delivery:
      BSACOoptout@OmniAgnt.com
                                                          BSA Chartered Organization
                                                             Opt-Out Election Form
                                                            c/o Omni Agent Solutions
                                                         5955 De Soto Avenue, Suite 100
                                                           Woodland Hills, CA 91367




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            CONFIRMATION HEARING NOTICE

                          (Attached)
